Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                              Main Document    Page 1 of 101


   1   Robert P. Goe - State Bar No. 137019
       Charity J. Manee – State Bar No. 286481
   2   GOE FORSYTHE & HODGES LLP
       18101 Von Karman Avenue, Suite 1200
   3   Irvine, CA 92612
       rgoe@goeforlaw.com
   4   cmanee@goeforlaw.com
       Telephone: (949) 798-2460
   5   Facsimile: (949) 955-9437

   6   Counsel for Debtors and Debtors-in-Possession.

   7                             UNITED STATES BANKRUPTCY COURT

   8                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

   9   In re:                                                Case No. 8:19-bk-14714-CB
                                                             Jointly administered with
  10       MEADE INSTRUMENTS CORP., a                        Case No. 8:19-bk-14711-CB
           Delaware corporation,
  11                                                         Chapter 11
                                                             FIRST INTERIM APPLICATION FOR
  12       SUNNY OPTICS, INC., a Delaware                    COMPENSATION AND
           corporation,                                      REIMBURSEMENT OF EXPENSES OF
  13
                                                             GOE FORSYTHE & HODGES LLP,
  14       All Debtors.                                      COUNSEL FOR DEBTOR AND DEBTOR
                                                             IN POSSESSION; MEMORANDUM OF
  15                Debtors and Debtors-in-Possession.       POINTS AND AUTHORITIES AND
                                                             DECLARATIONS OF ROBERT P. GOE
  16                                                         AND VICTOR ANICETO IN SUPPORT
                                                             THEREOF
  17
                                                             Hearing:
  18
                                                             Date:      April 29, 2020
  19                                                         Time:      10:00 a.m.
                                                             Courtroom: 5D
  20

  21            TO THE HONORABLE CATHERINE E. BAUER, UNITED STATES

  22   BANKRUPTCY JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE; AND

  23   ALL INTERESTED PARTIES:

  24            Pursuant to the provisions of 11 U.S.C. §§ 330 and 331, Goe Forsythe & Hodges LLP (the

  25   “Firm”) applies to this Court for an award for the Firm’s first interim application for fees for

  26   professional services rendered and for reimbursement of expenses (“Application”) for the period

  27   from December 5, 2019 through April 6, 2020 (the “Application Period”), in the representation of

  28   Meade Instruments Corp., a Delaware corporation (the “Debtor”) in the above-referenced case.



                                                         1
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                             Main Document    Page 2 of 101


   1           This Application is made and based upon the Memorandum of Points and Authorities, the

   2   Declarations of Robert P. Goe and Victor Aniceto, all pleadings on file in this case, and all

   3   evidence, both oral and written, that may be submitted prior to or at the time of the hearing on this

   4   Application.

   5           The Firm has taken all necessary actions to allow the case to proceed in Chapter 11 and it is

   6   positioned for a successful resolution. The Debtor and Firm have worked cooperatively and in

   7   tandem with the Official Committee of Holders of Unsecured Claims (“Committee”) to maximize

   8   the value of the estate’s assets through a Court-approved sale process. In particular, at the

   9   suggestion of the Committee and after a thorough vetting process of investment bankers in

  10   obtaining competitive proposals, the Debtor and Committee jointly retained Broadway Advisors

  11   LLC (“Broadway”) as the estate’s investment banker to pursue a sale. Although the current

  12   pandemic has slowed the sale process a bit, Debtor believes a successful sale process will occur to

  13   facilitate and obtain the best offer possible. Further, the Firm was instrumental in recently

  14   obtaining a fully executed supply agreement with Debtor’s primary supplier and indirect parent,

  15   Ningbo Electronic Co. Ltd. (“Ningbo”) as further discussed below. This was a huge development

  16   is the case as nearly all proposed bidders have inquired as to whether Ningbo would continue to

  17   supply product.

  18           The Firm received a retainer of $52,000 of which $40,278.50 remained as of the Petition

  19   Date.

  20           The Debtor currently has funds on hand of approximately $1,670,988.39.

  21           WHEFEFORE, the Firm requests that this Court enter its order:

  22           1.     Awarding the Firm as interim compensation for professional service rendered in the

  23   total amount of $267,545.50 for fees, and costs in the amount of $2,393.01 during the Application

  24   Period, for a total award of $269,938.51.

  25           2.     Authorizing payment to the Firm of $229,660.01 ($270,036.51 less remaining

  26   retainer of $40,278.50).

  27   ///

  28   ///



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Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58            Desc
                              Main Document    Page 3 of 101


   1          3.     Granting the Firm such other and further relief as the Court may deem just and

   2   proper under the circumstances of this case.

   3   Dated: April 6, 2020                               Respectfully submitted by,

   4                                                      GOE FORSYTHE & HODGES LLP
                                                          By: /s/Robert P. Goe
   5                                                      Attorneys for Meade Instrument Corp.,
   6                                                      Debtor and Debtor-in-Possession

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Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                             Main Document    Page 4 of 101


   1                        MEMORANDUM OF POINTS AND AUTHORITIES

   2   I.     FACTUAL BACKGROUND

   3          History of Debtor and Events Leading to Bankruptcy.

   4          As discussed in previous court filings, Debtor is one of the leading brands and most

   5   recognized name in the telescope industry. Debtor was founded in 1972 and began as a mail

   6   order seller of small refracting telescopes and accessories. In 1976, Debtor started

   7   manufacturing its own products. In or about 2009, Debtor moved its manufacturing operations

   8   to Tijuana, Mexico, at which point Debtor created Meade Instruments Mexico S.DE R.L. DE

   9   C.V. (“Meade Mexico”). The Debtor currently sells finished products to approximately 160

  10   wholesale customers, including distributors, online retailers like Costco and Amazon, a global

  11   network of authorized Meade retailers, and others located on every continent.

  12          In 2016, Optronic Technologies, Inc., d/b/a Orion Telescopes & Binoculars (“Orion”)

  13   initiated what would become an exceedingly expensive lawsuit (“Orion Action”) against Debtor,

  14   Sunny Optics, Inc., and Ningbo in the United States District Court for the San Jose Division of the

  15   Northern District of California, Case No. 5:16-cv-06370 EJD (“District Court”).

  16          In the Orion Action, Orion alleged anti-competitive and antitrust violations of federal and

  17   California law, as well as unfair business practices pursuant to California’s Business and

  18   Professions Code. Specifically, Orion alleged that (a) Ningbo, a manufacturer and distributor of

  19   consumer telescopes, conspired with one of its competitors, also a manufacturer and distributor of

  20   consumer telescopes, to fix prices, restrict output and allocate markets, (b) that Ningbo and

  21   another party that had previously settled monopolize, attempted to monopolized, and conspired to

  22   monopolize the supply and distribution markets for telescopes in the United States, and (3) that

  23   Ningbo’s 2013 acquisition of Meade violated Clayton Act § 7, which bars acquisitions that tend to

  24   create a monopoly.

  25          After three extremely costly years of litigation (attorneys’ fees and other costs have

  26   exceeded $9 million), on November 26, 2019, a jury verdict was issued in favor of Orion against

  27   all defendants jointly in the amount of $16.8 million, however, treble damages would be awarded

  28   pursuant to 15 U.S.C. § 15(a), bringing the joint and several liability under the impending



                                                         4
Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                              Main Document    Page 5 of 101


   1   judgment to $50,400,000 (the “Partial Judgment”).

   2           Following issuance of the verdict and prior to entry of the Partial Judgment, Orion

   3   immediately applied for a temporary protective order that, if granted, would effectively destroy

   4   Debtor’s business operations by preventing it from paying its foreign suppliers and creditors, and

   5   paying for its foreign operations, including its manufacturing operations in Mexico.

   6           As such, the Debtor required bankruptcy protection on an emergency basis in order to

   7   prevent Orion from effectively shutting the Debtor down and in order to facilitate an orderly sale

   8   for the benefit of creditors.

   9           Shortly after the filing of the Debtor’s bankruptcy, Orion initiated collection proceedings

  10   against Ningbo. The collection proceedings included levying and collection of funds owed to

  11   Ningbo from its United States customers. Because payment was in doubt, Ningbo stopped

  12   shipping goods to the Debtor. As mentioned above Ningbo supplies the majority of the Debtor’s

  13   inventory and without Ningbo shipments to it, it greatly hampers the Debtor’s ability to complete

  14   its goal of a successful sale of its assets and resolution of claims. Fortunately, the Firm was able

  15   to assist in negotiating a 1-year supply agreement whereby Ningbo will ship and Debtor will pay

  16   when the goods are in port and determined to be in compliance with the purchase order. In

  17   addition, Orion has agreed to forbear from collecting against Ningbo on the Meade post-petition

  18   receivables. Finally, the Committee and Broadway will pre-approve any purchase order between

  19   Debtor and Ningbo, which process is underway.

  20   Chapter 11 Milestones.

  21           The Firm, Debtor, and Committee are diligently working together to bring this case to a

  22   successful sale of the Debtor’s assets and resolution of claims. The Debtor in furtherance of this

  23   goal and with the consent of the Committee, retained the services of Grobstein Teeple LLP as

  24   Financial Advisors (“Grobstein”), Broadway as investment banker, and Stetina Brunda Garred &

  25   Brucker as Special Intellectual Property Law Counsel (“Stetina Brunda”).

  26           The Firm and the Committee negotiated a supply agreement between Orion and Ningbo,

  27   permitting Ningbo to receive payment for supplying vital parts inventory to the Debtor. The

  28   supply agreement should greatly enhance the value of the Debtor and increases its ability to



                                                         5
Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                              Main Document    Page 6 of 101


   1   complete its goal of a successful sale of its assets and resolution of claims as one of the most

   2   prominent inquiries from potential bidders is whether Ningbo will be supplying inventory.

   3          During this time period, the lease for Meade Mexico expired. The landlord insisted that

   4   it be renewed with a long-term lease, and for the Debtor to guarantee the lease which it has not in

   5   the past. The marketing of the Debtor for sale, with a long-term lease could impede any sale for

   6   a buyer who did not want the Meade Mexico operations or did not like the lease terms. Further,

   7   it could create a post-petition liability to the estate. The Debtor and the Firm with Broadway and

   8   Committee’s input successfully negotiated a short-term lease with an option to terminate on two

   9   (2) months-notice, enhancing the Debtor’s ability to complete its goal of a successful sale of its

  10   assets and resolution of claims.

  11          The Chapter 11 Bankruptcy.

  12          This case was commenced by the filing of a voluntary Chapter 11 petition by Debtor on

  13   December 4, 2019 (the “Petition Date”).

  14          On the Petition Date, Debtor’s parent Sunny Optics, Inc. (“Optics”), also filed its

  15   voluntary chapter 11 petition and was assigned Case No. 8:19-bk-14711 CB, also in the United

  16   States Bankruptcy Court for the Central District of California, Santa Ana Division. The Debtor

  17   is a wholly owned subsidiary of Optics, the entity with which it is jointly administered.

  18          On December 6, 2019, the Firm filed its Notice of Scheduling and Case Management

  19   Conference (ECF No. 10).

  20          On December 9, 2019, the Firm filed the following:

  21              a) Notice of Setting Insider Compensation (Victor Aniceto) (ECF No. 16);

  22              b) Emergency Motion for Authorizing Use of Cash Collateral of Sheppard, Mullin,

  23                  Richter & Hampton LLP (ECF No. 17);

  24              c) Emergency Motion Authorizing Maintenance of Pre-Petition Bank Accounts for

  25                  30 days; (ECF No. 18);

  26              d) Emergency Motion Authorizing Payment of Pre-Petition Employee Wages and

  27                  Benefits (ECF No. 19);

  28              e) Emergency Motion for Establishment of Adequate Assurance payments with



                                                         6
Case 8:19-bk-14714-MW          Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58              Desc
                               Main Document    Page 7 of 101


   1                    respect to Debtor’s Utilities (ECF No. 20);

   2                 f) Emergency Motion Authorizing Limiting Notice of Certain Matters Requiring

   3                    Notice (ECF No. 21);

   4                 g) Emergency Motion for Joint Administration with Sunny Optics Inc. (ECF No.

   5                    22);

   6                 h) Extension of Time to File Schedules of Assets and Liabilities (ECF No. 23);

   7                 i) Emergency Motion Statement Regarding Cash Collateral or Debtor In Possession

   8                    Financing (ECF No. 24);

   9                 j) Omnibus Declaration of Victor Aniceto in Support of Emergency Motions (ECF

  10                    No. 25);

  11                 k) Emergency Application for Order Shortening Time for Hearing(s) on Motions on

  12                    Shortened Notice (ECF No. 26 (the foregoing are collectively referred to as the

  13                    “1st Day Motions”).

  14           On December 10, 2019, the Firm filed the Supplemental Declaration of Robert P. Goe in

  15   Support of Emergency Motion Authorizing Use of Cash Collateral of Sheppard, Mullin, Richter

  16   & Hampton LLP (ECF No. 27) whereby Sheppard Mullin gave its consent to use of cash

  17   collateral.

  18           On December 10, 2019 the Firm also filed the Debtor’s Chapter 11 Status Report (ECF

  19   No. 28).

  20           On December 11, 2019, the Firm filed the Declarations of Telephonic Notices and Notice

  21   of Hearing on Shortened time, with Proofs of Service (ECF Nos. 40 & 41).

  22           The Court scheduled the above 1st Day Motions on December 12, 2019, which were

  23   granted pursuant to numerous Orders of the Court.

  24           On December 12, 2019, the Debtor filed its application for approval of Goe Forsythe &

  25   Hodges LLP as general counsel to the Debtor (ECF No. 42). By the February 4, 2020 Order,

  26   this Court approved the employment of the Firm as counsel for the Debtor (ECF No. 114). The

  27   Firm has assisted the Debtor in filing all of the necessary documents to comply with the orders of

  28   this Court and the Office of the United States Trustee (the “UST”) to move the case towards a



                                                          7
Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58               Desc
                              Main Document    Page 8 of 101


   1   successful reorganization, and payments to creditors.

   2          On December 16, 2019 the Firm negotiated and entered into a Stipulation with the UST

   3   extending the time until January 31, 2020 for parties in interest (including any Committee which

   4   had yet to be appointed at that time) to object to the compensations of Victor Aniceto, the

   5   Debtor’s president and his spouse Teresa Aniceto a sales assistant (ECF No. 68). No objections

   6   were filed by the UST or Committee.

   7          On December 31, 2019, the Firm filed the Debtor’s Periodic Report on Related Entities

   8   Regarding Value, Operations and Profitability of Entities in Which the Estate Holds a Substantial

   9   or Controlling Interest (ECF No. 82).

  10          On January 06, 2020, the Firm filed the following documents (ECF No 86):

  11               a) Corporate resolution authorizing filing of petitions;

  12               b) Statement of Corporate Ownership filed;

  13               c) List of Equity Security Holders;

  14               d) Summary of Assets and Liabilities for Non-Individual;

  15               e) Schedule A/B Non-Individual: Property;

  16               f)   Schedule D Non-Individual: Creditors Who Have Claims Secured by Property;

  17               g) Schedule E/F Non-Individual: Creditors Who Have Unsecured Claims;

  18               h) Schedule G Non-Individual: Executory Contracts and Unexpired Leases;

  19               i)   Schedule H Non-Individual: Your Codebtors;

  20               j) Declaration Under Penalty of Perjury for Non-Individual Debtors;

  21               k) Statement of Financial Affairs for Non-Individual Filing for Bankruptcy;

  22               l)   Disclosure of Compensation of Attorney for Debtor;

  23               m) Verification of Master Mailing List of Creditors;

  24               n) List of Creditors.

  25          On January 8, 2020, the Firm filed a Motion to Set Last Day to File Proofs of Claim (ECF

  26   No. 87). On January 31, 2020 the Court set the Claims Bar Date as April 16, 2020 (ECF No. 107).

  27   That same date the Firm filed and served the Notice of Bar Date upon the Debtor’s Creditors (ECF

  28   No. 108).



                                                         8
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                             Main Document    Page 9 of 101


   1          On January 21, 2020, the Firm filed the Debtor’s Monthly Operating Report No. 1 (ECF

   2   No. 91).

   3          On January 22, 2020 the Firm filed the Debtors’ Updated Joint Chapter 11 Status

   4   Conference Report (ECF No. 94)

   5          After much negotiations with the Committee, it was determined that the sale of Debtor’s

   6   business was the best resolution for the case. The Firm took the lead (with the assistance of

   7   Grobstein) in the effort to find an investment banker and obtained proposals from known advisors

   8   in the industry. Counsel for the Committee also provided candidates. Thereafter, the Debtor and

   9   the Committee solicited best and final proposals, also taking into account experience and who

  10   would be the best fit to this particular assignment. The Debtor and Committee agreed on

  11   Broadway with a 2-phase structure of a $20,000 payment to determine if any sale was feasible and

  12   if so, to move to Phase 2 for the sale process and a second $20,000 payment to be applied against

  13   the eventual 3% sale commission or a minimum of $150,000.

  14          On January 24, 2020 the Firm filed the Debtor’s Joint Application with the Committee to

  15   Employ Broadway as its investment banker (ECF No. 97). After conducting a hearing on April 1,

  16   2020, the Court entered its Order Approving the Employment of Broadway Advisors as the

  17   Debtor’s Investment Banker (ECF No. 171).

  18          On January 30, 2020 the Firm filed the Debtor’s Motion for Order Pursuant To 11 U.S.C. §

  19   363(b)(1) Authorizing Debtor to Post Collateral for Increased Bond With Customs and Border

  20   Protection (the “Bond Motion”) [ECF No 99]. The Bond Motion was necessitated by U.S.

  21   Customs increasing the amount of Debtor’s custom’s bond for international shipments and the

  22   cash requirement now required due to the bankruptcy filing by Debtor’s bonding company.

  23          That same date the Firm filed an Application for Order Shortening Time with Proof of

  24   Service for the Debtor’s Bond Motion (ECF No. 100).

  25          On January 30, 2020, the Firm filed the Application to Employ Stetina Brunda Garred &

  26   Brucker, APC as Special Intellectual Property Counsel and Notice of Opportunity to Request A

  27   Hearing on Motion (ECF No. 103). On April 1, 2020, the Court entered its Order Approving the

  28   Debtor’s Application to Employ Stetina Brunda Garred & Brucker, APC as Special Intellectual



                                                        9
Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                              Main Document    Page 10 of 101


   1   Property Counsel (ECF No. 172) It was necessary to employ Stetina Brunda due to Debtor

   2   owning numerous patents and other IP which require monitoring and maintenance to avoid any

   3   lapses. Debtor’s pre-petition IP counsel was unwilling to be engaged post-petition. Stetina

   4   Brunda will also be essential in evaluating any purported liens on the IP and facilitating a sale to a

   5   buyer.

   6            On February 3, 2020, the Firm filed the Notice of Hearing on Shortened Time with copy of

   7   Order Shortening Time on its Motion for Order Pursuant To 11 U.S.C. § 363(b)(1) Authorizing

   8   Debtor to Post Collateral for the Increased Bond With Customs and Border Protection (ECF No.

   9   112).

  10            That same date the Firm filed a Declaration of Service of Notice of Motion for Order

  11   Pursuant to 11 U.S.C. Section 363 (b)(1) Authorizing Debtor to Post Collateral for Increase Bond

  12   With Customs and Boarder Protection on Shortened Time by Arthur E. Johnston by Telephone,

  13   Email and Mailing Filed by Debtor U.S.C. § 363(b)(1) Authorizing Debtor To Post Collateral For

  14   Increased Bond With Customs And Border Protection; Memorandum Of Points And Authorities;

  15   Declaration of Victor Aniceto In Support Thereof (ECF No. 113). On February 05, 2020 the

  16   Court entered an Order Authorizing the Debtor to Post Collateral for Increased Bond with

  17   Customs and Border Protection (ECF No. 116).

  18            On February 12, 2020, the Firm filed the Debtor’s Amended Monthly Operating Report

  19   Number: Two for the Month Ending January 31, 2020 (ECF No. 124).

  20            On February 21, 2020, the Firm filed Debtor’s Addendum Mailing Matrix, and Amended

  21   Schedule G Non-Individual: Executory Contracts and Unexpired Leases which included all of

  22   Debtor’s international distribution agreements (ECF No. 126 & 127).

  23            At the Court’s request (although no objection had been filed), on February 26, 2020, the

  24   Firm filed a Notice of Hearing with proof of service Filed by Debtor Meade Instruments Corp.,

  25   Re. Application to Employ Broadway Advisors, LLC as Investment Banker Joint Application of

  26   Meade Instruments Corp., Debtor and Debtor-in-Possession and the Official Committee of

  27   Unsecured Creditors to Employ Broadway Advisors, LLC as Investment Banker; Declaration of

  28   Alfred M. Masse in Support Thereof with Proof of Service Filed by Debtor Meade Instruments



                                                         10
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58            Desc
                             Main Document    Page 11 of 101


   1   Corp. (ECF No. 132)

   2         On March 4, 2020 the Firm filed the following documents with the Court:

   3             1. Motion to Assume Lease or Executory Contract Motion For Order Pursuant To 11

   4                U.S.C. Section 365(d)(4) Extending Deadline To Assume Or Reject Unexpired

   5                Lease Of Nonresidential Real Property Or In The Alternative To Assume Lease;

   6                Memorandum Of Points And Authorities And Declaration Of Victor Aniceto In

   7                Support Thereof with proof of service concerning the lease with The Irvine

   8                Company concerning Debtor’s headquarters and distribution facility (ECF No.

   9                134),

  10             2. Motion to Extend Exclusivity Period for Filing a Chapter 11 Plan and Disclosure

  11                Statement Motion for Order Extending Debtors Exclusivity Periods for Filing A

  12                Plan of Reorganization and Obtaining Acceptance of a Plan of Reorganization

  13                Pursuant To 11 U.S.C. § 1121; Memorandum Of Points and Authorities and

  14                Declaration Of Victor Aniceto In Support Thereof with proof of service (ECF No.

  15                135). After negotiations with the Committee, a stipulation was entered resolving

  16                any objection.

  17             3. Notice to Professionals to File Applications for Compensation with proof of service

  18                (ECF No. 136).

  19             4. Motion for Order Pursuant To 11 U.S.C. § 363(b)(1) Authorizing Debtor to Obtain

  20                Insurance Coverage and Enter into Premium Financing Agreement Regarding

  21                Insurance Premiums; Memorandum of Points and Authorities; Declaration of

  22                Victor Aniceto in Support Thereof with Proof of Service (ECF No. 140).

  23             5. Application shortening time Motion for Order Pursuant To 11 U.S.C. § 363(B)(1)

  24                Authorizing Debtor to Obtain Insurance Coverage and Enter into Premium

  25                Financing Agreement Regarding Insurance Premiums with Proof of Service (ECF

  26                No. 141).

  27         On March 6, 2020, the Firm filed the following documents with the court:

  28             1. an Amended Motion for Order Pursuant to 11 U.S.C. § 363(b)(1) Authorizing



                                                     11
Case 8:19-bk-14714-MW       Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                Desc
                            Main Document    Page 12 of 101


   1                  Debtor to Obtain Insurance Coverage and Enter into Premium Financing

   2                  Agreement Regarding Insurance Premiums; Memorandum of Points and

   3                  Authorities; Declaration of Victor Aniceto in Support Thereof with Proof of

   4                  Service (ECF No. 142)

   5              2. Schedule G Non-Individual: Executory Contracts and Unexpired Leases with Proof

   6                  of Service Filed by Debtor Meade Instruments Corp. (ECF No 146).

   7              3. Notice of Hearing with Proof of Service of Notice and Motion by email Filed by

   8                  Debtor Meade Instruments Corp., re. Amended Motion for Order Pursuant to 11

   9                  U.S.C. § 363(b)(1) Authorizing Debtor to Obtain Insurance Coverage and Enter

  10                  Into Premium Financing Agreement Regarding Insurance Premiums;

  11                  Memorandum of Points and Authorities; Declaration of Victor Aniceto in Support

  12                  Thereof with Proof of Service (ECF No. 147).

  13          On March 9, 2020, the Firm filed: Declaration re: Service of Notice of Debtor's Motion for

  14   Order Pursuant to 11 U.S.C. Section 363(b)(1) Authorizing the Debtor to Renew and/or Replace

  15   Its Current Insurance Policies That Will Expire on April 1, 2020 and To Enter Into a Financing

  16   Agreement with Its Domestic Liability Insurance Carrier to Finance its Annual Premiums on

  17   Shortened Time by Arthur E. Johnston by Telephone and Email (ECF No. 149)

  18          On March 11, 2020, the Firm filed the Debtor’s Status Report for Chapter 11 Status

  19   Conference (ECF No. 152).

  20          On March 11, 2020 the Firm filed a Declaration That No Party Requested a Hearing on

  21   Motion (LBR 9013-1(o)(3)) re App to Employ Stetina, et al., with Proof of Service (ECF No.

  22   154), which was approved by Order entered on April 1, 2020 (ECF No. 172).

  23          On March 11, 2020, the Firm filed an Amended Employ Stetina, et al., with Proof of

  24   Service (ECF No. 155).

  25          On March 12, 2020, the Firm filed the Debtor’s Monthly Operating Report. Operating

  26   Report Number: 3. For the Month Ending 02/29/2020 (ECF No. 158)

  27          On April 1, 2020, Orion filed a motion for relief from stay to allow entry of a judgment

  28   against Debtor [Optronic Technologies, Inc. v. Ningbo Electronic Co., Ltd., et al. - USDC Case



                                                       12
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                   Desc
                             Main Document    Page 13 of 101


   1   No. 16-cv-6370-EJD-VKD [“Orion Stay Motion”) (ECF No. 159)] with a hearing scheduled for

   2   April 8, 2020, and on March 25, 2020 the Firm filed the Debtor’s Opposition to the Orion Stay

   3   Motion (ECF No. 163). The Committee also opposed the Orion Stay Motion (ECF No. 165). At

   4   the hearing the Court granted limited stay relief to only allow the judgment to be entered.

   5   II.    THE FIRM HAS COMPLIED WITH THE REQUIREMENTS OF LOCAL

   6          BANKRUPTCY RULE 2016-1.

   7          The Goe Declaration sets forth all information required pursuant to Local Bankruptcy Rule

   8   2016-1, including the present status of the case and a narrative summarizing the services

   9   performed by the Firm on behalf of the Debtor and the resulting benefits to the estate and its

  10   creditors. Local Bankruptcy Rule 2016-1(1) states in pertinent part:

  11                  All applications for (interim) fees filed by attorneys, . . . shall contain the following

  12                  or be accompanied by the following:

  13                  (i)     A brief narrative history of the present posture of the case. In Chapter 11

  14                  cases, the information furnished shall describe the general operations of the debtor

  15                  and whether the business of the debtor, if any, is being operated at a profit or loss,

  16                  cash flow, whether a plan has been filed, and if not, what are the prospects for

  17                  reorganization and when it is anticipated that a plan will be filed.

  18          In compliance with Local Bankruptcy Rule 2016-1, the Goe Declaration addresses all

  19   information required thereby. The Goe Declaration also addresses the Firm's compliance with the

  20   Guide to Applications for Professional Compensation ("Fee Guide") of the UST, and conforms to

  21   its requirements.

  22   III.   THE COURT IS AUTHORIZED TO AWARD INTERIM COMPENSATION

  23          Sections 330 and 331 of the United States Bankruptcy Code provides that the Court may

  24   award to the attorney reasonable interim compensation for actual, necessary services rendered by

  25   the attorney, based on the time, the nature, the extent and the value of such services, and the cost

  26   of comparable services to a non-debtor, as well as reimbursement of the actual, necessary

  27   expenses expended by the attorney on behalf of the Debtor. The Firm will request compensation

  28   for time spent in the preparation of this Application. The United States Court of Appeals, Ninth



                                                         13
Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58              Desc
                              Main Document    Page 14 of 101


   1   Circuit in In re Nucorp Energy, Inc., 764 F.2d 655, 662 (9th Cir. 1985) has held that bankruptcy

   2   counsel should be compensated for services related to fee application preparation.

   3   IV.    CONCLUSION

   4          Based on the Order authorizing the Debtor to employ the Firm, the Firm requests that the

   5   Court approve this Application as prayed and authorize payment from assets of the estate.

   6

   7                                                        Respectfully submitted,

   8                                                        GOE FORSYTHE & HODGE LLP

   9

  10   Dated: April 8, 2020                                 /s/Robert P. Goe
                                                            By: Robert P. Goe
  11                                                        Attorneys for Debtor-in-Possession, Meade
                                                            Instruments Corp., a Delaware corporation
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Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                  Desc
                              Main Document    Page 15 of 101


   1                               DECLARATION OF ROBERT P. GOE

   2   I, Robert P. Goe, declare as follows:

   3          1.      I am a partner with the law firm of Goe Forsythe & Hodges LLP (the "Firm"),

   4   attorneys for Debtor. I am authorized to make this declaration on behalf of the Firm. I

   5   incorporate the foregoing facts set forth above in this Application.

   6          2.      The matters stated herein are within my personal knowledge and, if called upon as

   7   a witness, I could and would competently testify thereto.

   8          3.      I am licensed to practice in all the courts of the State of California, and I am

   9   admitted to practice before the United States District Court, Central District of California.

  10          4.      The Firm is a limited liability partnership, which has offices in Irvine, California.

  11   All attorneys appearing in this case are duly licensed to practice in the courts of the State of

  12   California and various United States District Courts, including the Central District of California.

  13   The Firm specializes in the fields of bankruptcy, corporate reorganization, insolvency law and

  14   business litigation.

  15          5.      This case was commenced on December 4, 2019, by the filing of a voluntary

  16   Chapter 11 petition by the Debtor.

  17          6.      On February 04, 2020, the Court entered the Order authorizing the Firm’s

  18   employment as counsel to the Debtor [Docket No. 114]. The Firm has performed those legal

  19   services necessary to assist the Debtor and the estate for the benefit of all the creditors in moving

  20   the case forward toward a successful sale and resolution of claims

  21          7.      The Firm received a retainer of $52,000, which was utilized for fees earned prior

  22   to the filing and post-petition the balance of $40,278.50 was drawn down pursuant to a

  23   Professional Fee Statement.

  24                          COMPENSATION REQUESTED BY THE FIRM

  25          8.      By this Application, the Firm is requesting that the Court approve the sum of

  26   $267,545.50 for professional services rendered to the Debtor, and for reimbursement of expenses

  27   in the sum of $2,393.01 for the period December 5, 2019 through April 6, 2020.

  28



                                                         15
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                Desc
                             Main Document    Page 16 of 101


   1          9.      Attached hereto as Exhibit "1" are the detailed time records of the Firm detailing

   2   the time and costs expended during its representation of the Debtor in this bankruptcy case.

   3   These records consist of computer printouts in the form of billing statements prepared and

   4   forwarded to the Debtor, in the ordinary course of practice by the Firm. Time records are

   5   prepared on a daily basis by the attorneys and legal assistants of the Firm, whether or not the

   6   clients are bankruptcy clients. Time is measured on a "tenth of an hour basis." The billing

   7   statements contain a chronological summary of the time spent and services rendered to the

   8   Debtor by the Firm in this case. The billing statements in this case are set forth under the Firm's

   9   file and include services rendered from December 5, 2019 through April 6, 2020, and expenses

  10   incurred on behalf of the Debtor from December 5, 2019 through April 6, 2020.

  11          10.     This Application complies with the Fee Guide of the UST.

  12          11.     The Firm is aware of the requirement of the Local Rules that requires a written

  13   statement by the client that it has reviewed and approved the billing, which has been met by the

  14   attached Aniceto Declaration.

  15          12.     In compliance with the requirements of the United States Trustee Fee Guide, the

  16   Firm has created separate categories for the types of services rendered to the Debtor. An

  17   analysis of professional time spent in each category is included herein below. A summary of the

  18   breakdown of services and the coding for such services is as follows:

  19                           1 - Costs Advanced

  20                         49 - Services Performed/Other Professionals

  21                         50 - Asset Analysis and Recovery

  22                         51 - Asset Disposition

  23                         52 - Business Operations

  24                         53 - Case Administration

  25                         54 - Claims Administration and Objections

  26                         55 - Employee Benefits/Pensions

  27                         56 - Fee/Employment Applications

  28                         57 - Fee/Employment Objections



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Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                             Main Document    Page 17 of 101


   1                          58 - Financing

   2                          59 - General Litigation

   3                          60 - Meeting of Creditors

   4                          61 - Plan and Disclosure Statement

   5          13.      The following is a breakdown of the time spent and fees incurred in each

   6   category of services to which professional time was billed during the period of time

   7   encompassed by this Application:

   8          A.       Services Performed on Behalf of Other Professionals (Category 49).

   9          The Firm spent a total of 34.6 hours and incurred a total of $13,133.00 in professional fees

  10   in this category in reviewing, revising, finalizing, negotiating the employment agreements and

  11   employment applications of Grobstein, Broadway and Stetina Brunda.

  12          Thereafter, the Firm prepared and filed Orders granting the employment of Broadway (and

  13   also attended a hearing scheduled by the Court) and Stetina Brunda.

  14          In this category one of the first tasks undertaken (and prior to the Committee appointment)

  15   was to vet investment bankers as a sale was likely and the Firm immediately contacted Force 10

  16   Partners and others to assist with Debtor’s sale efforts. The Firm also consulted with Grobstein if

  17   they had recommendations and the Firm received a number of competing proposals. In order to

  18   find the best candidate once the Committee was appointed the search results were shared, and the

  19   Committee suggested Broadway as a candidate. After much consideration and negotiations, it was

  20   agreed that the Debtor and Committee would jointly retain Broadway to allow for complete

  21   transparency and a free flow of information, a process that has been working well.

  22          The Firm also advised Debtor that due to the complicated nature of Chapter 11

  23   proceedings and reporting requirements, it was important to have a skilled financial advisor such

  24   as Grobstein.

  25          Finally, the Firm prepared the necessary documents to obtain Court approval of intellectual

  26   property counsel, Stetina Brunda, to make certain Debtor’s patents were preserved. This was

  27   particularly important as Debtor’s pre-petition counsel was unwilling to be employed as special

  28   counsel.



                                                          17
Case 8:19-bk-14714-MW           Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                Desc
                                Main Document    Page 18 of 101


   1          The Firm has also assisted the other professionals concerning their fee applications. In

   2   sum, the Firm made certain Debtor had the necessary professionals to bring the case to a

   3   successful resolution.

   4
       ATTORNEY/                       HOURLY RATE             TOTAL HOURS             TOTAL FEES DUE
   5   PARALEGAL
   6
       Robert P. Goe                         $495.00               16.70                          $8,266.50
   7   Charity J. Manee                      $355.00                8.60                          $3,053.00
       Arthur Johnston                       $195.00                9.30                          $1,813.50
   8   TOTAL                                                        34.6                         $13,133.00
   9          The blended hourly rate for services performed in this category was $379.57.
  10          B.      Asset Analysis and Recovery (Category 50).
  11          The Firm spent a total of 35.20 hours and incurred a total of $14,692.00 in professional
  12   fees in this category related to the identification, valuation and potential sale of the Debtor’s
  13   assets. This category includes a review of litigation documents for potential claims against third
  14   parties related to the Orion Action. It also included review of the Debtor’s intellectual property
  15   (“IP”) and bringing on competent IP counsel to preserve its trademarks, patents, and other IP, as
  16   well as review of the assignment of several IP items. The Firm advised Debtor of consolidating the
  17   Debtor’s IP to a single law firm with the expertise to maintain and manage the Debtor’s various IP
  18   rights and had multiple discussions and correspondence with the Debtor, its past and prospective
  19   future IP law firm.
  20          The Firm also worked with potential investment bankers as to maximizing the value of the
  21   estate and providing diligence materials. This includes determining potential buyers’ interest in
  22   taking over the operations of Meade Mexico which, although a separate legal entity, is a
  23   potentially key acquisition for its manufacturing capability.
  24          The Committee (which includes Orion as a member) believes a number of claims exist
  25   against Sheppard Mullin including, but not limited to, Sheppard Mullin’s filed UCC-1 financing
  26   statement in the preference period as well as filing with the U.S. Patent and Trademark Office in
  27   an effort to encumber Debtor’s IP. There are also concerns that Debtor paid all of Sheppard
  28   Mullin’s fees when Debtor was only one of 3 defendants in the Orion Action. Another issue exists



                                                          18
Case 8:19-bk-14714-MW          Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                Desc
                               Main Document    Page 19 of 101


   1   that Sheppard Mullin took an interest adverse to its client without obtaining proper documentation

   2   to do so. Accordingly, the Firm has closely reviewed selected filings in the Orion Action which

   3   could give support to those potential claims.

   4           In sum, the Firm has taken all actions to identify available assets and potential recoveries

   5   for the estate.

   6
       ATTORNEY/                       HOURLY RATE            TOTAL HOURS            TOTAL FEES DUE
   7   PARALEGAL
   8
       Robert P. Goe                        $495.00               18.20                          $9,009.00
   9   Charity J. Manee                     $355.00               14.80                          $5,254.00
       Arthur Johnston                      $195.00                2.20                            $429.00
  10   TOTAL                                                      35.20                         $14,692.00
  11           The blended hourly rate for services performed in this category was $417.39.
  12           C.        Asset Disposition (Category 51).
  13           The Firm spent a total of 76.10 hours and incurred a total of $33,757.50 in professional
  14   fees in this category. As noted above, upon the Firm’s involvement it was determined that a
  15   Section 363 sale was the most likely reorganization scenario. Further, upon the Committee’s
  16   appointment and in consultation with counsel, it was agreed that a collaborative sale effort was to
  17   be pursued expeditiously. Such work included reviewing the Debtor’s operations and IP and
  18   discussions with counsel on how resolving the Orion Action could impact a sale of the Debtor.
  19   The Firm had multiple calls with the Debtor, Committee and Broadway regarding the value of the
  20   Debtor’s assets, the sale process, non-disclosure agreements and marketability of the Debtor’s IP,
  21   its inventory, its distribution and manufacturing locations, goodwill and other assets. The Firm had
  22   numerous correspondence with the Debtor and the Committee concerning the bankruptcy sale,
  23   reviewed purchase inquiries from prospective buyers, preparation and review of Non-Disclosure
  24   Agreements and other sale strategy and valuation related items. The Firm corresponded with
  25   prospective buyers’ counsel regarding status of sale and purchase of individual brands and
  26   directed them to Broadway. The Firm reviewed liens on the estate’s assets, discussed with
  27   Debtor’s principals an employee buy-out option, as well as spoke with liquidators regarding the
  28   sale of assets. The Firm assisted in preparation of sale diligence materials, and reviewed lease



                                                         19
Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                              Main Document    Page 20 of 101


   1   documents regarding the Debtor’s Irvine headquarters and Mexico manufacturing location. The

   2   Firm discussed with Broadway and the Committee whether prospective purchasers would be

   3   strategic buyers or other parties in the industry.

   4          The Firm has at all times strived to provide the client timely and appropriate legal advice

   5   as to its fiduciary duties in Chapter 11. The Firm has also been proactive in its efforts to build a

   6   consensus in the case around an orderly and efficient sale process. The Firm was cognizant of the

   7   magnitude of the Orion Action jury verdict as well as the other unsecured creditors of the estate.

   8   The Firm’s efforts have been focused to bring maximum value as quickly as possible to the estate

   9   by engaging Broadway after a thorough vetting of investment bankers specializing in asset sales of

  10   this size. Both the Firm and Committee counsel also negotiated the best terms possible while still

  11   incentivizing Broadway through an adequate compensation structure. Prior to Broadway’s

  12   engagement, the Firm had prepared charts of the competing proposals so Debtor and Committee

  13   could easily evaluate each respective professional’s terms. The Firm and Debtor also sought

  14   guidance from Grobstein, Debtor’s financial advisor, as to sale strategies and to provide accurate

  15   financial accounting that would allow potential buyers to expedite the due diligence process.

  16          The Firm also explored from the beginning of the case whether Orion was a potential

  17   buyer when considering its major stake in the case and that it had sought to acquire Debtor in

  18   2013. The Firm engaged both Orion’s bankruptcy litigation counsel and although no agreement

  19   has been reached, the lines of communication remain open particularly depending on the level of

  20   interest from third-party buyers.

  21          In sum, great progress has been made by the Firm in establishing the proper foundation for

  22   a successful sale process.

  23
       ATTORNEY/                       HOURLY RATE               TOTAL HOURS          TOTAL FEES DUE
  24   PARALEGAL
  25
       Robert P. Goe                         $495.00               56.50                        $27,967.50
  26   Charity K. Manee                      $355.00               12.30                         $4,366.50
       Arthur Johnston                       $195.00                7.30                         $1,423.50
  27   TOTAL                                                       76.10                        $33,757.50
  28          The blended hourly rate for services performed in this category was $443.59.



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Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58               Desc
                             Main Document    Page 21 of 101


   1          D.      Business Operations (Category 52).

   2          The Firm spent a total of 169.00 hours and incurred a total of $68,015.00 in professional

   3   fees in this category in making certain the Debtor became and has remained in full compliance

   4   with the UST’s guidelines and requirements as a debtor in possession. The Firm corresponded

   5   with and advised the Debtor’s principals regarding the UST requirements and discussions with

   6   the Debtor in preparation of the Debtor’s First Day Motions: (a) Authorizing Use of Cash

   7   Collateral of Sheppard, Mullin, Richter & Hampton LLP; (b) Authorizing Maintenance of Pre-

   8   Petition Bank Accounts for 30 days; (c) Authorizing Payment of Pre-Petition Employee Wages

   9   and Benefits; (d) Establishment of Adequate Assurance payments with respect to Debtor’s

  10   Utilities; (e) Motion Authorizing Limiting Notice of Certain Matters Requiring Notice; (f) Joint

  11   Administration with Sunny Optics Inc.; (g) Extension of Time to File Schedules of Assets and

  12   Liabilities; (h) Statement Regarding Cash Collateral or Debtor In Possession Financing; (i)

  13   Omnibus Declaration of Victor Aniceto in Support of Emergency Motions; (j) Application for

  14   Order Shortening Time for Hearing(s) on Motions on Shortened Notice; (k) Supplemental

  15   Declaration of Robert P. Goe in Support of Emergency Motion Authorizing Use of Cash

  16   Collateral of Sheppard, Mullin, Richter & Hampton LLP. (the “First Day Motions”). As noted

  17   above, all the First Day Motions were granted to allow Debtor to seamlessly transition into

  18   Chapter 11 and allow Debtor to continue operations.

  19          Initially upon the filing, the Firm also corresponded with East West Bank regarding

  20   keeping pre-petition accounts open for a limited time and Debtor in Possession accounts and

  21   operations. Also as noted, the Firm prepared Orders for the 1st Day Motions, and gathered and

  22   prepared UST 7-Day Package documents. The Firm had discussions with the Debtor regarding

  23   arrival of shipments that require payments and reviewed Debtor’s Profit and Loss Statements,

  24   Balance Sheets and other financial information.

  25          The Firm prepared the Notice of Setting Insider Compensations, and entered a stipulation

  26   with the UST concerning insider compensation to allow an extension of time to oppose after the

  27   Committee was appointed. Eventually, no opposition was filed. The Firm advised Debtor of

  28   various critical dates during the first one hundred-twenty days for new chapter 11 bankruptcy



                                                         21
Case 8:19-bk-14714-MW           Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58              Desc
                                Main Document    Page 22 of 101


   1   filings.

   2              The Debtor had a number of questions regarding the closing of pre-petition books and

   3   opening of new books, payments to critical vendors, and preparing thirteen-week sales and budget

   4   projections, all of which Grobstein and the Firm provided assistance. The Firm had numerous

   5   correspondence with client regarding lease and insurance issues and prepared a letter to creditors

   6   and vendors regarding the bankruptcy process and Debtor’s ordinary course operations as a

   7   debtor-in-possession. The Firm reviewed Meade Mexico’s financial documents and assisted with

   8   employee and marketing expense and reimbursements.

   9              The Firm reviewed the Debtor’s banking documents for UST compliance and customs and

  10   accounts receivable reports. In particular, there were numerous discussions with Debtor regarding

  11   operational issues, customs bond renewal, bond insurer broker requirements. The Firm researched

  12   violation of bankruptcy stay with regard to potential cancellation of bonds. The Firm prepared the

  13   motion to obtain new customs bond in an increased amount due to the bankruptcy filing which the

  14   Committee supported and the Court approved. The Firm addressed multiple issues with trade

  15   creditors and in particular with Orion regarding Ningbo’s willingness to ship product to Debtor.

  16   After numerous calls and in person meetings, draft stipulations were circulated and eventually

  17   entered by Debtor, Orion and Ningbo which allows Debtor to place orders approved by the

  18   Committee for the goods shipped and paid for once satisfactorily delivered and Orion will not

  19   assert a right to the payment to be made to Ningbo. In connection with the supply agreement and

  20   other matters, the Firm has stayed informed on the Orion Action post trial orders, and other

  21   litigation matters.

  22              The Firm was in regular communication with Debtor and others regarding risk insurance

  23   policies and need for renewals to be paid over a period of time. Accordingly, the Firm prepared an

  24   expedited insurance motion and telephonic notice of motion and motion for hearing on shortened

  25   time authorizing the debtor to renew and/or replace its current insurance policies and enter into

  26   financing agreement with its domestic liability insurance carrier to finance its annual insurance

  27   premiums, which was not opposed by the Committee and approved by the Court.

  28              The Firm was also required to address issues with the expiration of the Meade Mexico



                                                         22
Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                   Desc
                              Main Document    Page 23 of 101


   1   lease and reviewed multiple emails and documents regarding Meade Mexico’s request for an

   2   extension of its lease. This was a very important issue in the case as the landlord was demanding

   3   a 3 to 5 year extension, which Debtor did not believe was prudent as it has yet to be determined

   4   what will be the needs and desires of a buyer. Additionally, the Mexico landlord sought a

   5   guaranty by Debtor. After consulting with the Committee and Broadway, Debtor went back to the

   6   landlord and negotiated a 1-year extension with early termination rights.

   7          The Firm had multiple discussions with Debtor regarding employee issues, including the

   8   need for an immigration attorney to retain a vital IT employee, employee reimbursement for costs

   9   advanced and researched employee issues.

  10          With these trying economic times and with the Firm’s assistance, the Committee and

  11   Debtor have been working closely together on cost-cutting measures (primarily staffing). Certain

  12   of the Committee members recognized already that Debtor had a “lean” operation but nevertheless

  13   were interested if some cuts were possible while at the same time maintaining adequate staffing

  14   levels to be attractive to a potential bidder as well as to be able to maintain operational integrity

  15   pending a sale. The Firm provided the Committee with a detailed cost cutting plan that is being

  16   implemented immediately.

  17          In sum, the Firm has proactively counseled Debtor on numerous operational issues while at

  18   all times keeping the Committee fully informed.

  19
       ATTORNEY/                       HOURLY RATE             TOTAL HOURS             TOTAL FEES DUE
  20   PARALEGAL
  21
       Robert P. Goe                         $495.00                     85.60                    $42,372.00
  22   Ronald S. Hodges                      $495.00                      1.40                       $693.00
       Charity J. Manee                      $195.00                     56.00                    $19,880.00
  23   Arthur Johnston                       $195.00                     26.00                     $5,070.00
       TOTAL                                                            169.00                    $68,015.00
  24
              The blended hourly rate for services performed in this category was $402.45.
  25
              E.      Case Administration (Category 53).
  26
              The Firm spent a total of 153.10 hours and incurred a total of $38,774.50 in professional
  27
       fees in this category preparing UST 7-day package, emails with Debtor regarding UST 7-day
  28



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Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                             Main Document    Page 24 of 101


   1   package, completion of schedules, UST compliance requirements and correspondence with UST

   2   regarding compliance issues. The Firm also assisted in preparation of evidence and projections to

   3   support first day motions, the 20 Largest Unsecured Creditors service list and reviewed

   4   compliance memoranda, as well as Debtor’s backup documents to prepare schedules and

   5   Statement of Financial Affairs. The Firm had telephone calls to utilities and creditors to give

   6   notice of Emergency First Day Motions for hearing set on December 12, 2019. The Firm had a

   7   number of discussions with Debtor regarding its responsibility to complete the UST 7-Day

   8   package, balance of schedules and entering of a stipulation with the UST regarding insider

   9   compensation. After the Court approved the First Day Motions to allow Debtor to continue to

  10   operate, the Firm prepared the necessary Orders for First Day Motions. The Firm reviewed

  11   Debtor’s list of assets for schedules, and had multiple phone calls and meetings with Debtor

  12   regarding preparation of schedules, Statement of Financial Affairs and the Initial Debtor

  13   Interview. The Firm had phone calls with UST regarding insider compensation. The Firm

  14   prepared the major issue and timetable report and reviewed the list of current, expired, abandoned

  15   trademarks and patents. The Firm reviewed various creditor documents and reviewed documents

  16   regarding value, operations and profitability of Meade Mexico in order to prepare periodic report

  17   required by Fed. R. Bankr. Proc. 2015.3. The Firm also responded to multiple emails from the

  18   Committee regarding patents, trademarks and other matters related to the sale and investment

  19   bankers. After the initial filings, the Firm prepared Debtor’ s Amended Schedule G of Executory

  20   Contracts to include all international distribution agreements. Finally, in this category the Firm

  21   reviewed monthly operating reports for completeness and redaction prior to filing with the Court

  22   and submission to UST, and is in the process of preparing Debtor’s Amended Schedule B, list of

  23   assets.

  24   ATTORNEY/                      HOURLY RATE             TOTAL HOURS            TOTAL FEES DUE
       PARALEGAL
  25

  26   Robert P. Goe                        $495.00               24.40                        $12,078.00
       Charity J. Manee                     $355.00               10.00                         $3,550.00
  27   Arthur Johnston                      $195.00              116.30                        $22,678.50
       Kerry A. Murphy                      $195.00                2.40                           $468.00
  28   TOTAL                                                     153.10                        $38,774.50


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Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                             Main Document    Page 25 of 101


   1          The blended hourly rate for services performed in this category was $253.26.

   2          F.      Claims Administration and Objections (Category 54).

   3          The Firm spent a total of 40.70 and incurred a total of $15,936.50 in professional fees in

   4   this category concerning claims against the estate. To begin, the Firm familiarized itself with the

   5   Orion Action and reviewed the Partial District Court Judgment against Ningbo and thereafter

   6   numerous Orion Action District Court filings to monitor status of case and in particular whether

   7   the prior claim would be eliminated or reduced. In addition, immediately upon being retained, the

   8   Firm conducted a UCC-1 search where the Sheppard Mullin lien was discovered and also showed

   9   the Bibby International Trade Finance lien, which the Firm investigated and determined was not

  10   valid. The Firm prepared letters to creditors regarding the operation of the Debtor in a Chapter 11

  11   case to encourage continued services during the bankruptcy. The Firm had a number of phone

  12   calls with counsel for Orion and the Committee regarding claims against the estate and other

  13   issues. As part of the First Day Motions, the Firm obtained an Order limiting notice to creditors

  14   and responded to numerous creditor inquiries and prepared changes of address when requested and

  15   revised Debtor’s list of 20 largest unsecured creditors. As to secured creditors, the Firm researched

  16   statute of limitations for Delaware UCC filings. The Firm prepared Motion to Set Bar Date and

  17   served Notice of the Claims Bar Date after delay of entry of Order Granting Motion to Set Bar

  18   Date at Committee's request. The Firm had a number of phone calls and correspondence with Ori

  19   Katz and others regarding Sheppard Mullin’s lien and claim. The Firm corresponded with V.

  20   Aniceto and D. Mehra re administrative claims against the estate that needed to be paid.

  21          The Firm corresponded with client and reviewed Custom's Bond and insurance information

  22   and need for Court approval to pay after obtaining consent from the Committee. The Firm

  23   conducted legal research regarding ability to subordinate portions of Orion judgment. The Firm

  24   had a phone call with insurance company counsel regarding Customs Bond and review US

  25   Customs correspondence and forward to client. The Firm reviewed McMaster 503(b)(9) claim,

  26   Kuehne & Nagel claim and backup for objection, and PSC, AAS and other trade claims for

  27   objection.

  28          The Firm was also asked to address certain immigration issues and employee issues and



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Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                Desc
                              Main Document    Page 26 of 101


   1   reviewed numerous memoranda regarding potential unpaid and priority employee reimbursement

   2   claims and reviewed client HR memoranda re potential priority claim and Debtor’s employee

   3   policy. The Firm reviewed Sheppard Mullin’s attempt to withdraw as counsel in the District

   4   Court Action and potential defenses to its claims. In that regard, the Firm researched and drafted

   5   memorandum regarding CRPC 1.8.1 (3-300) Rules of Professional Conduct 3-300 whether

   6   Sheppard Mullin has a valid lien separate and apart from whether it is a preference having been

   7   filed within 90 days of the petition date.

   8          In sum, the Firm has closely reviewed claims secured and unsecured, and will be

   9   challenging them as appropriate.

  10   ATTORNEY/                       HOURLY RATE           TOTAL HOURS            TOTAL FEES DUE
       PARALEGAL
  11

  12   Robert P. Goe                        $495.00              22.50                         $11,137.50
       Ronald S. Hodges                     $495.00               0.80                            $396.00
  13   Elizabeth A. LaRocque                $375.00               1.70                            $637.50
       Charity J. Manee                     $355.00               4.40                          $1,562.00
  14
       Arthur Johnston                      $195.00              11.30                          $2,203.50
  15   TOTAL                                                     40.70                         $15,936.50

  16          The blended hourly rate for services performed in this category was $391.56

  17          G.      Employee Benefits/Pensions (Category 55).

  18          The Firm spent a total of zero (0) hours and incurred a total of $0.00 in professional fees

  19   in this category.

  20          H.      Fee/Employment Applications (Category 56).

  21          The Firm spent a total of 39.30 hours and incurred a total of $9,973.50 in professional

  22   fees in this category preparing, revising and reviewing Debtor’s application to employ the Firm

  23   as its general bankruptcy counsel, serving the notice of same, and as no objection was filed,

  24   thereafter prepared a declaration that no party requested a hearing and the Order granting the

  25   Firm’s employment. The Firm prepared its 1st professional fee statement and this detailed

  26   Application of tasks performed and results obtained. The Firm prepared a 45-day Notice to

  27   Professionals to File Fee Applications.

  28   ATTORNEY/                       HOURLY RATE           TOTAL HOURS            TOTAL FEES DUE
       PARALEGAL


                                                        26
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                  Desc
                             Main Document    Page 27 of 101


   1
       Robert P. Goe                       $495.00                     7.70                     $3,811.50
   2   Arthur Johnston                     $195.00                    30.60                     $5,967.00
       Kerry A. Murphy                     $195.00                     1.00                       $195.00
   3   TOTAL                                                          39.30                     $9,973.50
   4          The blended hourly rate for services performed in this category was $253.78.

   5          I.       Fee/Employment Objections (Category 57).

   6          The Firm spent a total of 0.30 hours and incurred a total of $148.50 in professional fees

   7   in this category reviewing the application of Sulmeyer Kupetz for possible objection.

   8
       ATTORNEY/                      HOURLY RATE           TOTAL HOURS            TOTAL FEES DUE
   9   PARALEGAL
  10
       Robert P. Goe                       $495.00                     0.30                      $148.50
  11   TOTAL                                                           0.30                      $148.50
  12          The blended hourly rate for services performed in this category was $495.00.

  13          J.       Financing (Category 58).

  14          The Firm spent a total of 9.80 hours and incurred a total of $4,711.00 in professional fees

  15   in this category. The services the Firm provided are: prepare and respond to multiple emails with

  16   L. Caseria and others of Sheppard Mullin regarding consent to use of alleged cash collateral as

  17   Sheppard Mullin had filed a pre-petition UCC-1 financing statement. The Firm prepared the cash

  18   collateral motion as part of the First Day Motions. The Firm reviewed cash collateral issues and

  19   lien filings, and numerous emails to Sheppard Mullin regarding same. The Firm had phone calls

  20   with R. Brunette and reviewed Sheppard Mullins security documents regarding cash collateral

  21   claims. After filing the cash collateral motion, the Firm prepared the supplemental declaration of

  22   R. Goe concerning consent to use cash collateral by Sheppard Mullin which motion the Court

  23   granted and the Firm prepared the cash collateral Order. The Firm had phone calls and emails

  24   with D. Mehra of Grobstein regarding cash collateral and budget issues. The Firm corresponded

  25   with V. Aniceto regarding projections and continued use of cash collateral while Debtor continues

  26   to operate.

  27
       ATTORNEY/                      HOURLY RATE           TOTAL HOURS            TOTAL FEES DUE
  28   PARALEGAL


                                                       27
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                             Main Document    Page 28 of 101


   1
       Robert P. Goe                        $495.00                8.80                          $4,356.00
   2   Charity J. Manee                     $355.00                1.00                            $355.00
       TOTAL                                                       9.80                          $4,711.00
   3
              The blended hourly rate for services performed in this category was $480.71.
   4
              K.      General Litigation (Category 59).
   5
              The Firm spent a total of 94.20 hours and incurred a total of $38,341.00 in professional
   6
       fees in this category. The services the Firm provided include monitoring the District Court docket
   7
       for significant events, rulings and filings impacting the bankruptcy case in the Orion Action. As
   8
       noted, pre-petition a jury verdict was entered but no judgment against Debtor. However, a Partial
   9
       Judgment was entered against Ningbo which resulted in significant motion practice for a new trial
  10
       and to amend the Partial Judgment, all of which could impact Orion’s claim against Debtor. There
  11
       was also significant collection action and request for relief that could affect Debtor as well. The
  12
       Firm also reviewed documents concerning settlement efforts with Orion and the Firm took
  13
       significant effort to restart that process. The Firm also corresponded with client concerning the
  14
       original retention of Sheppard Mullin and potential litigation claims and legal research regarding
  15
       enforceability of Sheppard Mullin lien.
  16
              The Firm was also in discussions with counsel for Orion regarding Orion’s stay relief to
  17
       allow entry of judgment and potential efforts to mediate. The Firm communicated with counsel at
  18
       Sheppard Mullin and Debtor as to Orion’s request to lift stay to allow entry of judgment and other
  19
       relief and it was determined granting stay relief would be detrimental to the estate as Debtor does
  20
       not have counsel employed in the District Court (which is particularly true now with Sheppard
  21
       Mullin attempting to withdraw as well as Orion seeking equitable relief in addition to merely
  22
       attempting to have judgment entered). The Firm emailed with L. Caseria regarding Orion's
  23
       application for a writ of execution and Meade's need for Ningbo to continue to ship product and
  24
       materials.
  25
              The Firm also reviewed and executed UST stipulation for insider compensation and calls
  26
       re same. The Firm reviewed memoranda regarding employee concerns re conversion to Chapter 7
  27
       and respond to same. The Firm reviewed motion to alter or amend District Court judgment and
  28
       District Court litigation filings re assignment order and other filings. The Firm reviewed District


                                                        28
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                Desc
                             Main Document    Page 29 of 101


   1   Court TRO as it may impact debtor operations. The Firm reviewed Orion's notice of levy re

   2   Ningbo's assets. The Firm had emails with L. Caseria regarding expedited mediation with Orion.

   3   The Firm prepared Notice of hearing on Shortened Time on Motion For Order Pursuant To 11

   4   U.S.C. § 363(b)(1) Authorizing Debtor To Post Collateral For Increased Bond With Customs and

   5   Border Protection. Electronically file Declaration regarding Telephonic, Mail and Email Service

   6   regarding Notice of hearing on Shortened Time on Motion for Order Pursuant To 11 U.S.C. §

   7   363(b)(1) Authorizing Debtor to Post Collateral for Increased Bond With Customs And Border

   8   Protection. The Firm prepared of notice of hearing on Shortened Time on Motion for Order

   9   Pursuant To 11 U.S.C. § 363(b)(1) Authorizing Debtor to Post Collateral for Increased Bond with

  10   Customs And Border Protection, and prepared the Declaration regarding Telephonic, Mail and

  11   Email Service regarding Notice of hearing on Shortened Time on Motion for Order Pursuant To

  12   11 U.S.C. § 363(b)(1) Authorizing Debtor to Post Collateral for Increased Bond With Customs

  13   And Border Protection. The Firm reviewed Orion's motion for OSC against Ningbo re Celestron

  14   collections and the contempt motion potentially impacting Debtor and forwarded to client. The

  15   Firm reviewed Committee’s memoranda/responses connecting supply agreement to stay

  16   stipulation. The Firm reviewed District Court order, OSC and other filings. The Firm reviewed

  17   Optronic's preliminary injunction request and forwarded to Committee.

  18          The Firm exchanged emails with M. Horoupian regarding meeting with Orion and Debtor

  19   regarding possible resolution. The Firm prepared for and met with H. Rafatjoo and M. Horoupian,

  20   as well as had calls with M. Borden and V. Aniceto regarding efforts to globally resolve. The

  21   Firm exchanged emails with M. Lane regarding the bankruptcy case and with V. Aniceto

  22   regarding last settlement offer made to Orion. The Firm corresponded with H. Rafatjoo and M.

  23   Horoupian re previous settlement offer and corresponded with Greenberg Traurig and reviewed

  24   settlement/litigation issues. The Firm had a telephone call with M. Lane, possible counsel for

  25   Ningbo, regarding Meade's bankruptcy matter and impact on District Court case, as well as emails

  26   to M. Lane regarding automatic stay not-applicable to third parties and forward legal authorities.

  27   The Firm reviewed Ningbo’s opposition to equitable relief and reviewed the Court order on

  28   permanent injunction and other matters.



                                                        29
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                Desc
                             Main Document    Page 30 of 101


   1          After Debtor could not agree to stay relief terms, which included more than just to enter a

   2   judgment, Orion filed a stay motion to which the Firm prepared an opposition and reviewed

   3   Committee’s opposition to same.

   4          In sum, the Firm has guided Debtor through this matter which was complicated by the pre-

   5   petition District Court litigation which, although stayed as to Debtor, was proceeding against

   6   Ningbo. Further, the Firm has taken necessary action to protect the estate, while at the same time

   7   proactively attempting to resolve, in whole or in part, the claims of Orion.

   8
       ATTORNEY/                      HOURLY RATE             TOTAL HOURS             TOTAL FEES DUE
   9   PARALEGAL
  10
       Robert P. Goe                        $495.00               57.30                        $28,363.50
  11   Ronald S. Hodges                     $495.00                0.90                           $445.50
       Charity J. Manee                     $355.00               15.70                         $5,573.50
  12   Arthur Johnston                      $195.00               20.30                         $3,958.50
  13   TOTAL                                                      94.20                        $38,341.00
              The blended hourly rate for services performed in this category was 407.02
  14
              L.      Meetings of Creditors (Category 60).
  15
              The Firm spent a total of 60.90 hours and incurred a total of $24,627.50 in professional
  16
       fees in this category. Generally, this category includes services relating to the Firm and Debtor’s
  17
       efforts to work cooperatively with the Committee in all regards including pursuing a sale of assets
  18
       and identifying litigation claims to be pursued. The services the Firm provided in this category
  19
       include review of order setting scheduling and case status conference, correspondence with UST
  20
       regarding IDI, and researching District Court matter to and obtain copies of documents for status
  21
       report, which the Court scheduled just a few days into the case. The Firm prepared the Notice of
  22
       Order Setting Scheduling and Case Management Conference, electronically filed Notice of
  23
       Scheduling and Case Management Conference. The Firm reviewed the Court’s status conference
  24
       order and reviewed 341(a) notice and prepared instructions regarding same. The Firm prepared,
  25
       reviewed and revised the Chapter 11 status conference report and served same and corresponded
  26
       with client re status conference. The Firm prepared for and appeared at the status conference; met
  27
       with Orion’s counsel regarding strategy, and had a phone call with client re status conference. The
  28



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Case 8:19-bk-14714-MW       Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                Desc
                            Main Document    Page 31 of 101


   1   Firm exchanged emails with V. Aniceto regarding creditor's committee formation and need to

   2   work cooperatively. The Firm reviewed the status conference notice and had telephone calls with

   3   R. Marshack regarding the Committee. The Firm corresponded with the UST regarding status

   4   conference and phone calls with M. Sweet regarding creditor committee formation and others.

   5          The Firm attended Debtor’s Initial Debtor Interview and met with client before and after.

   6   The Firm had multiple phone calls with creditor’s counsel regarding sale and creditor positions

   7   and corresponded with client re 341(a) Meeting of Creditors. The Firm also reviewed

   8   appointment and composition of creditor's committee and emails with V. Aniceto regarding same.

   9   The Firm had a call with creditors regarding the sale process and multiple phone calls with M.

  10   Horoupian regarding case strategy and proposed sale documents. The Firm exchanged emails

  11   with M. Horoupian regarding motion for bar date and locating/hiring investment banker and

  12   corresponded with M. Horoupian regarding sale proposals and reviewed and forwarded various

  13   financial documents. The Firm corresponded with Committee and others regarding bar date, and

  14   reviewed documents, met with client and prepared for 341(a) meeting.

  15          The Firm traveled to and attended 341(a) meeting, and prepared email to V. Aniceto with a

  16   list of documents requested by Committee’s counsel at the 341(a) meeting. The Firm reviewed

  17   and forwarded substantial financial information to Committee counsel and Broadway. The Firm

  18   corresponded with client regarding providing the Committee with financial information. The Firm

  19   exchanged emails with M. Horoupian regarding need to retain new intellectual property counsel.

  20   The Firm corresponded with H. Rafatjoo and M. Horoupian regarding Orion cooperation,

  21   reviewed various changes to Broadway joint employment application, and prepared updated status

  22   reports. The Firm corresponded with Committee counsel, client and financial adviser regarding

  23   sale strategy and worked on finalizing Broadway application.

  24          The Firm reviewed and forwarded bond insurance memoranda, and reviewed the

  25   Committee’s NDA memoranda. The Firm corresponded with M. Horoupian re emergency bond

  26   hearing and corresponded with client regarding Moreo/Committee communications. The Firm

  27   prepared for and appeared at status conference, held a brief meeting with M. Horoupian, and

  28   prepared status conference/bar date order. The Firm exchanged emails with M. Horoupian



                                                       31
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58             Desc
                             Main Document    Page 32 of 101


   1   regarding Committee's position on Customs bond motion and reviewed the NDA memoranda/fully

   2   executed Orion agreement. The Firm had multiple calls with M. Horoupian to discuss case

   3   strategy. The Firm reviewed various Committee filings and reviewed Committee operations

   4   requests and forward to V. Aniceto for response.

   5          The Firm had a number of calls with D. Mehra, V. Aniceto and Sara regarding questions

   6   from Committee re operations. The Firm exchanged emails with D. Mehra regarding questions

   7   from Committee regarding operations. The Firm corresponded with Committee regarding

   8   valuation issues, and emailed V. Aniceto regarding due diligence response to Broadway regarding

   9   executory contracts. The Firm reviewed Committee request for information and responded and

  10   reviewed and responded to emails from M. Horoupian re Committee questions arising out of

  11   schedules/341(a) exam. The Firm created DropBox location for deposit of files requested by M.

  12   Horoupian and reviewed items placed into DropBox to fulfill M. Horoupian's document request.

  13   The Firm had multiple calls handling Committee calls joined by Broadway and reviewed

  14   Committee strategy meeting memoranda, responded and analyzed Debtor responses to Committee

  15   inquiries. The Firm reviewed Committee’s sale memoranda/responses and reviewed Sheppard

  16   Mullin filings in District Court and forwarded to Committee counsel. The Firm reviewed

  17   insurance issues for need to expedite hearing. The Firm reviewed the Committee sale memoranda

  18   and responded regarding request for documents. The Firm corresponded with V. Aniceto;

  19   reviewed and forwarded Committee memoranda regarding employment of Broadway, and had

  20   phone call with M. Horoupian regarding Committee challenging Sheppard Mullin liens.

  21   Correspondence with client; review and forward Committee memoranda re demand for Sheppard

  22   Mullin documents. The Firm prepared correspondence to L. Caseria re production of documents

  23   to Orion/Committee and review memoranda re same. The Firm reviewed and responded to

  24   Committee memoranda on sale and prepared updated case status report. The Firm corresponded

  25   with M. Horoupian regarding District Court filings potentially affecting case. The Firm had phone

  26   calls with M. Horoupian and A. Masse re Committee position on sale process and initially slowing

  27   down sale process and then agreeing to proceed. The Firm corresponded with Committee counsel

  28   regarding transfer of goodwill.



                                                      32
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                  Desc
                             Main Document    Page 33 of 101


   1          The Firm attended Court hearings regarding status conference, lease extension and plan

   2   exclusivity motions. The Firm reviewed Committee/Broadway landlord memoranda and

   3   responses regarding Meade Mexico lease. Review and provide Meade Mexico Lease to

   4   Committee for discussions on negotiating short term extension. The Firm reviewed

   5   Sheppard/Committee memoranda re document production.

   6          The Firm had phone calls with Committee and Broadway re cost cutting, sale issues and

   7   finalizing supply agreement.

   8          In sum, the Firm has worked closely with creditors by jointly agreeing to an investment

   9   banker, agreeing to sale process and recently assisting in negotiating a critical supply agreement

  10   with Ningbo.

  11   ATTORNEY/                       HOURLY RATE            TOTAL HOURS            TOTAL FEES DUE
       PARALEGAL
  12

  13   Robert P. Goe                         495.00               40.00                         $19,800.00
       Charity J. Manee                     $355.00                4.70                          $1,668.50
  14   Arthur Johnston                      $195.00               16.20                          $3,159.00
       TOTAL                                                      60.90                         $24,627.50
  15
              The blended hourly rate for services performed in this category was $404.39.
  16
              M.      Plan and Disclosure Statement (Category 61).
  17
              The Firm spent a total of 11.70 hours and incurred a total of $5,455.50 in professional fees
  18
       in this category related to efforts to sell and reorganize. The services the firm provided are:
  19
       Correspondence with client and Howard Grobstein and review memoranda re reorganization
  20
       strategy. Phone call with V. Aniceto re plan/efforts to resolve Orion claim. Correspondence with
  21
       client re global strategy and review memoranda re same. Phone call with client, Howard
  22
       Grobstein and others re global case strategy. Phone call with client and D. Mehra re case strategy.
  23
       Review client global strategy memoranda and responses. Phone call with M. Horoupian and H.
  24
       Rafatjoo re sale/plan negotiations. Preparation of exclusivity motion and review exclusivity issues
  25
       and timing of motion. Correspondence with client and review reorganization memoranda.
  26
       Correspondence with Committee and review and execute exclusivity stipulation with Committee
  27
       to resolve any objection. Review and revise exclusivity order and forward for Committee review.
  28



                                                         33
Case 8:19-bk-14714-MW          Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                               Main Document    Page 34 of 101


   1   Review and revise lease extension order and forward for Committee approval. Review and

   2   respond to multiple emails from M. Horoupian for financial information. Correspondence with V.

   3   Aniceto re payments and operations.

   4             The sale will be the lynchpin to Debtor’s reorganization which will likely be followed by a

   5   liquidating plan. By working together with the Committee and Broadway and fully cooperating in

   6   providing due diligence materials, the Firm has laid the foundation to maximize the value of the

   7   estate.

   8
       ATTORNEY/                        HOURLY RATE            TOTAL HOURS            TOTAL FEES DUE
   9   PARALEGAL
  10
       Robert P. Goe                         $495.00                 9.30                        $4,603.50
  11   Charity J. Manee                      $355.00                 2.40                          $852.00
       TOTAL                                                        11.70                        $5,455.50
  12
                 The blended hourly rate for services performed in this category was $466.28.
  13
                 14.    In compliance with Local Bankruptcy Rule 2016-1, the following is a summary
  14
       setting forth each attorney who worked on the case and the year each was admitted to practice
  15
       law. The summary also includes the names of the legal assistants working on the case. Other
  16
       information required by this rule is included in the Firm's resume on file with the Office of the
  17
       United States Trustee.
  18
                        Robert P. Goe. Partner of the Firm; admitted to practice in California in 1988;
  19
       347.30 total hours at a billable rate of $495.00 per hour.
  20
                        Ronald S. Hodges. Partner of the Firm; admitted to practice in California in
  21
       1990; 3.10 total hours at a billable rate of $495.00 per hour.
  22
                        Charity J. Manee. Associate to the Firm; admitted to practice in California in
  23
       2012; 129.90 total hours at a billable rate of $355.00 per hour.
  24
                        Elizabeth A. LaRocque. Of Counsel to the Firm; admitted to practice in
  25
       California in 2002; 1.70 total hours at a billable rate of $375.00 per hour.
  26
                        Arthur E. Johnson. Paralegal with the Firm; 44.70 hours at a billable rate of
  27
       $195.00 per hour. 239.90 total hours at a billable rate of $195.00 per hour.
  28
                        Kerry A. Murphy. Legal Assistant with the Firm; 3.40 total hours as a billable


                                                          34
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                 Desc
                             Main Document    Page 35 of 101


   1   rate of $195.00 per hour.

   2          15.     Attached to this Application as Exhibit 1, and incorporated herein by this

   3   reference, are computer time sheets which set forth in detail the time spent and the precise

   4   professional services rendered by the Firm during the period covered by this Application. In

   5   compliance with the requirements of the United States Trustee, the following is a summary

   6   setting forth the hourly rates, total number of hours worked (including “no charge time”) and

   7   total fees owing for services performed by attorneys and paralegals working on the matters for

   8   the Debtor.

   9

  10     ATTORNEY/PARALEGAL                    HOURLY          TOTAL HOURS                TOTAL FEE

  11                                             RATE                                                 DUE

  12     Robert P. Goe                          $495.00              347.30                 $171,913.50
  13     Ronald S. Hodges                       $495.00               3.10                     $1,534.50
  14     Charity J. Manee                       $355.00              129.90                  $46,114.50
  15     Elizabeth A. LaRocque                  $375.00               1.70                       $637.50
  16     Arthur E. Johnson                      $195.00              239.90                  $46,780.50
  17     Kerry A. Murphy                        $195.00               3.40                       $663.00
  18     TOTAL:                                                      725.30                 $267,545.50
  19
              16.     December 5, 2019 through April 6, 2020, the Firm logged a total of 725.30 hours.
  20
       The Firm is seeking compensation for a total of 725.30 hours. The blended hourly rate for
  21
       professional services performed by the attorneys and legal assistants working on this case
  22
       for which the Firm is seeking compensation is $369.01. There have been instances where the
  23
       time records indicate interoffice conferencing between attorneys and legal assistants. Applicant
  24
       believes that at times interoffice conferencing is absolutely necessary. In order to represent the
  25
       Debtor as efficiently as possible, the Firm assembles a "team" of lawyers and legal assistants.
  26
       Using this team approach, the Firm can operate the case on a cost -efficient basis while assigning
  27
       each required task to a lawyer at an appropriate level of expertise and experience. A key to good
  28
       teamwork is communication. While it may not be necessary for all team members to be aware of


                                                        35
Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                   Desc
                              Main Document    Page 36 of 101


   1   all of the intricacies of the case, it is imperative that the partner supervising the matter be aware

   2   of all developments in the case.

   3          17.     The Firm is requesting reimbursement of costs incurred from December 5, 2019
   4   through April 6, 2020, in the amount of $2,393.01. With respect to the costs incurred on behalf
   5   of the Debtor for which reimbursement is hereby sought, all such costs are charged to all the
   6   firm's clients, whether debtor, creditor, trustee, or non-bankruptcy related. All of the costs,
   7   which were anticipated to be incurred in the representation of the Debtor, were fully disclosed to
   8   the Debtor prior to the Firm's employment in this case.
   9
              18.     The Firm in the normal course of its business produces, from the records
  10
       described above, computer printouts listing the costs incurred by the clients of the Firm. The
  11
       computer printouts of the Firm's costs are located on the billing statements which are attached
  12
       hereto as Exhibit 1.
  13
                      a.      Photocopying: The Firm incurred the total sum of
  14
       $1,307.60 in photocopying/document reproduction costs for the period covered by this
  15
       Application. The entire Firm's clients, whether debtor or creditor, are charged $.20 per page.
  16
              Whenever time allows and depending upon the anticipated total number of copies being
  17
       reproduced, the Firm utilized the services of an outside copy service to reproduce the copies for
  18
       service. The charge also included postage costs for the service of the document.
  19
                      b.      Document Deliveries/Overnight/Federal Express: The Firm incurred
  20
       the sum of $350.49 in document delivery charges. The Firm has used document delivery
  21
       services only when same-day or next-day delivery of documents and filing of pleadings is
  22
       required. The charges are billed by the businesses with which the Firm contracts to perform
  23
       delivery services. In each instance when such expedited delivery of documents is required, a
  24
       three-part delivery invoice is completed stating the name of the recipient of the document, the
  25
       recipient's address and the client to be charged for the delivery. The delivery services do not
  26
       charge the Firm a set fee for their services, rather they charge the Firm fees according to the
  27
       distance they are required to travel in order to deliver the documents.
  28
                      c.      Postage: It is the Firm’s practice to charge postage to clients. The client


                                                          36
Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                  Desc
                              Main Document    Page 37 of 101


   1   name, client number, number of envelopes and per envelope charge is listed. These charges are

   2   then recorded on the client account. The Firm incurred the sum of $273.83 in postage charges

   3   for mailing of documents, including, but not limited to (a) various motions; (b) notices; (c)

   4   professional fee statements and the notices thereof.

   5                  d.       PACER Research: The Firm charges to all clients the exact charge that

   6   is billed to the Firm for the use of on-line research services. The Firm incurred the sum of

   7   $108.50 for PACER research charges.

   8                  e.       Parking/Tolls/Mileage: It is the Firm’s practice to charge for all

   9   parking and toll costs incurred. The Firm incurred the sum of $4.00 in parking charges.

  10                  f.       Research:      The Firm charges to all clients the exact charge that is

  11   billed to research and retrieve documents. The Firm incurred the sum of $59.99 in research

  12   fees.

  13                  g.       Filing/Certify/Recordation. The Firm charges to all clients the exact

  14   charge that is billed to obtain certified copies of documents and to record the same. The Firm

  15   incurred the sum of $200.00 in filing/certified/recordation fees.

  16                  h.       Conference Calls.     The Firm utilizes conference calls to keep

  17   expenses down for the estate and when the parties cannot meet in person, particularly during

  18   this COVID-19 pandemic. The Firm incurred the sum of $78.60 in conference call charges.

  19                  i.       Wire Charges.         It is the Firm’s practice to charge all clients for

  20   wire charges incurred. The Firm incurred $10.00 in wire fees.

  21                                          SUMMARY

  22                       Expense                                                   Total
  23                       Photocopying                                         $1,307.60
                           Deliveries/Overnight                                   $350.49
  24                       Postage                                                $273.83
                           PACER                                                  $108.50
  25                       Parking/Tolls/Mileage                                    $4.00
                           Research                                                $59.99
  26                       Certify/Recordation                                    $200.00
                           Conference Calls                                        $78.60
  27                       Wire                                                    $10.00
  28                       TOTAL                                                $2,393.01


                                                         37
Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                  Desc
                             Main Document    Page 38 of 101


   1          19.     No agreement or understanding of any kind exists between the Firm and any other

   2   person for the sharing of compensation received or to be received for services rendered in

   3   connection with this Chapter 11 case.

   4          20.     In determining the Firm's fees, this Court should take into consideration standards

   5   which have been developed by the courts for the determination of fees, including skill and

   6   experience of counsel, complexity of matters handled, services rendered in aid of the

   7   administration of this estate and in carrying out the provisions of the Bankruptcy Code, results

   8   achieved, and time expended.

   9          21.     From December 5, 2019 through April 6, 2020, the total amount of fees incurred

  10   for services rendered on behalf of the Debtor was $267,545.50 and the total amount of costs

  11   incurred was $2,393.01.

  12          I declare under penalty of perjury under the laws of the United States of America that the

  13   foregoing is true and correct.

  14          Executed on April 8, 2020, at Irvine, California.

  15                                                         /s/Robert P. Goe_____________________
  16                                                         Robert P. Goe

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Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                  Desc
                             Main Document    Page 39 of 101


   1                             DECLARATION OF VINCENT ANICETO

   2          I am the President of Meade Instruments Corp, a Delaware corporation, the Debtor and

   3   Debtor-in-Possession herein. The matters stated hereinafter are within my own personal

   4   knowledge and, if called as a witness, I could and would competently testify thereto.

   5          This declaration is filed in support of the First and Interim Application for Fees and

   6   Reimbursement of Costs (the “Application”) of Goe Forsythe & Hodges (the “Firm”).

   7   Additionally, this declaration is made to comply with the Guide to Applications for Professional

   8   Compensation II(A)(11) of the Office of the United States Trustee.

   9          3.      I have reviewed the monthly billing statements of the Firm and have no objections

  10   to the fees and costs sought therein. I believe that the fees and costs for which the Firm has

  11   applied have been of high quality and, as set forth in detail in the Declaration of Robert P. Goe

  12   filed in support of the Application, have produced substantial benefit to the creditors of the estate.

  13          4.      Based upon the foregoing, I respectfully submit that good cause exists for this

  14   Court to award to the Firm the fees and costs for which it has applied pursuant to the Application.

  15          I declare under penalty of perjury under the laws of the United States of America that the

  16   foregoing is true and correct.

  17          Executed this 8th day of April 2020, at _______________________, California.

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  20                                                          Victor Aniceto
                                                              President of Debtor and Debtor in Possession
  21                                                          Meade Instruments Corp.,
                                                              a Delaware Corporation.
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Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58   Desc
                        Main Document    Page 40 of 101




                   EXHIBIT 1




                   EXHIBIT 1
                              Case 8:19-bk-14714-MW              Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                                 Main Document    Page 41 of 101

PreBill     Meade 4/7/2020
Date        User                Activity category                       Description                                                                Hours Rate ($)   Billable ($)
  12/6/2019 Robert Goe          49 - Services for Other Professionals   Review proposed Windes agreement.                                              0.4 $ 495.00 $      198.00
                                                                        Emails with A. Meislik re employing Force 10 as investment banker and
12/11/2019    Charity Manee     49 - Services for Other Professionals   engagement letter of Force 10.                                                 0.3   $   355.00   $   106.50
12/12/2019    Charity Manee     49 - Services for Other Professionals   Emails with A. Meislik re employment of Force 10.                              0.1   $   355.00   $    35.50
12/12/2019    Charity Manee     49 - Services for Other Professionals   Emails with Victor and H. Grobstein re employing Grobstein Teeple.             0.5   $   355.00   $   177.50
12/12/2019    Robert Goe        49 - Services for Other Professionals   Correspondence with client re engaging Grobstein.                              0.2   $   495.00   $    99.00
12/16/2019    Robert Goe        49 - Services for Other Professionals   Review GT employment application.                                              0.4   $   495.00   $   198.00

12/18/2019    Robert Goe        49 - Services for Other Professionals   Review GT and comments in employment application as financial adviser.         0.4   $   495.00   $   198.00
12/19/2019    Charity Manee     49 - Services for Other Professionals   Emails with V. Aniceto re hiring Force 10 as investment banker.                0.3   $   355.00   $   106.50
12/20/2019    Charity Manee     49 - Services for Other Professionals   Emails with D. Mehra re investment banker proposals.                           0.1   $   355.00   $    35.50
12/23/2019    Charity Manee     49 - Services for Other Professionals   Email with D. Mehra re need for IP special counsel.                            0.2   $   355.00   $    71.00
                                                                        Emails with B. Weiss re revisions to Force 10 engagement letter/terms of
12/24/2019 Charity Manee        49 - Services for Other Professionals   employment.                                                                    0.1 $ 355.00 $          35.50
                                                                        Emails with L. Hernandez and V. Aniceto re need to employ Arent Fox as
12/24/2019 Charity Manee        49 - Services for Other Professionals   IP special counsel.                                                            0.5 $ 355.00 $         177.50

12/24/2019 Robert Goe           49 - Services for Other Professionals   Phone call with Diane and emails re employing Arent Fox as IP counsel.         0.6 $ 495.00 $         297.00
12/26/2019 Charity Manee        49 - Services for Other Professionals   Review and revise employment application for Investment Bankers.               2.5 $ 355.00 $         887.50
12/26/2019 Robert Goe           49 - Services for Other Professionals   Review Force 10 employment documents.                                          0.6 $ 495.00 $         297.00
                                                                        Review trademark memoranda and responses re employment of Arent
   1/2/2020 Robert Goe          49 - Services for Other Professionals   Fox and assignment of IP.                                                      0.7 $ 495.00 $         346.50
                                                                        Correspondence with B. Weiss; review Force 10 documents for
   1/3/2020   Robert Goe        49 - Services for Other Professionals   engagement.                                                                    0.4   $   495.00   $   198.00
   1/3/2020   Robert Goe        49 - Services for Other Professionals   Correspondence with Diane re Aren't Fox employment application.                0.2   $   495.00   $    99.00
   1/6/2020   Robert Goe        49 - Services for Other Professionals   Review client/investment banker memoranda.                                     0.4   $   495.00   $   198.00
   1/8/2020   Charity Manee     49 - Services for Other Professionals   Emails with Force 10 re proposed terms of employment.                          0.1   $   355.00   $    35.50
                                                                        Correspondence with Investment Bankers re proposed employment terms
   1/8/2020   Robert Goe        49 - Services for Other Professionals   and work on proposed application.                                              0.6   $   495.00   $   297.00
   1/8/2020   Robert Goe        49 - Services for Other Professionals   Review revised Baaker proposals..                                              0.4   $   495.00   $   198.00
   1/9/2020   Robert Goe        49 - Services for Other Professionals   Review Calabasas and Clareyork proposals as revised.                           0.5   $   495.00   $   247.50
   1/9/2020   Robert Goe        49 - Services for Other Professionals   Review Force 10 response to proposals and forward to client.                   0.4   $   495.00   $   198.00
                                                                        Email from A. Ordubegian re Arent Fox declining to take on debtor's
 1/13/2020 Charity Manee        49 - Services for Other Professionals   intellectual property portfolio.                                               0.1 $ 355.00 $          35.50


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                             Case 8:19-bk-14714-MW              Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                            Desc
                                                                Main Document    Page 42 of 101

Date       User                Activity category                       Description                                                                 Hours   Rate ($)   Billable ($)
                                                                       Correspondence with M. Horoupian; review and forward investment
 1/13/2020 Robert Goe          49 - Services for Other Professionals   banker proposals.                                                              0.7 $ 495.00 $        346.50
                                                                       Correspondence with M. Horoupian re investment banker and other
 1/13/2020 Robert Goe          49 - Services for Other Professionals   professionals.                                                                 0.4 $ 495.00 $        198.00

                                                                       Email from M. Horoupian to Broadway Advisors re decision to retain it as
 1/14/2020 Charity Manee       49 - Services for Other Professionals   investment banker. Email from L. Lujan of Broadway Advisors re same.           0.2 $ 355.00 $          71.00
 1/14/2020 Charity Manee       49 - Services for Other Professionals   Review Broadway Advisors documents.                                            0.2 $ 355.00 $          71.00
                                                                       Correspondence with client and Mark re Broadway retention and review
 1/14/2020 Robert Goe          49 - Services for Other Professionals   memoranda and documents re same.                                               0.5 $ 495.00 $        247.50
                                                                       Prepare email with attachments to G. Clarkson with copies of petition,
                                                                       schedules and other lists to perform conflict checks prior to undertaking
 1/15/2020 Arthur Johnston     49 - Services for Other Professionals   position.                                                                      0.7 $ 195.00 $        136.50
                                                                       Emails with G. Clarkson re retention of his firm as intellectual property
 1/15/2020 Charity Manee       49 - Services for Other Professionals   counsel.                                                                       0.1 $ 355.00 $          35.50
                                                                       Emails with G. Clarkson re tasks to undertake as intellectual property
 1/16/2020 Charity Manee       49 - Services for Other Professionals   counsel.                                                                       0.4 $ 355.00 $        142.00
                                                                       Emails M. Horoupian and L. Lujan re Broadway Advisors retention
 1/16/2020 Charity Manee       49 - Services for Other Professionals   agreement.                                                                     0.2 $ 355.00 $         71.00
 1/16/2020 Robert Goe          49 - Services for Other Professionals   Review and revise Stetina Brunda retainer agreement.                           0.4 $ 495.00 $        198.00
                                                                       Review and comment on Broadway Advisors retention agreement and
 1/16/2020 Robert Goe          49 - Services for Other Professionals   emails re same.                                                                0.5 $ 495.00 $        247.50
 1/17/2020 Arthur Johnston     49 - Services for Other Professionals   Revise Stetina Brunda Garred & Brucker PC's retainer agreement.                0.7 $ 195.00 $        136.50
                                                                       Prepare Application to Employ Broadway Advisors as Investment
 1/17/2020 Arthur Johnston     49 - Services for Other Professionals   Bankers.                                                                       1.3 $ 195.00 $        253.50
                                                                       Prepare declaration of Mathew A. Newboles in support of the Application
                                                                       to Employ Stetina Brunda Garred & Brucker, APC as Special Intellectual
 1/17/2020 Arthur Johnston     49 - Services for Other Professionals   Property Counsel.                                                              1.1 $ 195.00 $        214.50

                                                                       Gather and review documents to prepare Application to Employ Stetina
 1/17/2020 Arthur Johnston     49 - Services for Other Professionals   Brunda Garred & Brucker, APC as Special Intellectual Property Counsel.         0.4 $ 195.00 $          78.00
                                                                       Prepare Application to Employ Stetina Brunda Garred & Brucker, APC as
 1/17/2020 Arthur Johnston     49 - Services for Other Professionals   Special Intellectual Property Counsel.                                         1.4 $ 195.00 $        273.00
                                                                       Prepare Declaration of Alfred M. Masse, in support of Application to
 1/17/2020 Arthur Johnston     49 - Services for Other Professionals   Employ Broadway Advisors as Investment Bankers.                                1.8 $ 195.00 $        351.00


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                               Case 8:19-bk-14714-MW              Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                                  Main Document    Page 43 of 101

Date         User                Activity category                       Description                                                              Hours    Rate ($)     Billable ($)
                                                                         Gather documents to prepare Application to Employ Broadway Advisors
 1/17/2020 Arthur Johnston       49 - Services for Other Professionals   as Investment Bankers.                                                      0.4 $ 195.00 $             78.00
                                                                         Email with. Lujan re Broadway Advisors credentials for employment app.
 1/17/2020   Charity Manee       49 - Services for Other Professionals   and terms of engagement.                                                    0.2   $   355.00   $      71.00
 1/17/2020   Robert Goe          49 - Services for Other Professionals   Correspondence with client re IP counsel.                                   0.2   $   495.00   $      99.00
 1/17/2020   Robert Goe          49 - Services for Other Professionals   Review Broadway qualificational resume and forward to client.               0.4   $   495.00   $     198.00
 1/17/2020   Robert Goe          49 - Services for Other Professionals   Correspondence with client re Broadway agreement.                           0.2   $   495.00   $      99.00
                                                                         Review and revise Stetina Brunda employment application and
 1/17/2020 Robert Goe            49 - Services for Other Professionals   declaration.                                                                0.5 $ 495.00 $           247.50
                                                                         Review and revise Broadway Advisers employment application and
 1/17/2020 Robert Goe            49 - Services for Other Professionals   declaration.                                                                0.7 $ 495.00 $           346.50
 1/20/2020 Charity Manee         49 - Services for Other Professionals   Emails with M. Horoupian re employment application of Broadway.             0.2 $ 355.00 $            71.00
                                                                         Correspondence with G. Clarkson and client re Stetina employment
 1/21/2020   Robert Goe          49 - Services for Other Professionals   application.                                                                0.2   $   495.00   $       99.00
 1/27/2020   Robert Goe          49 - Services for Other Professionals   Preparation of instructions re IP counsel.                                  0.1   $   495.00   $       49.50
 1/28/2020   Charity Manee       49 - Services for Other Professionals   Emails with S. Roe re need to employ Windes as accountants.                 0.2   $   355.00   $       71.00
 1/28/2020   Charity Manee       49 - Services for Other Professionals   Emails with V. Aniceto re employing Stetinalaw re IP work.                  0.2   $   355.00   $       71.00
 1/28/2020   Robert Goe          49 - Services for Other Professionals   Correspondence with Victor re IP counsel.                                   0.2   $   495.00   $       99.00
                                                                         Revise Application to Employ Stetina Brunda Garred & Brucker, APC as
 1/29/2020 Arthur Johnston       49 - Services for Other Professionals   Chapter 11 Special Intellectual Property Counsel.                           0.4 $ 195.00 $             78.00
 1/29/2020 Charity Manee         49 - Services for Other Professionals   Emails with G. Clarkson re firm's employment re IP work.                    0.1 $ 355.00 $             35.50
                                                                         Revise, serve and file Application to Employ Stetina Brunda Garred &
 1/30/2020 Arthur Johnston       49 - Services for Other Professionals   Brucker APC.                                                                0.5 $ 195.00 $             97.50

 1/30/2020   Arthur Johnston     49 - Services for Other Professionals   Prepare Notice of Motion Employ Stetina Brunda Garred & Brucker APC.        0.6   $   195.00   $     117.00
 1/30/2020   Robert Goe          49 - Services for Other Professionals   Review and execute notice of Stentina application.                          0.4   $   495.00   $     198.00
  2/4/2020   Robert Goe          49 - Services for Other Professionals   Preparation of notice of errata to Stetina employment application.          0.4   $   495.00   $     198.00
  2/7/2020   Robert Goe          49 - Services for Other Professionals   Review and execute Stetina supplement.                                      0.2   $   495.00   $      99.00
 2/18/2020   Robert Goe          49 - Services for Other Professionals   Preparation of Broadway approval documents.                                 0.4   $   495.00   $     198.00

 2/20/2020 Charity Manee         49 - Services for Other Professionals   Emails with M. Horoupian re order on application to employ Broadway.        0.3 $ 355.00 $           106.50
                                                                         Revise order with Committee comments on application to employ
 2/20/2020 Charity Manee         49 - Services for Other Professionals   Broadway.                                                                   0.5 $ 355.00 $           177.50
                                                                         Review Committee comments and prepare revised Broadway employment
 2/20/2020 Robert Goe            49 - Services for Other Professionals   order.                                                                      0.4 $ 495.00 $           198.00


                                                                                     3
                             Case 8:19-bk-14714-MW              Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                             Desc
                                                                Main Document    Page 44 of 101

Date         User              Activity category                       Description                                                                  Hours    Rate ($)     Billable ($)
                                                                       Emails with Al and M. Horoupian re hearing set on application to employ
 2/25/2020 Charity Manee       49 - Services for Other Professionals   Broadway Advisors.                                                              0.5 $ 355.00 $           177.50
                                                                       Correspondence with Committee and Broadway re hearing on
 2/25/2020   Robert Goe        49 - Services for Other Professionals   employment and review responses and instructions re notice.                     0.4   $   495.00   $     198.00
 2/26/2020   Robert Goe        49 - Services for Other Professionals   Review Court notice re Broadway.                                                0.1   $   495.00   $      49.50
 2/26/2020   Robert Goe        49 - Services for Other Professionals   Review and execute notice of Broadway employment application.                   0.4   $   495.00   $     198.00
  3/4/2020   Robert Goe        49 - Services for Other Professionals   Correspondence with G. Clarkson and others re fee applications.                 0.3   $   495.00   $     148.50

 3/11/2020 Robert Goe          49 - Services for Other Professionals   Preparation of Stetina Brunda declaration of non/opposition and order.          0.7 $ 495.00 $           346.50
 3/11/2020 Robert Goe          49 - Services for Other Professionals   Preparation of Broadway order for final.                                        0.4 $ 495.00 $           198.00
                                                                       Emails with G. Clarkson re approval of firm's employment, need for
                                                                       narrative re fee application and issues with Knobbe Martens transfer of
  4/2/2020 Charity Manee       49 - Services for Other Professionals   file.                                                                           0.2 $ 355.00 $             71.00
                                                                       Emails with M. Horoupian and A. Masse re Broadway assisting Meade
                                                                       with targeted purchasing from Ningbo Sunny and expanding scope of
  4/2/2020 Charity Manee       49 - Services for Other Professionals   employment of Broadway.                                                         0.2 $ 355.00 $             71.00
                                                                       Email from A. Masse re hourly rates of Broadway for expansion of scope
  4/2/2020   Charity Manee     49 - Services for Other Professionals   of employment.                                                                  0.1   $   355.00   $     35.50
  4/2/2020   Robert Goe        49 - Services for Other Professionals   Review Broadway order.                                                          0.1   $   495.00   $     49.50
  4/2/2020   Robert Goe        49 - Services for Other Professionals   Review Stetina employment order.                                                0.1   $   495.00   $     49.50
  4/3/2020   Robert Goe        49 - Services for Other Professionals   Review memoranda and Stetina invoices for fee application.                      0.4   $   495.00   $    198.00
  4/6/2020   Robert Goe        49 - Services for Other Professionals   Preparation of Stetina Brunda first interim fee application.                    0.8   $   495.00   $    396.00
                                                                                                                                                      34.6                $ 13,133.00

                                                                       Email with Victor re discussing with Force 10 it being hired as investment
12/18/2019 Charity Manee       50 - Asset Analysis & Recovery          banker to assist with sale and reorg.                                           0.1 $ 355.00 $            35.50
12/18/2019 Charity Manee       50 - Asset Analysis & Recovery          Review schedules of Meade's intellectual property past/present.                 0.5 $ 355.00 $           177.50
                                                                       Call with B. Weiss and A. Meislik re Force 10 being hired as investment
12/18/2019 Charity Manee       50 - Asset Analysis & Recovery          banker to assist with sale and reorg.                                           1.1 $ 355.00 $           390.50
12/19/2019 Charity Manee       50 - Asset Analysis & Recovery          Email from Lenora Hernandez re patents and trademarks.                          0.3 $ 355.00 $           106.50
12/19/2019 Robert Goe          50 - Asset Analysis & Recovery          Correspondence with client re IP services and review lists re same.             0.5 $ 495.00 $           247.50

12/19/2019 Charity Manee       50 - Asset Analysis & Recovery          Email with A. Johnston re valuing and scheduling IP and review same.            0.8 $ 355.00 $           284.00
12/20/2019 Charity Manee       50 - Asset Analysis & Recovery          Email from A. Johnson re patent list.                                           0.1 $ 355.00 $            35.50



                                                                                    4
                               Case 8:19-bk-14714-MW              Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                         Desc
                                                                  Main Document    Page 45 of 101

Date         User                Activity category                      Description                                                                Hours    Rate ($)     Billable ($)
                                                                        Review multiple emails to and from Meade regarding Trademarks &
12/20/2019 Arthur Johnston       50 - Asset Analysis & Recovery         Patents.                                                                      0.5 $ 195.00 $             97.50

12/23/2019   Robert Goe          50 - Asset Analysis & Recovery         Correspondence with Dimple and client re IP and ordinary course counsel.      0.2   $   495.00   $      99.00
12/24/2019   Robert Goe          50 - Asset Analysis & Recovery         Review IP memoranda and documents.                                            0.8   $   495.00   $     396.00
  1/2/2020   Charity Manee       50 - Asset Analysis & Recovery         Research re transferring patents to Arent Fox to consolidate IP.              1.8   $   355.00   $     639.00
  1/3/2020   Robert Goe          50 - Asset Analysis & Recovery         Review A&R reports.                                                           0.3   $   495.00   $     148.50
  1/3/2020   Charity Manee       50 - Asset Analysis & Recovery         Review report of accounts receivable.                                         0.5   $   355.00   $     177.50
  1/3/2020   Robert Goe          50 - Asset Analysis & Recovery         Review IP documents for transfer to Aren't Fox.                               0.6   $   495.00   $     297.00
  1/5/2020   Charity Manee       50 - Asset Analysis & Recovery         Email with D. Lambilotte re intellectual property profile.                    0.1   $   355.00   $      35.50
                                                                        Correspondence with Diane and client re patent dockets and review
  1/5/2020 Robert Goe            50 - Asset Analysis & Recovery         mermroanfa re same.                                                           0.4 $ 495.00 $           198.00
  1/6/2020 Charity Manee         50 - Asset Analysis & Recovery         Email with V. Aniceto re valuing Meade Mexico.                                0.3 $ 355.00 $           106.50
  1/6/2020 Robert Goe            50 - Asset Analysis & Recovery         Review IP status report and memoranda.                                        0.4 $ 495.00 $           198.00
                                                                        Review Corporation Organization Chart; prepare email to L. Hernadez
  1/9/2020 Arthur Johnston       50 - Asset Analysis & Recovery         regarding her revisions.                                                      0.4 $ 195.00 $             78.00
                                                                        Correspondence with A. Ordubegian; review patent documents for
 1/13/2020 Robert Goe            50 - Asset Analysis & Recovery         employment of Arent Fox.                                                      0.6 $ 495.00 $           297.00
 1/14/2020 Robert Goe            50 - Asset Analysis & Recovery         Correspondence with client and Aram re protecting IP.                         0.3 $ 495.00 $           148.50
                                                                        Phone conference with M. Horoupian, R. Goe, C. Miller, V. Aniceto and A.
                                                                        Masse regarding IP issues, Sale Issues including NDA Agreement and
 1/16/2020   Arthur Johnston     50 - Asset Analysis & Recovery         release of information to Orion.                                                1   $   195.00   $     195.00
 1/29/2020   Robert Goe          50 - Asset Analysis & Recovery         Correspondence with G. Clarkson and client re preserving IP.                  0.2   $   495.00   $      99.00
 1/31/2020   Robert Goe          50 - Asset Analysis & Recovery         Correspondence with Mark H. re estate claims and calls re same.               0.4   $   495.00   $     198.00
 1/31/2020   Robert Goe          50 - Asset Analysis & Recovery         Review trial transcripts for potential claim information.                     1.2   $   495.00   $     594.00
 1/31/2020   Robert Goe          50 - Asset Analysis & Recovery         Review litigation documents for potential claims against 3rd parties.         2.6   $   495.00   $   1,287.00
  2/4/2020   Charity Manee       50 - Asset Analysis & Recovery         Email from M. Horoupian re Sheppard Mullin lien avoidance.                    0.1   $   355.00   $      35.50
                                                                        Emails with G. Clarkson re IP agenda and estimate of fees for needed
  2/4/2020 Charity Manee         50 - Asset Analysis & Recovery         work.                                                                         0.2 $ 355.00 $             71.00
                                                                        Review Horoupian request for Sheppard Mullin billings and calls with
  2/4/2020 Robert Goe            50 - Asset Analysis & Recovery         Victor re same.                                                               0.3 $ 495.00 $           148.50
                                                                        Review client memoranda re required action on IP and memoranda to G.
  2/5/2020 Robert Goe            50 - Asset Analysis & Recovery         Clarkson.                                                                     0.2 $ 495.00 $             99.00
 2/13/2020 Robert Goe            50 - Asset Analysis & Recovery         Review IP transfer documents.                                                 0.2 $ 495.00 $             99.00



                                                                                     5
                             Case 8:19-bk-14714-MW              Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                                Main Document    Page 46 of 101

Date         User              Activity category                      Description                                                                  Hours    Rate ($)     Billable ($)

 2/13/2020 Robert Goe          50 - Asset Analysis & Recovery         Correspondence with client and G. Clarkson and review memoranda re IP.          0.4 $ 495.00 $           198.00
 2/18/2020 Charity Manee       50 - Asset Analysis & Recovery         Email from G. Clarkson re IP deadlines.                                         0.2 $ 355.00 $            71.00
 2/18/2020 Charity Manee       50 - Asset Analysis & Recovery         Review written report of Broadway re phase 1 price estimate.                    0.6 $ 355.00 $           213.00
                                                                      Emails with L. Lujan re questions arising out of Broadway Advisor's price
 2/20/2020 Charity Manee       50 - Asset Analysis & Recovery         estimate re Meade's operations.                                                 0.2 $ 355.00 $             71.00

 2/20/2020 Charity Manee       50 - Asset Analysis & Recovery         Emails with G. Clarkson re Meade's ownership of eponymous trademark.            0.3 $ 355.00 $           106.50
                                                                      Emails with Victor Aniceto re questions arising out of Broadway Advisor's
 2/20/2020 Charity Manee       50 - Asset Analysis & Recovery         price estimate re Meade's operations.                                           0.7 $ 355.00 $           248.50
                                                                      Call with L. Lujan, M. Horoupian, committee members re Broadways's
 2/20/2020 Charity Manee       50 - Asset Analysis & Recovery         phase 1 price estimate.                                                         0.8 $ 355.00 $           284.00
                                                                      Email from L. Lujan re collection of responses re price estimate questions
 2/21/2020 Charity Manee       50 - Asset Analysis & Recovery         re Meade's operations.                                                          0.4 $ 355.00 $           142.00
                                                                      Review earlier email of V. Aniceto to L. Lujan re Coronado brand revenues
 2/22/2020 Charity Manee       50 - Asset Analysis & Recovery         and inventory.                                                                  0.1 $ 355.00 $             35.50
                                                                      Emails with G. Clarkson and L. Hernandez re Meade's IP portfolio and
 2/24/2020 Charity Manee       50 - Asset Analysis & Recovery         status of various assets.                                                       0.5 $ 355.00 $           177.50
 2/26/2020 Charity Manee       50 - Asset Analysis & Recovery         Email from G. Clarkson re IP documents.                                         0.2 $ 355.00 $            71.00
                                                                      Call with S. Roe and Victor re inter-company receivables between Sunny
 2/27/2020 Charity Manee       50 - Asset Analysis & Recovery         and Meade.                                                                      0.5 $ 355.00 $           177.50
                                                                      Review IP confirmation of filings and memoranda to G. Clarkson and
  3/1/2020   Robert Goe        50 - Asset Analysis & Recovery         others re same.                                                                 0.4   $   495.00   $     198.00
  3/5/2020   Charity Manee     50 - Asset Analysis & Recovery         Email from V. Aniceto re proposal to Mexico factory landlord.                   0.2   $   355.00   $      71.00
  3/5/2020   Robert Goe        50 - Asset Analysis & Recovery         Review Court notices.                                                           0.2   $   495.00   $      99.00
  3/9/2020   Robert Goe        50 - Asset Analysis & Recovery         Correspondence with Victor re Sheppard Mullin agreements.                       0.2   $   495.00   $      99.00

  3/9/2020 Robert Goe          50 - Asset Analysis & Recovery         Correspondence with client re potential claims against Sheppard Mullin.         0.3 $ 495.00 $           148.50

  3/9/2020 Robert Goe          50 - Asset Analysis & Recovery         Review Sheppard Mullin agreements/documents re retention and liens.             0.7 $ 495.00 $           346.50
 3/10/2020 Robert Goe          50 - Asset Analysis & Recovery         Review Sheppard Mullin security agreement and client memoranda.                 0.4 $ 495.00 $           198.00
                                                                      Correspondence with client re request on Sheppard Mullin for all
 3/11/2020 Robert Goe          50 - Asset Analysis & Recovery         agreements.                                                                     0.2 $ 495.00 $            99.00
 3/11/2020 Robert Goe          50 - Asset Analysis & Recovery         Review Sheppard Mullin security documents.                                      0.4 $ 495.00 $           198.00



                                                                                    6
                             Case 8:19-bk-14714-MW              Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                           Desc
                                                                Main Document    Page 47 of 101

Date         User              Activity category                      Description                                                                  Hours     Rate ($)     Billable ($)
                                                                      Draft letter by Victor Aniceto to Sheppard Mullin re lien and supporting
 3/11/2020   Charity Manee     50 - Asset Analysis & Recovery         documentation.                                                                   0.7   $   355.00   $     248.50
 3/12/2020   Charity Manee     50 - Asset Analysis & Recovery         Email with M. Horoupian re Mexico factory lease expiration.                      0.1   $   355.00   $      35.50
 3/13/2020   Robert Goe        50 - Asset Analysis & Recovery         Review Orion opposition to Sheppard Mullin motion to withdraw.                   0.7   $   495.00   $     346.50
 3/16/2020   Charity Manee     50 - Asset Analysis & Recovery         Email from V. Aniceto re lease of Mexico factory.                                0.1   $   355.00   $      35.50
 3/17/2020   Robert Goe        50 - Asset Analysis & Recovery         Review Clarkson IP transfer memoranda.                                           0.1   $   495.00   $      49.50
 3/20/2020   Charity Manee     50 - Asset Analysis & Recovery         Emails with G. Clarkson re possible assignment of Meade patent.                  0.1   $   355.00   $      35.50
 3/20/2020   Robert Goe        50 - Asset Analysis & Recovery         Correspondence with client re Committee and sale issues.                         0.2   $   495.00   $      99.00
 3/20/2020   Robert Goe        50 - Asset Analysis & Recovery         Phone call with M. Horoupian re Sheppard Mullin action.                          0.4   $   495.00   $     198.00
                                                                      Correspondence with G. Clarkson; review documents re assignment to
 3/20/2020 Robert Goe          50 - Asset Analysis & Recovery         Sunny Optics of Meade IP.                                                        0.4   $ 495.00 $         198.00
                                                                      Review Sheppard Mullin and other filings for pursuing affirmative litigation
 3/20/2020 Robert Goe          50 - Asset Analysis & Recovery         claim.                                                                           1.2   $ 495.00 $         594.00
                                                                      Correspondence with client re potential security interest of Sunny Optics
 3/21/2020 Robert Goe          50 - Asset Analysis & Recovery         and issues with same.                                                            0.3   $ 495.00 $         148.50
 3/23/2020 Robert Goe          50 - Asset Analysis & Recovery         Phone call with G. Clarkson re preserving IP for sale.                           0.3   $ 495.00 $         148.50
                                                                      Email from M. Horpoupian re discussion with O. Katz of Sheppard Mullin
 3/24/2020 Charity Manee       50 - Asset Analysis & Recovery         re meeting and conferring re 2004 examination.                                   0.1   $ 355.00 $           35.50
                                                                      Review emails with M. Horoupian and V. Aniceto re Mexico lease
 3/25/2020 Charity Manee       50 - Asset Analysis & Recovery         extension and lease documents.                                                   1.2   $ 355.00 $         426.00
                                                                      Revise emails with M. Horoupian and V. Aniceto re Mexico lease
 3/26/2020 Charity Manee       50 - Asset Analysis & Recovery         negotiations.                                                                    0.4   $ 355.00 $         142.00
                                                                      Emails from M. Horoupian re document requests and 2004 examination re
 3/26/2020 Charity Manee       50 - Asset Analysis & Recovery         Sheppard Mullin lien.                                                            0.4   $ 355.00 $         142.00
                                                                      Emails with V. Aniceto and M. Horoupian re negotiations with Mexico
 3/27/2020 Charity Manee       50 - Asset Analysis & Recovery         landlord.                                                                        0.3   $ 355.00 $         106.50
                                                                      Phone call with Victor re claims against Sheppard Mullin and Committee
 3/31/2020 Robert Goe          50 - Asset Analysis & Recovery         document request.                                                                0.2   $ 495.00 $           99.00
                                                                      Email from G. Clarkson re Sheppard Mullin's lien on debtor's intellectual
  4/1/2020 Charity Manee       50 - Asset Analysis & Recovery         property.                                                                        0.1   $ 355.00 $           35.50
                                                                      Review email communications and documents related to Sheppard Mullin
  4/1/2020 Charity Manee       50 - Asset Analysis & Recovery         security agreement and lien.                                                     0.6   $ 355.00 $         213.00

  4/2/2020 Charity Manee       50 - Asset Analysis & Recovery         Email from L. Hernandez re request of Knobbe Martens for information.           0.1 $ 355.00 $              35.50
  4/2/2020 Robert Goe          50 - Asset Analysis & Recovery         Correspondence with client and IP counsel re issues with Knobbe.                0.1 $ 495.00 $              49.50


                                                                                   7
                             Case 8:19-bk-14714-MW              Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                            Desc
                                                                Main Document    Page 48 of 101

Date         User              Activity category                      Description                                                                 Hours    Rate ($)     Billable ($)
                                                                      Multiple emails with R. Goe and C. Miller regarding amended schedules
  4/3/2020 Arthur Johnston     50 - Asset Analysis & Recovery         A/B, H, and Summary cover page re claims against.                              0.3 $ 195.00 $             58.50
                                                                      Correspondence with Victor re Sheppard opinion letter on Meade
  4/6/2020 Robert Goe          50 - Asset Analysis & Recovery         transaction.                                                                   0.2 $ 495.00 $             99.00

  4/6/2020 Robert Goe          50 - Asset Analysis & Recovery         Review District Court ruling re potential claims against Sheppard Mullin.      0.8 $ 495.00 $           396.00
                                                                      Review Sheppard Mullin and others responses to sanctions motion for
  4/6/2020 Robert Goe          50 - Asset Analysis & Recovery         potential claims to assert.                                                    0.9 $ 495.00 $    445.50
                                                                                                                                                    35.2          $ 14,692.00

 12/5/2019 Robert Goe          51 - Asset Disposition                 Review lease documents for sale process.                                       0.8 $ 495.00 $           396.00
                                                                      Review letter prepared by Sheppard Mullin to Orion re possible settlement
 12/6/2019 Charity Manee       51 - Asset Disposition                 by sale of debtor.                                                             0.2 $ 355.00 $            71.00
 12/6/2019 Robert Goe          51 - Asset Disposition                 Review patent documents re estate assets.                                      0.5 $ 495.00 $           247.50
                                                                      Emails with O. Katz and L. Caseria re selling debtor through chapter 11
12/10/2019 Charity Manee       51 - Asset Disposition                 and settling with Orion.                                                       0.3 $ 355.00 $           106.50
12/10/2019 Robert Goe          51 - Asset Disposition                 Phone call with A. Meislik and B. Weiss re potential sale process.             0.3 $ 495.00 $           148.50
12/10/2019 Robert Goe          51 - Asset Disposition                 Correspondence with A. Meislik and review Force 10 sale proposal.              0.5 $ 495.00 $           247.50
                                                                      Correspondence with client and review memoranda re proposed sale
12/10/2019 Robert Goe          51 - Asset Disposition                 process.                                                                       0.3 $ 495.00 $           148.50
                                                                      Phone call with Victor and R. Fischer re agreement to sale process;
12/10/2019 Robert Goe          51 - Asset Disposition                 review and respond to memoranda re same.                                       0.5 $ 495.00 $           247.50
                                                                      Correspondence with F. Cadigan and client; review memoranda re insider
12/11/2019   Robert Goe        51 - Asset Disposition                 compensation.                                                                  0.3   $   495.00   $     148.50
12/11/2019   Robert Goe        51 - Asset Disposition                 Phone call with B. Weiss and others re sale process.                           0.5   $   495.00   $     247.50
12/11/2019   Robert Goe        51 - Asset Disposition                 Review Hagey memoranda on sale issues.                                         0.1   $   495.00   $      49.50
12/11/2019   Robert Goe        51 - Asset Disposition                 Review investment banker documents.                                            0.6   $   495.00   $     297.00

12/12/2019 Robert Goe          51 - Asset Disposition                 Correspondence with A Meislik and client re investment banking service.        0.2 $ 495.00 $            99.00
12/12/2019 Robert Goe          51 - Asset Disposition                 Review Force 10 proposal for sale process.                                     0.8 $ 495.00 $           396.00
                                                                      Correspondence with A. Meislik and client; reviews information from
12/13/2019   Robert Goe        51 - Asset Disposition                 proposed asset buyer.                                                          0.6   $   495.00   $     297.00
12/16/2019   Robert Goe        51 - Asset Disposition                 Review asset disposition memoranda and documents.                              0.7   $   495.00   $     346.50
12/16/2019   Robert Goe        51 - Asset Disposition                 Review valuation memoranda and documents for potential sale.                   0.8   $   495.00   $     396.00
12/17/2019   Robert Goe        51 - Asset Disposition                 Review Force 10 memoranda on sale.                                             0.2   $   495.00   $      99.00


                                                                                   8
                               Case 8:19-bk-14714-MW      Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                        Desc
                                                          Main Document    Page 49 of 101

Date        User                 Activity category              Description                                                              Hours     Rate ($) Billable ($)
 12/17/2019 Robert Goe           51 - Asset Disposition         Phone call with Mike and Brian re sale of assets.                            0.5   $ 495.00 $      247.50
                                                                Telephone call with Attorney Wil Pew. Has client that is interested in
12/18/2019 Arthur Johnston       51 - Asset Disposition         purchasing Meade.                                                            0.3   $ 195.00 $        58.50
                                                                Phone conference with Force10, C. Miller, V. Aniceto, Hank, R. Goe
12/18/2019   Arthur Johnston     51 - Asset Disposition         regarding valuation of debtor.                                               1.2   $   195.00   $   234.00
12/18/2019   Charity Manee       51 - Asset Disposition         Email from W. Pew re buyer interested in acquiring Coronado brand.           0.1   $   355.00   $    35.50
12/18/2019   Robert Goe          51 - Asset Disposition         Correspondence with client and others re sale process.                       0.4   $   495.00   $   198.00
12/18/2019   Robert Goe          51 - Asset Disposition         Review IP documents/status for potential sale transaction.                   0.7   $   495.00   $   346.50
12/18/2019   Robert Goe          51 - Asset Disposition         Preparation of sale diligence materials.                                     0.8   $   495.00   $   396.00
12/18/2019   Robert Goe          51 - Asset Disposition         Correspondence with M. Issa; review financials for potential sale.           0.8   $   495.00   $   396.00
                                                                Phone call with W. Pev re acquisition and emails with client re Coronado
12/18/2019 Robert Goe            51 - Asset Disposition         lien.                                                                        0.4   $ 495.00 $       198.00
12/18/2019 Robert Goe            51 - Asset Disposition         Phone call with client and Force 10 re sale process.                         1.1   $ 495.00 $       544.50
                                                                Emails A. Meislik & B. Weiss re inquiring whether Orion is amenable to a
12/19/2019 Charity Manee         51 - Asset Disposition         sale of Debtor's assets.                                                     0.2   $ 355.00 $        71.00
12/19/2019 Robert Goe            51 - Asset Disposition         Phone call with B. Weiss re sale process.                                    0.2   $ 495.00 $        99.00

12/19/2019 Robert Goe            51 - Asset Disposition         Correspondence with client re lease rejection issues and review lease.      0.5 $ 495.00 $          247.50
                                                                Correspondence with Victor; review memoranda re Orion
12/19/2019 Robert Goe            51 - Asset Disposition         sale/negotiations and emails with Adam and Bruan re strategy.               0.4 $ 495.00 $          198.00
                                                                Emails with V. Aniceto re interest of Lunar Solar Systems in acquiring
12/20/2019   Charity Manee       51 - Asset Disposition         Coronado brand.                                                             0.2    $   355.00   $    71.00
12/20/2019   Charity Manee       51 - Asset Disposition         Email with V. Aniceto re employee buy out option.                           0.2    $   355.00   $    71.00
12/20/2019   Robert Goe          51 - Asset Disposition         Correspondence with client; review memoranda re buyout scenarios.           0.4    $   495.00   $   198.00
12/20/2019   Robert Goe          51 - Asset Disposition         Correspondence with liquidators re inventory disposition.                   0.3    $   495.00   $   148.50
12/20/2019   Robert Goe          51 - Asset Disposition         Review NDA's and other sale memoranda.                                      0.8    $   495.00   $   396.00
                                                                Correspondence with Victor; review Lunt Solar and other memoranda re
12/20/2019 Robert Goe            51 - Asset Disposition         acquiring estate assets.                                                    0.3 $ 495.00 $          148.50
12/20/2019 Robert Goe            51 - Asset Disposition         Correspondence with W. Pew re Coronado assets.                              0.2 $ 495.00 $           99.00
                                                                Phone call with B. Weiss re sale/Orion discussions; review and comment
12/20/2019   Robert Goe          51 - Asset Disposition         on Force 10 proposal.                                                       0.8    $   495.00   $   396.00
12/23/2019   Robert Goe          51 - Asset Disposition         Phone call with Victor re sale process and other matters.                   0.4    $   495.00   $   198.00
12/23/2019   Robert Goe          51 - Asset Disposition         Phone call with B. Weiss re sale process strategy.                          0.3    $   495.00   $   148.50
12/23/2019   Robert Goe          51 - Asset Disposition         Review IP memoranda and responses for sale.                                 0.5    $   495.00   $   247.50
12/23/2019   Robert Goe          51 - Asset Disposition         Review revised Force 10 agreement.                                          0.5    $   495.00   $   247.50


                                                                            9
                              Case 8:19-bk-14714-MW      Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                       Desc
                                                         Main Document    Page 50 of 101

Date        User                Activity category              Description                                                                Hours Rate ($)     Billable ($)
   1/2/2020 Charity Manee       51 - Asset Disposition         Emails with V. Aniceto re his questions about a bankruptcy sale.               0.2 $ 355.00   $       71.00
                                                               Emails with V. Aniceto re discussing hiring business broker/investment
   1/2/2020   Charity Manee     51 - Asset Disposition         banker.                                                                        0.4 $ 355.00   $     142.00
   1/2/2020   Robert Goe        51 - Asset Disposition         Phone call with Victor re sale issues.                                         0.2 $ 495.00   $      99.00
   1/2/2020   Robert Goe        51 - Asset Disposition         Correspondence with Howard and client re sale issues.                          0.4 $ 495.00   $     198.00
   1/2/2020   Robert Goe        51 - Asset Disposition         Review sale proposals from investment buyers.                                  0.6 $ 495.00   $     297.00
                                                               Phone conference with V. Aniceto, R. Goe, L. Hernandez, C. Miller, E.
                                                               Valenciano regarding sale of debtor and information for balance of
   1/3/2020 Arthur Johnston     51 - Asset Disposition         schedules.                                                                     1.4 $ 195.00   $     273.00
                                                               Prepare comparison chart of potential investment bankers for conference
   1/3/2020 Charity Manee       51 - Asset Disposition         call with client and Grobstein Teeple.                                         0.4 $ 355.00   $     142.00
                                                               Call with Victor, Sara, D. Mehra, H. Grobstein re hiring investment banker
   1/3/2020   Charity Manee     51 - Asset Disposition         and operational issues.                                                        1.4 $ 355.00   $     497.00
   1/3/2020   Robert Goe        51 - Asset Disposition         Phone call with client, Dimple and others re sale strategy.                    1.4 $ 495.00   $     693.00
   1/3/2020   Robert Goe        51 - Asset Disposition         Correspondence with B. Weiss re sale process.                                  0.2 $ 495.00   $      99.00
   1/5/2020   Charity Manee     51 - Asset Disposition         Email with H. Grobstein re negotiating investment banker fees down.            0.1 $ 355.00   $      35.50
   1/6/2020   Robert Goe        51 - Asset Disposition         Correspondence with client and H. Grobstein re sale process.                   0.4 $ 495.00   $     198.00
                                                               Emails with A. Meislik and B. Weiss re matching proposals of other
  1/9/2020 Charity Manee        51 - Asset Disposition         potential investment bankers.                                                  0.2 $ 355.00   $      71.00
  1/9/2020 Robert Goe           51 - Asset Disposition         Phone call with Dimple re sale issues.                                         0.2 $ 495.00   $      99.00
 1/13/2020 Charity Manee        51 - Asset Disposition         Review retention documents for/selection of investment banker.                 1.2 $ 355.00   $     426.00
                                                               Emails with V. Aniceto re inquiry from interested potential buyer
 1/13/2020 Charity Manee        51 - Asset Disposition         Planewave.                                                                     0.1 $ 355.00   $      35.50
                                                               Review Horoupian memoranda re comparison of investment bankers and
 1/13/2020 Robert Goe           51 - Asset Disposition         emails re same.                                                                0.4 $ 495.00   $     198.00
 1/13/2020 Robert Goe           51 - Asset Disposition         Phone call with C. Burns re strategic buyer and forward to client.             0.4 $ 495.00   $     198.00
 1/13/2020 Robert Goe           51 - Asset Disposition         Phone call with Victor re PlaneWave interest.                                  0.2 $ 495.00   $      99.00
                                                               Correspondence with M. Horoupian; review requested financials for sale
 1/13/2020 Robert Goe           51 - Asset Disposition         process.                                                                       0.8 $ 495.00   $     396.00
 1/13/2020 Robert Goe           51 - Asset Disposition         Review valuation documents and memoranda.                                      0.7 $ 495.00   $     346.50
                                                               Obtain Accounts Receivable and Payable Aging from S. Roe and other
 1/14/2020 Arthur Johnston      51 - Asset Disposition         information for sale.                                                            1 $ 195.00   $     195.00
                                                               Call with M. Horoupian (committee counsel) re hiring joint investment
 1/14/2020 Charity Manee        51 - Asset Disposition         banker.                                                                        0.5 $ 355.00   $     177.50
 1/14/2020 Robert Goe           51 - Asset Disposition         Phone call with M. Horoupian re sale process.                                  0.5 $ 495.00   $     247.50


                                                                           10
                             Case 8:19-bk-14714-MW      Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                         Desc
                                                        Main Document    Page 51 of 101

Date       User                Activity category              Description                                                                Hours Rate ($)   Billable ($)
 1/14/2020 Robert Goe          51 - Asset Disposition         Phone call with client re sale advisor.                                        0.1 $ 495.00 $       49.50

 1/14/2020 Robert Goe          51 - Asset Disposition         Review potential buyer target list/competitors and forward to Committee.       0.4 $ 495.00 $         198.00
 1/14/2020 Robert Goe          51 - Asset Disposition         Review IP Portfolio and forward to Committee.                                  0.3 $ 495.00 $         148.50
 1/14/2020 Robert Goe          51 - Asset Disposition         Correspondence with client and forward Broadway correspondence.                0.3 $ 495.00 $         148.50
                                                              Phone call with Victor re sale process and possible Orion mediation
 1/14/2020 Robert Goe          51 - Asset Disposition         (multiple calls).                                                              0.5 $ 495.00 $         247.50
                                                              Prepare email with attachments to G. Clarkson regarding Patents and
 1/15/2020 Arthur Johnston     51 - Asset Disposition         Trademarks.                                                                    0.3 $ 195.00 $          58.50
 1/15/2020 Arthur Johnston     51 - Asset Disposition         Review patent documents for sale for dilligence materials.                     1.1 $ 195.00 $         214.50
 1/15/2020 Robert Goe          51 - Asset Disposition         Correspondence with Victor re IP.                                              0.2 $ 495.00 $          99.00
                                                              Correspondence with G. Clarkson and M. Horoupian and calls re handling
 1/15/2020   Robert Goe        51 - Asset Disposition         IP.                                                                            0.5   $   495.00   $   247.50
 1/15/2020   Robert Goe        51 - Asset Disposition         Phone call with Rich re Plane Wave offer/diligence.                            0.2   $   495.00   $    99.00
 1/15/2020   Robert Goe        51 - Asset Disposition         Review GT valuation memoranda.                                                 0.3   $   495.00   $   148.50
 1/15/2020   Robert Goe        51 - Asset Disposition         Correspondence with Mark and others re                                         0.3   $   495.00   $   148.50
                                                              Review multiple emails from R. Goe, M. Horoupian, and Meade re
 1/16/2020 Arthur Johnston     51 - Asset Disposition         documents needed for sale.                                                     0.4 $ 195.00 $          78.00
                                                              Correspondence with G. Clarkson, Committee and others re IP
 1/16/2020 Robert Goe          51 - Asset Disposition         representation.                                                                0.2 $ 495.00 $          99.00
 1/16/2020 Robert Goe          51 - Asset Disposition         Correspondence with R. Hendrick and Committee re potential offer.              0.2 $ 495.00 $          99.00
                                                              Phone call with Committee, clients, Al Masse re strategy with sale
 1/16/2020 Robert Goe          51 - Asset Disposition         process.                                                                       0.8 $ 495.00 $         396.00
 1/16/2020 Robert Goe          51 - Asset Disposition         Correspondence with A. Masse and others re sale analysis.                      0.2 $ 495.00 $          99.00

 1/16/2020   Robert Goe        51 - Asset Disposition         Correspondence with Committee and parties re interest in making offer.         0.3   $   495.00   $   148.50
 1/16/2020   Robert Goe        51 - Asset Disposition         Review litigation documents for potential buyers.                              0.5   $   495.00   $   247.50
 1/17/2020   Charity Manee     51 - Asset Disposition         Emails with A. Masse re interested buyers.                                     0.1   $   355.00   $    35.50
 1/17/2020   Robert Goe        51 - Asset Disposition         Correspondence with Mark re Orion/sale strategy.                               0.3   $   495.00   $   148.50
 1/17/2020   Robert Goe        51 - Asset Disposition         Correspondence with Al and review and forward potential buyer lists.           0.4   $   495.00   $   198.00
 1/17/2020   Robert Goe        51 - Asset Disposition         Preparation of NDA and emails with client and Committee.                       0.5   $   495.00   $   247.50
 1/17/2020   Robert Goe        51 - Asset Disposition         Review Broadway sale memoranda and responses.                                  0.3   $   495.00   $   148.50

 1/17/2020 Robert Goe          51 - Asset Disposition         Correspondence with Mark and others; review and forward memoranda.             0.4 $ 495.00 $         198.00
 1/17/2020 Robert Goe          51 - Asset Disposition         Phone call with Victor re Broadway sale process.                               0.4 $ 495.00 $         198.00


                                                                           11
                             Case 8:19-bk-14714-MW      Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                        Desc
                                                        Main Document    Page 52 of 101

Date         User              Activity category              Description                                                           Hours     Rate ($)     Billable ($)
                                                              Correspondence with Mark and others re Broadway employment
 1/21/2020 Robert Goe          51 - Asset Disposition         application.                                                              0.2   $ 495.00 $           99.00
 1/21/2020 Robert Goe          51 - Asset Disposition         Review Masse sale memoranda.                                              0.2   $ 495.00 $           99.00
 1/21/2020 Robert Goe          51 - Asset Disposition         Correspondence with Victor and others re sale process.                    0.2   $ 495.00 $           99.00
                                                              Review valuation memoranda and responses and documents still required
 1/21/2020 Robert Goe          51 - Asset Disposition         by financial advisers.                                                    0.3   $ 495.00 $         148.50
 1/23/2020 Robert Goe          51 - Asset Disposition         Phone call with Mark re Orion as buyer.                                   0.2   $ 495.00 $          99.00
 1/23/2020 Robert Goe          51 - Asset Disposition         Phone call with Dimple re valuation.                                      0.2   $ 495.00 $          99.00

 1/23/2020 Robert Goe          51 - Asset Disposition         Correspondence with client; review and forward modified NDA for Orion.    0.3 $ 495.00 $           148.50
 1/23/2020 Robert Goe          51 - Asset Disposition         Review Broadway document request.                                         0.3 $ 495.00 $           148.50
 1/24/2020 Charity Manee       51 - Asset Disposition         Email from L. Lujan re due diligence docs for sale.                       0.1 $ 355.00 $            35.50
                                                              Review multiple emails from Broadway Advisors with outstanding
 1/27/2020 Arthur Johnston     51 - Asset Disposition         document requests.                                                        0.9 $ 195.00 $           175.50
                                                              Emails with Victor Aniceto and M. Horoupian re Orion NDA and review of
 1/27/2020 Charity Manee       51 - Asset Disposition         same.                                                                     0.8 $ 355.00 $           284.00
 1/27/2020 Robert Goe          51 - Asset Disposition         Review Broadway diligence memoranda/additional requests.                  0.4 $ 495.00 $           198.00

 1/28/2020   Robert Goe        51 - Asset Disposition         Correspondence with Mark & client and calls with client re Orion NDA.     0.3   $   495.00   $     148.50
 1/28/2020   Robert Goe        51 - Asset Disposition         Review Committee/Orion memoranda re NDA.                                  0.2   $   495.00   $      99.00
 1/28/2020   Robert Goe        51 - Asset Disposition         Review Broadway data room documents.                                      0.8   $   495.00   $     396.00
 1/29/2020   Robert Goe        51 - Asset Disposition         Review Masse sale memoranda.                                              0.2   $   495.00   $      99.00
 1/29/2020   Robert Goe        51 - Asset Disposition         Review proposed buyer liast and memoranda.                                0.3   $   495.00   $     148.50
 1/30/2020   Robert Goe        51 - Asset Disposition         Phone call with Dimple re valuation of business.                          0.2   $   495.00   $      99.00
 1/31/2020   Robert Goe        51 - Asset Disposition         Review Horoupian memoranda and respond re Grobstein valuation.            0.2   $   495.00   $      99.00
 1/31/2020   Robert Goe        51 - Asset Disposition         Correspondence with H. Grobstein and review memoranda re value.           0.3   $   495.00   $     148.50
  2/3/2020   Charity Manee     51 - Asset Disposition         Review NDA with Orion.                                                    0.4   $   355.00   $     142.00
  2/3/2020   Charity Manee     51 - Asset Disposition         Email from C. Burns of Planewave re sale of debtor.                       0.2   $   355.00   $      71.00
                                                              Review Victor memoranda and forward Committee re interest in debtor
  2/3/2020 Robert Goe          51 - Asset Disposition         assets.                                                                   0.2 $ 495.00 $             99.00
                                                              Correspondence with Al and Mark; review and forward Plane Wave
  2/3/2020 Robert Goe          51 - Asset Disposition         purchase inquiry.                                                         0.2 $ 495.00 $             99.00
                                                              Correspondence with G. Clarkson and Committee; review memoranda re
  2/4/2020 Robert Goe          51 - Asset Disposition         IP strategy.                                                              0.4 $ 495.00 $           198.00



                                                                          12
                             Case 8:19-bk-14714-MW      Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                        Main Document    Page 53 of 101

Date         User              Activity category              Description                                                                 Hours    Rate ($)     Billable ($)
                                                              Correspondence with Committee and review and forward sales report by
  2/5/2020 Robert Goe          51 - Asset Disposition         customer.                                                                      0.4 $ 495.00 $           198.00
 2/12/2020 Robert Goe          51 - Asset Disposition         Correspondence with Committee and others re sale process.                      0.3 $ 495.00 $           148.50
                                                              Correspondence with Grobstein and review and respond to valuation
 2/12/2020   Robert Goe        51 - Asset Disposition         memoranda.                                                                     0.4   $   495.00   $     198.00
 2/13/2020   Robert Goe        51 - Asset Disposition         Review numerous international and distribution contracts.                      1.2   $   495.00   $     594.00
 2/13/2020   Robert Goe        51 - Asset Disposition         Review Broadway diligence requests and documents.                              0.5   $   495.00   $     247.50
 2/16/2020   Robert Goe        51 - Asset Disposition         Preparation of motion to extend time on lease.                                 1.2   $   495.00   $     594.00
 2/18/2020   Robert Goe        51 - Asset Disposition         Review Broadway sale estimates and backup.                                     0.7   $   495.00   $     346.50
 2/18/2020   Robert Goe        51 - Asset Disposition         Correspondence with client re Broadway valuation.                              0.2   $   495.00   $      99.00
 2/19/2020   Robert Goe        51 - Asset Disposition         Review Committee and other memoranda re sale process.                          0.3   $   495.00   $     148.50
 2/19/2020   Robert Goe        51 - Asset Disposition         Phone call with Victor re sale process.                                        0.4   $   495.00   $     198.00
 2/19/2020   Robert Goe        51 - Asset Disposition         Review valuation documents.                                                    0.9   $   495.00   $     445.50
 2/19/2020   Robert Goe        51 - Asset Disposition         Review Broadway and other memoranda re sale.                                   0.3   $   495.00   $     148.50
 2/20/2020   Robert Goe        51 - Asset Disposition         Phone call with Broadway & Committee re sale process.                          0.8   $   495.00   $     396.00
 2/20/2020   Robert Goe        51 - Asset Disposition         Correspondence with G. Clarkson re ownership of all IP.                        0.2   $   495.00   $      99.00
 2/20/2020   Robert Goe        51 - Asset Disposition         Review 365 issues.                                                             0.3   $   495.00   $     148.50

 2/20/2020 Robert Goe          51 - Asset Disposition         Correspondence with Al and others; review memorandfa re sale process.          0.4 $ 495.00 $           198.00
                                                              Review email and telephone call with S. Roe, regarding uploading items to
 2/21/2020 Arthur Johnston     51 - Asset Disposition         Firm's DropBox.                                                                0.3 $ 195.00 $             58.50
 2/21/2020 Arthur Johnston     51 - Asset Disposition         Review multiple emails from S. Roe re sale/opposition.                         0.4 $ 195.00 $             78.00

 2/22/2020 Robert Goe          51 - Asset Disposition         Review Broadway revised Phase 1 sale analysis and various memoranda.           0.8 $ 495.00 $           396.00
 2/23/2020 Robert Goe          51 - Asset Disposition         Correspondence with Howard re sale issues.                                     0.2 $ 495.00 $            99.00
                                                              Correspondence with G. Clarkson and review memoranda re preserving
 2/24/2020 Robert Goe          51 - Asset Disposition         trademarks.                                                                    0.3 $ 495.00 $           148.50
                                                              Correspondence with client and memoranda from G. Clarkson re
 2/24/2020 Robert Goe          51 - Asset Disposition         ownership of IP.                                                               0.3 $ 495.00 $           148.50
 2/25/2020 Robert Goe          51 - Asset Disposition         Review Clarkson memoranda to protect IP and debtor responses.                  0.6 $ 495.00 $           297.00
                                                              Correspondence with client and review trademark memoranda and
 2/26/2020 Robert Goe          51 - Asset Disposition         documents.                                                                     0.4 $ 495.00 $           198.00
                                                              Correspondence with A. Masse and C. Burns re interest in debtor and
 2/27/2020 Robert Goe          51 - Asset Disposition         review memoranda re same.                                                      0.2 $ 495.00 $             99.00



                                                                          13
                           Case 8:19-bk-14714-MW      Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                            Desc
                                                      Main Document    Page 54 of 101

Date         User            Activity category              Description                                                                  Hours     Rate ($)     Billable ($)
                                                            Correspondence with G. Clarkson and review memoranda re trademark
 2/27/2020 Robert Goe        51 - Asset Disposition         filings.                                                                        0.2 $ 495.00 $              99.00
                                                            Email from C. Burns re Planewave's interest in purchasing Meade as
 2/28/2020 Charity Manee     51 - Asset Disposition         strategic buyer.                                                                0.1 $ 355.00 $              35.50
                                                            Correspondence with G. Burns and others re Plane View interest in
  3/1/2020 Robert Goe        51 - Asset Disposition         arguing.                                                                        0.3 $ 495.00 $            148.50

  3/1/2020 Robert Goe        51 - Asset Disposition         Correspondence with A. Masse re moving to phase 2 of sale process.              0.2 $ 495.00 $             99.00
  3/1/2020 Robert Goe        51 - Asset Disposition         Review Committee sale memoranda.                                                0.1 $ 495.00 $             49.50
  3/2/2020 Robert Goe        51 - Asset Disposition         Phone call with Victor re Broadway sale efforts/plan ware (two calls).          0.4 $ 495.00 $            198.00

  3/3/2020 Charity Manee     51 - Asset Disposition         Draft motion to extend deadline to assume or reject real property lease.             2 $ 355.00 $         710.00

  3/3/2020 Robert Goe        51 - Asset Disposition         Review leases for motion to extend time or in the alternative to assume.        0.6 $ 495.00 $            297.00
  3/4/2020 Robert Goe        51 - Asset Disposition         Review and revise 365 lease motion and declaration.                               1 $ 495.00 $            495.00
  3/4/2020 Robert Goe        51 - Asset Disposition         Review Broadway request for inventory information.                              0.2 $ 495.00 $             99.00

  3/6/2020   Robert Goe      51 - Asset Disposition         Review inventory memoranda and back up for Broadway sale process.               0.4    $   495.00   $     198.00
  3/9/2020   Robert Goe      51 - Asset Disposition         Review client inventory/sale memoranda.                                         0.3    $   495.00   $     148.50
 3/12/2020   Robert Goe      51 - Asset Disposition         Review Committee 365 filing.                                                    0.2    $   495.00   $      99.00
 3/16/2020   Robert Goe      51 - Asset Disposition         Correspondence with A. Masse re sale information.                               0.2    $   495.00   $      99.00
                                                            Correspondence with A. Masse; review memoranda re sale scenarios and
 3/16/2020 Robert Goe        51 - Asset Disposition         emails with Committee re sale call.                                             0.3 $ 495.00 $            148.50
                                                            Call with A. Masse, L. Lujan, M. Horoupian, Committee re sale process
 3/17/2020 Charity Manee     51 - Asset Disposition         and Ningbo Sunny supply issues.                                                 0.1 $ 355.00 $              35.50
 3/18/2020 Robert Goe        51 - Asset Disposition         Correspondence with Victor and Mark re sale strategy.                           0.2 $ 495.00 $              99.00
 3/19/2020 Robert Goe        51 - Asset Disposition         Phone call with Dimple re sale.                                                 0.1 $ 495.00 $              49.50
                                                            Call with investment banker (A. Masse and L. Lujan) and creditors
 3/20/2020 Charity Manee     51 - Asset Disposition         committee and counsel re efforts to sell Meade.                                 1.1 $ 355.00 $            390.50
                                                            Email to V. Aniceto re call with investment banker (A. Masse and L. Lujan)
                                                            and creditors committee and counsel re efforts to sell Meade and request
 3/20/2020 Charity Manee     51 - Asset Disposition         of Orion for cost cutting plan to be implemented.                               0.2 $ 355.00 $              71.00
                                                            Review Mexico landlord memoranda re lease extension and early
 3/24/2020 Robert Goe        51 - Asset Disposition         terminate.                                                                      0.2 $ 495.00 $              99.00



                                                                        14
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                           Desc
                                                            Main Document    Page 55 of 101

Date         User                Activity category                Description                                                             Hours     Rate ($)     Billable ($)
                                                                  Call with M. Horoupian, H. Rafatjoo, Committee, A. Masse re sale
                                                                  process/efforts, supply issues with N. Sunny, Meade's cost-cutting and
 3/25/2020 Charity Manee         51 - Asset Disposition           Mexico lease issues.                                                        0.8   $ 355.00 $         284.00
                                                                  Phone call with Committee, client and Broadway re Mexico lease and
 3/25/2020   Robert Goe          51 - Asset Disposition           others issues.                                                              0.8   $   495.00   $     396.00
 3/26/2020   Charity Manee       51 - Asset Disposition           Email from L. Lujan re parties interested in purchasing Meade.              0.2   $   355.00   $      71.00
 3/26/2020   Robert Goe          51 - Asset Disposition           Review Broadway memoranda and buyer list.                                   0.2   $   495.00   $      99.00
 3/27/2020   Charity Manee       51 - Asset Disposition           Call with Committee re sale process and debtor's operations.                0.5   $   355.00   $     177.50
 3/27/2020   Robert Goe          51 - Asset Disposition           Review Mexico lease removal memoranda and responses.                        0.3   $   495.00   $     148.50
 3/29/2020   Robert Goe          51 - Asset Disposition           Review ruling on lease.                                                     0.1   $   495.00   $      49.50
                                                                  Correspondence with Al and client re new supply agreement and effect on
 3/31/2020 Robert Goe            51 - Asset Disposition           sale process.                                                               0.2   $ 495.00 $           99.00
  4/6/2020 Robert Goe            51 - Asset Disposition           Review 365 order and instructions re same on lease.                         0.2   $ 495.00 $           99.00
                                                                  Review Broadway proposal for expanded services and email Committee
  4/6/2020 Robert Goe            51 - Asset Disposition           counsel re seeking Court approval.                                          0.3   $ 495.00 $         148.50

  4/6/2020 Robert Goe            51 - Asset Disposition           Correspondence with Committee and review emails re taking to market.         0.2 $ 495.00 $     99.00
  4/6/2020 Robert Goe            51 - Asset Disposition           Phone call with Victor and Sara re sale and operations.                      0.4 $ 495.00 $    198.00
                                                                                                                                              76.1          $ 33,757.50

 12/5/2019 Arthur Johnston       52 - Business Operations         Phone call with S. Roe re Completion of Debtor Questionnaire.               0.3 $ 195.00 $             58.50
                                                                  Research re United States Trustee's website for current forms for DIP
 12/5/2019 Arthur Johnston       52 - Business Operations         Requirements.                                                               0.4 $ 195.00 $             78.00
 12/5/2019 Arthur Johnston       52 - Business Operations         Preparation of notice of setting/increasing Insider Compensation.           0.4 $ 195.00 $             78.00
                                                                  Emails to V. Aniceto and S. Roe regarding US Trustee Office
 12/5/2019 Arthur Johnston       52 - Business Operations         requirements and items due 1st day.                                         0.6 $ 195.00 $           117.00

 12/5/2019   Arthur Johnston     52 - Business Operations         Legal Research re event dates with 120 days for new Chapter 11 filings.     0.7   $   195.00   $     136.50
 12/5/2019   Arthur Johnston     52 - Business Operations         Emails re background of company for motions.                                0.8   $   195.00   $     156.00
 12/5/2019   Arthur Johnston     52 - Business Operations         Phone call with V. Aniceto and S. Roe re first day motion.                    1   $   195.00   $     195.00
 12/5/2019   Charity Manee       52 - Business Operations         Review strategy re first day motions needed.                                0.2   $   355.00   $      71.00
                                                                  Email to V. Aniceto re information and documentation needed for first day
 12/5/2019 Charity Manee         52 - Business Operations         motions and post-petition operations.                                       0.2 $ 355.00 $             71.00
                                                                  Call with V. Aniceto, S. Roe, and L. Hernandez re first day motions and
 12/5/2019 Charity Manee         52 - Business Operations         post-petition operations.                                                   0.9 $ 355.00 $           319.50


                                                                              15
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                            Desc
                                                            Main Document    Page 56 of 101

Date       User                  Activity category                Description                                                                   Hours Rate ($)   Billable ($)
 12/5/2019 Charity Manee         52 - Business Operations         Review pleadings from Orion litigation re first day motion preparation.           1.5 $ 355.00 $      532.50
                                                                  Emails with V. Aniceto, S. Roe and L. Hernandez re information re first
 12/5/2019 Charity Manee         52 - Business Operations         day motions.                                                                      1.5 $ 355.00 $          532.50

 12/5/2019   Charity Manee       52 - Business Operations         Draft omnibus declaration of V. Aniceto in support of first day motions.          2.8   $   355.00   $    994.00
 12/5/2019   Robert Goe          52 - Business Operations         Correspondence with US Trustee re compliance issues.                              0.2   $   495.00   $     99.00
 12/5/2019   Robert Goe          52 - Business Operations         Review payroll documents and client memoranda.                                    0.5   $   495.00   $    247.50
 12/5/2019   Robert Goe          52 - Business Operations         Phone call with client re needed information for first day motion.                  1   $   495.00   $    495.00
 12/6/2019   Arthur Johnston     52 - Business Operations         Emails with V. Aniceto re information for Insider Compensation.                   0.2   $   195.00   $     39.00
                                                                  Phone call with with V. Aniceto and S. Roe regarding projections, US
 12/6/2019 Arthur Johnston       52 - Business Operations         Trustee Office Guidelines, and P&L preparation issues.                            0.3 $ 195.00 $           58.50
 12/6/2019 Arthur Johnston       52 - Business Operations         Preparation of V. Aniceto's Notice of Insider Compensation.                       0.3 $ 195.00 $           58.50
                                                                  Emails with V. Aniceto responding to questions as to definition of pre-
 12/6/2019 Arthur Johnston       52 - Business Operations         petition debt and closing of books.                                               0.3 $ 195.00 $           58.50
                                                                  Phone call with with Lenora Hernandez regarding employee information
 12/6/2019 Arthur Johnston       52 - Business Operations         sent to drop box.                                                                 0.4 $ 195.00 $           78.00
 12/6/2019 Arthur Johnston       52 - Business Operations         Preparation for final V. Aniceto's request for Insider Compensation.              0.8 $ 195.00 $          156.00
                                                                  Email from V. Aniceto re letter to send to customers re ongoing operations
 12/6/2019 Charity Manee         52 - Business Operations         post BK..                                                                         0.1 $ 355.00 $           35.50
                                                                  Draft first day motions (seven total) and omnibus declaration of V. Aniceto
 12/6/2019   Charity Manee       52 - Business Operations         in support of the same.                                                           6.5   $   355.00   $   2,307.50
 12/6/2019   Robert Goe          52 - Business Operations         Review memoranda/documents re critical vendors.                                   0.4   $   495.00   $     198.00
 12/6/2019   Robert Goe          52 - Business Operations         Review litigation documents for case strategy.                                    2.2   $   495.00   $   1,089.00
 12/7/2019   Charity Manee       52 - Business Operations         Email to V. Aniceto re omnibus declaration for 1st day motion.                    0.1   $   355.00   $      35.50
                                                                  Preparation (continued) of first day motions and omnibus declaration of V.
 12/8/2019 Charity Manee         52 - Business Operations         Aniceto.                                                                          4.3 $ 355.00 $         1,526.50
                                                                  Correspondence with client re US Trustee compliance and insurance
 12/8/2019   Robert Goe          52 - Business Operations         issues.                                                                           0.2   $   495.00   $     99.00
 12/8/2019   Robert Goe          52 - Business Operations         Review memoranda re operations and client response.                               0.3   $   495.00   $    148.50
 12/8/2019   Robert Goe          52 - Business Operations         Review proposed 13 week projections.                                              0.3   $   495.00   $    148.50
 12/8/2019   Robert Goe          52 - Business Operations         Review consolidated balance sheet and send emails re same.                        0.4   $   495.00   $    198.00
 12/8/2019   Robert Goe          52 - Business Operations         Revise of first day motions and declarations.                                     1.2   $   495.00   $    594.00

 12/9/2019 Arthur Johnston       52 - Business Operations         Preparation of Victor Aniceto's Notice of Setting Insider Compensation.           0.3 $ 195.00 $           58.50
 12/9/2019 Arthur Johnston       52 - Business Operations         Preparation of and serve notice of insider compensation.                          0.6 $ 195.00 $          117.00


                                                                              16
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                                Desc
                                                            Main Document    Page 57 of 101

Date       User                  Activity category                Description                                                                    Hours Rate ($)   Billable ($)
 12/9/2019 Arthur Johnston       52 - Business Operations         Revise 13 week projection.                                                         0.8 $ 195.00 $      156.00
                                                                  Emails with M. Sorensen re first day motions and insider compensation
 12/9/2019 Charity Manee         52 - Business Operations         requests.                                                                          0.2 $ 355.00 $           71.00
                                                                  Draft OST application for order setting hearing on first day motions on
 12/9/2019 Charity Manee         52 - Business Operations         shortened notice and proposed order on same.                                       1.7 $ 355.00 $          603.50

 12/9/2019 Charity Manee         52 - Business Operations         Draft and finalize first day motions and omnibus declaration of V. Aniceto.        4.9 $ 355.00 $         1,739.50
 12/9/2019 Robert Goe            52 - Business Operations         Review payroll memoranda and responses.                                            0.2 $ 495.00 $            99.00
                                                                  Correspondence with creditor/vendor re debtor operating in the ordinary
 12/9/2019   Robert Goe          52 - Business Operations         course.                                                                            0.4   $   495.00   $     198.00
 12/9/2019   Robert Goe          52 - Business Operations         Review documents for schedules and US Trustee compliance.                          0.5   $   495.00   $     247.50
 12/9/2019   Robert Goe          52 - Business Operations         Review and revise joint administration motion.                                     0.6   $   495.00   $     297.00
 12/9/2019   Robert Goe          52 - Business Operations         Review and revise application to shorten time and order.                           0.8   $   495.00   $     396.00
 12/9/2019   Robert Goe          52 - Business Operations         Review and revise first day declaration.                                           1.8   $   495.00   $     891.00
 12/9/2019   Robert Goe          52 - Business Operations         Review and revise cash collateral and other motions.                               4.5   $   495.00   $   2,227.50
                                                                  Phone call with S. Roe regarding payment of $274K, for shipment from
12/10/2019 Arthur Johnston       52 - Business Operations         China.                                                                             0.3 $ 195.00 $           58.50
                                                                  Phone call with V. Aniceto and S. Roe regarding completion of US Trustee
12/10/2019   Arthur Johnston     52 - Business Operations         compliance.                                                                        0.7   $   195.00   $    136.50
12/10/2019   Arthur Johnston     52 - Business Operations         Preparation of ist day hearing evidence.                                           0.9   $   195.00   $    175.50
12/10/2019   Charity Manee       52 - Business Operations         Email from S. Roe re incoming shipment of goods.                                   0.1   $   355.00   $     35.50
12/10/2019   Charity Manee       52 - Business Operations         Emails with S. Roe re paying health insurance premiums.                            0.2   $   355.00   $     71.00
                                                                  Review declaration of P. Ni re potential interference of Orion with debtor's
12/10/2019   Charity Manee       52 - Business Operations         customers.                                                                         0.2   $   355.00   $     71.00
12/10/2019   Charity Manee       52 - Business Operations         Review and revise initial chapter 11 status report.                                0.4   $   355.00   $    142.00
12/10/2019   Charity Manee       52 - Business Operations         Emails with S. Roe and V. Aniceto re paying payroll.                               0.7   $   355.00   $    248.50
12/10/2019   Robert Goe          52 - Business Operations         Correspondence with client and review payroll memoranda.                           0.3   $   495.00   $    148.50
12/10/2019   Robert Goe          52 - Business Operations         Review payroll memoranda and response.                                             0.3   $   495.00   $    148.50

12/10/2019 Robert Goe            52 - Business Operations         Correspondence with client; review memoranda re release of bank funds.             0.3 $ 495.00 $          148.50
                                                                  Preparation of notice of emergency hearings and emails with client and
12/10/2019 Robert Goe            52 - Business Operations         calls with Court.                                                                  0.8 $ 495.00 $          396.00
12/10/2019 Robert Goe            52 - Business Operations         Preparation of 7 day package documents.                                            0.9 $ 495.00 $          445.50

12/11/2019 Arthur Johnston       52 - Business Operations         Preparation of notice of service of first day motion for filing with Court.        2.6 $ 195.00 $          507.00


                                                                               17
                             Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                          Main Document    Page 58 of 101

Date        User               Activity category                Description                                                                 Hours Rate ($)   Billable ($)
 12/11/2019 Charity Manee      52 - Business Operations         Email with Frank Cadigan re insider compensation requests.                      0.2 $ 355.00 $       71.00

                                                                Emails with J. Peevy with East West Bank re proposed order re
12/11/2019 Charity Manee       52 - Business Operations         maintaining pre-petition bank accounts and establishing DIP accounts.           0.3 $ 355.00 $          106.50

12/11/2019 Robert Goe          52 - Business Operations         Correspondence with client and East West Bank re bank account order.            0.2 $ 495.00 $           99.00
                                                                Correspondence with East West ; review memoranda re bank accounts
12/11/2019   Robert Goe        52 - Business Operations         and operations.                                                                 0.4   $   495.00   $    198.00
12/11/2019   Robert Goe        52 - Business Operations         Phone call with Victor re operational issues.                                   0.4   $   495.00   $    198.00
12/11/2019   Robert Goe        52 - Business Operations         Preparation of arguments for first day motions.                                 1.1   $   495.00   $    544.50
12/11/2019   Robert Goe        52 - Business Operations         Review first day order and instructions re same and prepare notice.             1.2   $   495.00   $    594.00
12/11/2019   Robert Goe        52 - Business Operations         Preparation of first day orders.                                                1.3   $   495.00   $    643.50
                                                                Prepare email to V. Roe regarding 2017, 2018 & 2019 P&L formatting
12/12/2019 Arthur Johnston     52 - Business Operations         issues.                                                                         0.3 $ 195.00 $           58.50
12/12/2019 Arthur Johnston     52 - Business Operations         Review and format 2017, 2018 & 2019 P&L and balance sheet.                      1.8 $ 195.00 $          351.00
                                                                Phone conference with S. Roe regarding 2017, 2018 & 2019 Profit & Loss
12/12/2019 Arthur Johnston     52 - Business Operations         Statements and review same.                                                     1.8 $ 195.00 $          351.00
                                                                Email from M. Sorensen re Debtor's cash flow projections submitted with
12/12/2019 Charity Manee       52 - Business Operations         cash collateral motion and financials for 7 day package.                        0.2 $ 355.00 $           71.00
12/12/2019 Charity Manee       52 - Business Operations         Emails with D. Mehra re debtor's operations and DIP accounts.                   0.2 $ 355.00 $           71.00
12/12/2019 Robert Goe          52 - Business Operations         Review entered first day orders and forward to client.                          0.3 $ 495.00 $          148.50
                                                                Correspondence with client and Howard re strategy; review and forward
12/12/2019 Robert Goe          52 - Business Operations         financial information.                                                          0.8 $ 495.00 $          396.00
12/12/2019 Robert Goe          52 - Business Operations         Review P&L's and other financial information.                                   0.9 $ 495.00 $          445.50
                                                                Court appearance re first day motions; prepare for same and brief meeting
12/12/2019 Robert Goe          52 - Business Operations         with Frank Cadigan.                                                             3.8 $ 495.00 $         1,881.00
12/13/2019 Charity Manee       52 - Business Operations         Email with V. Aniceto re operations.                                            0.2 $ 355.00 $            71.00
                                                                Email from J. Peevy of East West Bank confirming release of hold on pre-
12/13/2019 Charity Manee       52 - Business Operations         petition accounts.                                                              0.2 $ 355.00 $           71.00
12/13/2019 Charity Manee       52 - Business Operations         Email from D. Mehra re debtor's operational questions.                          0.2 $ 355.00 $           71.00
                                                                Phone call with H. Grobstein, D. Mehra, V. Aniceto, L. Hernandez, S. Roe
12/13/2019 Charity Manee       52 - Business Operations         re financials and operations.                                                   1.4 $ 355.00 $          497.00
                                                                Phone call with Frank Cadigan re compliance documents and review US
12/13/2019 Robert Goe          52 - Business Operations         Trustee documents for submmission.                                              0.5 $ 495.00 $          247.50



                                                                            18
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                            Desc
                                                            Main Document    Page 59 of 101

Date         User                Activity category                Description                                                                   Hours     Rate ($)     Billable ($)
                                                                  Review US Trustee memoranda, responses and financial documents
12/13/2019   Robert Goe          52 - Business Operations         historical and projected.                                                         0.7   $   495.00   $     346.50
12/16/2019   Charity Manee       52 - Business Operations         Emails with V. Aniceto re shipment coming to port.                                0.2   $   355.00   $      71.00
12/16/2019   Robert Goe          52 - Business Operations         Review and execute US Trustee insider compensation stipulation.                   0.2   $   495.00   $      99.00
12/16/2019   Robert Goe          52 - Business Operations         Review operational memoranda/duties.                                              0.4   $   495.00   $     198.00
                                                                  Review and revise US Trustee stipulation on insider compensation and
12/16/2019   Robert Goe          52 - Business Operations         review bazckyp documents.                                                         0.4   $   495.00   $     198.00
12/16/2019   Robert Goe          52 - Business Operations         Review balance sheet and other financial documents.                               0.5   $   495.00   $     247.50
12/16/2019   Robert Goe          52 - Business Operations         Review and revise declaration re US Trustee compliance.                           0.6   $   495.00   $     297.00
12/16/2019   Robert Goe          52 - Business Operations         Preparation of US Trustee compliance documents.                                   1.3   $   495.00   $     643.50
12/17/2019   Robert Goe          52 - Business Operations         Correspondence with client and US Trustee re compliance issues.                   0.2   $   495.00   $      99.00
12/17/2019   Robert Goe          52 - Business Operations         Preparation of revised first day orders.                                          0.6   $   495.00   $     297.00
12/17/2019   Robert Goe          52 - Business Operations         Review and revise 7 day package for final.                                        1.1   $   495.00   $     544.50
                                                                  Emails with V. Aniceto re potential need for injunctive relief to allow Meade
12/18/2019   Charity Manee       52 - Business Operations         to pay Ningbo for shipment of goods.                                              0.2   $   355.00   $      71.00
12/18/2019   Robert Goe          52 - Business Operations         Review utility order.                                                             0.1   $   495.00   $      49.50
12/18/2019   Robert Goe          52 - Business Operations         Review entered employee order.                                                    0.1   $   495.00   $      49.50
12/18/2019   Robert Goe          52 - Business Operations         Review status of DIP accounts.                                                    0.1   $   495.00   $      49.50
12/18/2019   Robert Goe          52 - Business Operations         Review licensing documents.                                                       0.2   $   495.00   $      99.00
12/18/2019   Robert Goe          52 - Business Operations         Correspondence with client and East West re Bank accounts.                        0.2   $   495.00   $      99.00
12/18/2019   Robert Goe          52 - Business Operations         Review tax return documents.                                                      0.6   $   495.00   $     297.00
12/19/2019   Arthur Johnston     52 - Business Operations         Preparation of US Trustee compliance documents.                                   0.9   $   195.00   $     175.50
                                                                  Email with V. Aniceto re Meade's authority to use pre-petition bank
12/19/2019 Charity Manee         52 - Business Operations         accounts.                                                                         0.1   $ 355.00 $           35.50

12/19/2019 Charity Manee         52 - Business Operations         Email from V. Aniceto re stipulation with UST re insider compensation.           0.1 $ 355.00 $              35.50

12/19/2019 Charity Manee         52 - Business Operations         Emails with F. Cadigan re stipulation with UST re insider compensation.          0.2 $ 355.00 $              71.00
                                                                  Correspondence with client and Dimple; review memnoranda re
12/19/2019 Robert Goe            52 - Business Operations         operations and bank accounts.                                                    0.3 $ 495.00 $            148.50
                                                                  Correspondence with client and US Trustee; review status of insider
12/19/2019   Robert Goe          52 - Business Operations         compensation.                                                                    0.3    $   495.00   $     148.50
12/19/2019   Robert Goe          52 - Business Operations         Review and execute 7 day checklist.                                              0.4    $   495.00   $     198.00
12/20/2019   Arthur Johnston     52 - Business Operations         Revise Stipulation regarding insider compensation.                               0.6    $   195.00   $     117.00
12/20/2019   Robert Goe          52 - Business Operations         Review and revise Teresa insider compensation request.                           0.2    $   495.00   $      99.00


                                                                               19
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                     Desc
                                                            Main Document    Page 60 of 101

Date        User                 Activity category                Description                                                             Hours Rate ($)   Billable ($)
 12/20/2019 Robert Goe           52 - Business Operations         Review insider compensation stipulation and instructions re same.           0.3 $ 495.00 $      148.50
 12/20/2019 Robert Goe           52 - Business Operations         Preparation of FRBP 2015.3 reports.                                         0.3 $ 495.00 $      148.50
                                                                  Correspondence with Hamid; review memoranda and documents re
12/20/2019   Robert Goe          52 - Business Operations         insider compensation.                                                       0.3 $ 495.00 $      148.50
12/23/2019   Robert Goe          52 - Business Operations         Review insider compensation memoranda and responses.                        0.3 $ 495.00 $      148.50
12/23/2019   Robert Goe          52 - Business Operations         Review insider order and other filings.                                     0.4 $ 495.00 $      198.00
12/24/2019   Robert Goe          52 - Business Operations         Correspondence with client re lease/insurance.                              0.2 $ 495.00 $       99.00
12/26/2019   Robert Goe          52 - Business Operations         Preparation of 2015.3 report.                                               0.5 $ 495.00 $      247.50
                                                                  Phone conference with S. Roe regarding completion of balance of
12/30/2019   Arthur Johnston     52 - Business Operations         Schedules.                                                                  0.7 $ 195.00 $      136.50
12/30/2019   Robert Goe          52 - Business Operations         Phone call with Victor re operations/memoranda re same.                     0.5 $ 495.00 $      247.50
  1/3/2020   Robert Goe          52 - Business Operations         Review US Trustee filings on insider compensation.                          0.1 $ 495.00 $       49.50
  1/3/2020   Robert Goe          52 - Business Operations         Correspondence with creditors re debtor's operation in Chapter 11.          0.4 $ 495.00 $      198.00
                                                                  Email with V. Aniceto re marketing expenses and attendance at trade
   1/6/2020 Charity Manee        52 - Business Operations         show.                                                                       0.1 $ 355.00 $       35.50
                                                                  Emails with V. Aniceto re using AAS for marketing/ email from AAS re
   1/6/2020 Charity Manee        52 - Business Operations         assumption of contract.                                                     0.2 $ 355.00 $       71.00
                                                                  Draft letter to creditor/vendors re bankruptcy and ordinary course
                                                                  operations. Draft letter to employees re bankruptcy filing and ordinary
   1/6/2020 Charity Manee        52 - Business Operations         course operations.                                                            1 $ 355.00 $      355.00
                                                                  Correspondence with client re employee/marketing express and
   1/6/2020 Robert Goe           52 - Business Operations         reimbursements.                                                             0.2 $ 495.00 $       99.00
   1/6/2020 Robert Goe           52 - Business Operations         Review Nogales supply memoranda.                                            0.2 $ 495.00 $       99.00
   1/6/2020 Robert Goe           52 - Business Operations         Review Mexico financial documents.                                          0.5 $ 495.00 $      247.50
                                                                  Correspondence with M. Horoupian and review memoranda re insider
   1/8/2020 Robert Goe           52 - Business Operations         compensation.                                                               0.2 $ 495.00 $       99.00
   1/9/2020 Charity Manee        52 - Business Operations         Email from V. Aniceto re status of operations.                              0.1 $ 355.00 $       35.50
                                                                  Review operation memoranda and response re issues with sales and lack
  1/9/2020   Robert Goe          52 - Business Operations         of inventory.                                                               0.3 $ 495.00 $      148.50
  1/9/2020   Robert Goe          52 - Business Operations         Review DIP banking documents/compliance.                                    0.3 $ 495.00 $      148.50
  1/9/2020   Robert Goe          52 - Business Operations         Phone call with Victor re sale and operations.                              0.4 $ 495.00 $      198.00
 1/10/2020   Robert Goe          52 - Business Operations         Review Fed Ex letter and client memoranda re Shipping terms.                0.4 $ 495.00 $      198.00
                                                                  Phone conference with S. Roe regarding employee expenses for trade
 1/13/2020 Arthur Johnston       52 - Business Operations         show.                                                                       0.3 $ 195.00 $       58.50
 1/13/2020 Robert Goe            52 - Business Operations         Review Fed Ex claim documents.                                              0.2 $ 495.00 $       99.00


                                                                             20
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                            Main Document    Page 61 of 101

Date         User                Activity category                Description                                                            Hours      Rate ($)     Billable ($)
 1/13/2020   Robert Goe          52 - Business Operations         Review Ningbo invoices.                                                    0.2    $ 495.00     $       99.00
 1/13/2020   Robert Goe          52 - Business Operations         Review custom house memoranda.                                             0.2    $ 495.00     $       99.00
 1/13/2020   Robert Goe          52 - Business Operations         Preparation of US Trustee compliance declarations.                         0.4    $ 495.00     $      198.00
                                                                  Phone conference with S. Roe regarding, Proof of Claim for vendors and
 1/15/2020   Arthur Johnston     52 - Business Operations         issues with shipping vendors.                                              0.3    $   195.00   $      58.50
 1/15/2020   Robert Goe          52 - Business Operations         Review AR reports.                                                         0.4    $   495.00   $     198.00
 1/16/2020   Robert Goe          52 - Business Operations         Correspondence with client re operational issues/payments.                 0.2    $   495.00   $      99.00
 1/17/2020   Charity Manee       52 - Business Operations         Emails with V. Aniceto re customs bond deficiency.                         0.1    $   355.00   $      35.50
 1/17/2020   Robert Goe          52 - Business Operations         Correspondence with Victor re payments and operations.                     0.2    $   495.00   $      99.00

 1/17/2020 Robert Goe            52 - Business Operations         Correspondence with client re Customs Bond issues and call re same.         0.3 $ 495.00 $           148.50
                                                                  Correspondence with client and Dimple; review draft December monthly
 1/17/2020 Robert Goe            52 - Business Operations         operating report.                                                           0.4 $ 495.00 $           198.00
                                                                  Correspondence with client; review information on bond insurer and calls
 1/17/2020 Robert Goe            52 - Business Operations         re same.                                                                    0.4 $ 495.00 $           198.00
 1/20/2020 Charity Manee         52 - Business Operations         Emails with D. Mehra re monthly operating report #1.                        0.2 $ 355.00 $            71.00

 1/20/2020 Charity Manee         52 - Business Operations         Research re potential cancellation of customs bond/stay violation issues.   1.1 $ 355.00 $           390.50
 1/21/2020 Charity Manee         52 - Business Operations         Call with Chris at Fidelity re insufficient customs bond.                   0.1 $ 355.00 $            35.50
                                                                  Emails with V. Aniceto and L. Hernandez re discussing customs bond
 1/21/2020 Charity Manee         52 - Business Operations         issue with insurance broker.                                                0.2 $ 355.00 $            71.00
 1/21/2020 Charity Manee         52 - Business Operations         Email memoranda re customs bond issue.                                      0.3 $ 355.00 $           106.50
 1/21/2020 Charity Manee         52 - Business Operations         Draft joint chapter 11 status report for debtor and Sunny Optics.           1.3 $ 355.00 $           461.50
                                                                  Correspondence with Victor and review memoranda re operating
 1/21/2020 Robert Goe            52 - Business Operations         expenses.                                                                   0.2 $ 495.00 $            99.00
 1/21/2020 Robert Goe            52 - Business Operations         Review Customs Bond and client memofranda.                                  0.3 $ 495.00 $           148.50
 1/22/2020 Charity Manee         52 - Business Operations         Email from C. Cullen re insufficient customs bond.                          0.1 $ 355.00 $            35.50
                                                                  Email from S. Roe confirming closing of pre-petition accounts and sending
 1/23/2020 Charity Manee         52 - Business Operations         UST form re same.                                                           0.1 $ 355.00 $            35.50
 1/23/2020 Robert Goe            52 - Business Operations         Review US Trustee/Bank account information.                                 0.2 $ 495.00 $            99.00
                                                                  Email from H. Rafatjoo re concerns of Orion re Ningbo Sunny's willingness
 1/27/2020   Charity Manee       52 - Business Operations         to continue to ship.                                                        0.1   $   355.00   $      35.50
 1/27/2020   Charity Manee       52 - Business Operations         Emails with D. Mehra and V. Aniceto re monthly operating report.            0.1   $   355.00   $      35.50
 1/27/2020   Robert Goe          52 - Business Operations         Correspondence with Leo re Orion demand that NS continue to ship.           0.2   $   495.00   $      99.00
 1/27/2020   Robert Goe          52 - Business Operations         Correspondence with client re bonding issues.                               0.2   $   495.00   $      99.00


                                                                              21
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                            Main Document    Page 62 of 101

Date         User                Activity category                Description                                                                 Hours    Rate ($)     Billable ($)
                                                                  Prepare email to S. Roe regarding outstanding checks from pre-BK
 1/28/2020 Arthur Johnston       52 - Business Operations         account.                                                                       0.2 $ 195.00 $             39.00
                                                                  Review email from S. Roe, forward to R. Goe with recommendation and
 1/28/2020   Arthur Johnston     52 - Business Operations         request opinion.                                                               0.3   $   195.00   $       58.50
 1/28/2020   Charity Manee       52 - Business Operations         Email with L. Hernandez re expiration of customs bond.                         0.1   $   355.00   $       35.50
 1/28/2020   Charity Manee       52 - Business Operations         Email from V. Aniceto re 401k plan termination.                                0.1   $   355.00   $       35.50
 1/28/2020   Charity Manee       52 - Business Operations         Emails with S. Roe re usage of and closure of pre-petition accounts.           0.2   $   355.00   $       71.00

 1/28/2020   Charity Manee       52 - Business Operations         Emails with V. Aniceto re questions from D. Mehra re Debtor's operations.      0.2   $   355.00   $      71.00
 1/28/2020   Charity Manee       52 - Business Operations         Emails with L. Hernandez and C. Cullen re customs bond expiration.             0.2   $   355.00   $      71.00
 1/28/2020   Charity Manee       52 - Business Operations         Draft motion to obtain new customs bond.                                       1.5   $   355.00   $     532.50
 1/28/2020   Robert Goe          52 - Business Operations         Correspondence with client re post petition vendors.                           0.2   $   495.00   $      99.00
                                                                  Correspondence with Ningbo counsel and forward Orion memoranda re
 1/28/2020 Robert Goe            52 - Business Operations         NS continunung to provide inventory.                                           0.2 $ 495.00 $            99.00
 1/28/2020 Robert Goe            52 - Business Operations         Phone call with client re various issues with trade creditors.                 0.3 $ 495.00 $           148.50
                                                                  Correspondence with clients and insurer re amount of custom bond and
 1/28/2020   Robert Goe          52 - Business Operations         Court approval.                                                                0.4   $   495.00   $     198.00
 1/29/2020   Charity Manee       52 - Business Operations         Draft prepare (continued) motion to obtain new customs bond.                   3.8   $   355.00   $   1,349.00
 1/29/2020   Robert Goe          52 - Business Operations         Preparation of application/order shortening time on bond payment.              0.4   $   495.00   $     198.00
 1/29/2020   Robert Goe          52 - Business Operations         Review Custom's bond docvuments and work on ex parte.                          0.6   $   495.00   $     297.00
 1/29/2020   Robert Goe          52 - Business Operations         Review and revise bond 363 motion.                                             0.6   $   495.00   $     297.00
                                                                  Emails with H. Rafatjoo re Orion's questions re Ningbo's willingness to
 1/30/2020 Charity Manee         52 - Business Operations         ship product moving forward.                                                   0.1 $ 355.00 $             35.50
                                                                  Finalize motion for obtaining renewal of bond and draft application for
 1/30/2020 Charity Manee         52 - Business Operations         order setting hearing on shortened time.                                       1.6 $ 355.00 $           568.00
 1/30/2020 Robert Goe            52 - Business Operations         Correspondence with Victor re Orion demand that Ningbo Ship.                   0.2 $ 495.00 $            99.00
                                                                  Correspondence with Mark and Hamid and forward to client memoranda
 1/30/2020 Robert Goe            52 - Business Operations         concerning Ningbo providing goods.                                             0.3 $ 495.00 $           148.50
                                                                  Review and execute Bond motion and application for order shortening
 1/30/2020 Robert Goe            52 - Business Operations         time.                                                                          1.1 $ 495.00 $           544.50
                                                                  Emails with Victor re sharing Peter Ni's responses re Orion questions
 1/31/2020 Charity Manee         52 - Business Operations         about Ningbo shipping to Debtor.                                               0.1 $ 355.00 $            35.50
 1/31/2020 Robert Goe            52 - Business Operations         Review Bond OST and instructions re same.                                      0.3 $ 495.00 $           148.50
                                                                  Correspondence with Leo and forward Hamid memoranda re Ningbo
 1/31/2020 Robert Goe            52 - Business Operations         issues.                                                                        0.3 $ 495.00 $           148.50


                                                                              22
                             Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                            Desc
                                                          Main Document    Page 63 of 101

Date         User              Activity category                Description                                                              Hours      Rate ($)     Billable ($)
                                                                Review order setting hearing on shortened notice for customs bond
  2/3/2020   Charity Manee     52 - Business Operations         motion.                                                                      0.1    $   355.00   $      35.50
  2/3/2020   Charity Manee     52 - Business Operations         Revise notice of hearing for customs bond motion.                            0.3    $   355.00   $     106.50
  2/3/2020   Robert Goe        52 - Business Operations         Review monthly operating report memoranda and respond.                       0.2    $   495.00   $      99.00
  2/3/2020   Robert Goe        52 - Business Operations         Correspondence with Committee re bond motion.                                0.2    $   495.00   $      99.00
  2/3/2020   Robert Goe        52 - Business Operations         Review Committee comments to bond motion.                                    0.2    $   495.00   $      99.00
                                                                Review bank account and Mexico memoranda for timely filing monthly
  2/3/2020   Robert Goe        52 - Business Operations         operating report.                                                            0.2    $   495.00   $      99.00
  2/3/2020   Robert Goe        52 - Business Operations         Review Bond motion for compliance with Court order.                          0.3    $   495.00   $     148.50
  2/3/2020   Robert Goe        52 - Business Operations         Preparation of bond order with Committee comments.                           0.5    $   495.00   $     247.50
  2/4/2020   Charity Manee     52 - Business Operations         Review email from M. Borden re supply agreement with Ningbo.                 0.1    $   355.00   $      35.50
                                                                Call with M. Borden for Orion, M. Horoupian and Hamid re Ningbo supply
  2/4/2020   Charity Manee     52 - Business Operations         stipulation and stipulating to relief from stay with Orion.                  0.7    $   355.00   $     248.50
  2/4/2020   Robert Goe        52 - Business Operations         Review bank account closing memoranda.                                       0.2    $   495.00   $      99.00
  2/4/2020   Robert Goe        52 - Business Operations         Correspondence with Victor re bond and other hearings/matter.                0.2    $   495.00   $      99.00
  2/4/2020   Robert Goe        52 - Business Operations         Correspondence with client and M. Borden re Orion proposal.                  0.2    $   495.00   $      99.00
  2/4/2020   Robert Goe        52 - Business Operations         Phone call with Victor re Orion proposal.                                    0.2    $   495.00   $      99.00
  2/4/2020   Robert Goe        52 - Business Operations         Phone call with Mark (later call) re Ningbo Sunny issues.                    0.2    $   495.00   $      99.00
                                                                Preparation of arguments for bond hearing, review order and forward to
  2/4/2020 Robert Goe          52 - Business Operations         Committee.                                                                   0.4    $ 495.00 $         198.00
                                                                Phone call with M. Borden, M. Horoupian and others re allowing Ningbo to
  2/4/2020 Robert Goe          52 - Business Operations         be paid/shipped.                                                             0.6    $ 495.00 $         297.00
  2/5/2020 Charity Manee       52 - Business Operations         Review email with M. Borden re Ningbo supply agreement.                      0.1    $ 355.00 $          35.50

  2/5/2020 Robert Goe          52 - Business Operations         Correspondence with M. Borden and others re Ningbo agreeing to ship.          0.2 $ 495.00 $             99.00
                                                                Preparation of instructions re uploading bond order and emails to client re
  2/5/2020 Robert Goe          52 - Business Operations         paying surety.                                                                0.3 $ 495.00 $           148.50
                                                                Phone call with Victor and Mark; review memoranda re Ningbo Sunny
  2/5/2020   Robert Goe        52 - Business Operations         providing products.                                                           0.4   $   495.00   $     198.00
  2/5/2020   Robert Goe        52 - Business Operations         Court appearance re bond motion (granted).                                    1.9   $   495.00   $     940.50
  2/6/2020   Charity Manee     52 - Business Operations         Email with Victor re revised/new budget for operations.                       0.1   $   355.00   $      35.50
  2/6/2020   Charity Manee     52 - Business Operations         Email with Victor re order approving customs bond.                            0.1   $   355.00   $      35.50
                                                                Review draft stipulation re Ningbo supply agreement and relief from stay
  2/6/2020 Charity Manee       52 - Business Operations         and coment on same.                                                           0.6 $ 355.00 $           213.00



                                                                             23
                             Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                              Desc
                                                          Main Document    Page 64 of 101

Date         User              Activity category                Description                                                                Hours     Rate ($)     Billable ($)

  2/6/2020   Robert Goe        52 - Business Operations         Review entered customs order and forward to client with instructions.          0.1   $   495.00   $      49.50
  2/6/2020   Robert Goe        52 - Business Operations         Review Orion stipulation re NS and forward client for review.                  0.3   $   495.00   $     148.50
  2/7/2020   Charity Manee     52 - Business Operations         Email from Victor re Meade Mexico lease.                                       0.6   $   355.00   $     213.00
  2/7/2020   Robert Goe        52 - Business Operations         Review Optronics proposed limited supply agreement.                            0.3   $   495.00   $     148.50
  2/7/2020   Robert Goe        52 - Business Operations         Phone call with Victor re NS Supply agreement.                                 0.3   $   495.00   $     148.50
  2/7/2020   Robert Goe        52 - Business Operations         Review and revise supply agreement.                                            0.3   $   495.00   $     148.50
 2/10/2020   Charity Manee     52 - Business Operations         Email with Ori Katz and Leo Caseria re Ningbo supply agreement.                0.1   $   355.00   $      35.50
 2/10/2020   Robert Goe        52 - Business Operations         Correspondence with client re Ningbo supplying product.                        0.1   $   495.00   $      49.50
 2/10/2020   Robert Goe        52 - Business Operations         Review Bond memoranda/responses.                                               0.2   $   495.00   $      99.00
 2/10/2020   Robert Goe        52 - Business Operations         Correspondence with Victor re lease negotiations.                              0.2   $   495.00   $      99.00
 2/10/2020   Robert Goe        52 - Business Operations         Review Ningbo changes to supply agreement.                                     0.2   $   495.00   $      99.00

 2/10/2020 Robert Goe          52 - Business Operations         Correspondence with Leo and Ori re Ningbo agreement to Orion proposal.         0.2 $ 495.00 $             99.00

 2/10/2020 Robert Goe          52 - Business Operations         Correspondence with Victor re amendments to monthly operating report.          0.2 $ 495.00 $            99.00
 2/10/2020 Robert Goe          52 - Business Operations         Review proposed January monthly operating report.                              0.4 $ 495.00 $           198.00
                                                                Review Committee memoranda/comments on Ningbo Sunny/Orion
 2/10/2020 Robert Goe          52 - Business Operations         agreements.                                                                    0.4 $ 495.00 $           198.00
 2/11/2020 Charity Manee       52 - Business Operations         Emails with Victor re Ningbo supply agreement.                                 0.2 $ 355.00 $            71.00
                                                                Draft amendments to Ningbo supply agreement with changes from all
 2/11/2020 Charity Manee       52 - Business Operations         parties.                                                                       0.6 $ 355.00 $           213.00
 2/11/2020 Robert Goe          52 - Business Operations         Correspondence with Victor re further changes to supply agreement.             0.2 $ 495.00 $            99.00
 2/11/2020 Robert Goe          52 - Business Operations         Review further Ningbo changes to supply agreement.                             0.2 $ 495.00 $            99.00
                                                                Correspondence with client and Committee; review revise NS Supply
 2/11/2020 Robert Goe          52 - Business Operations         agreement with Committee changes.                                              0.4 $ 495.00 $           198.00
 2/12/2020 Robert Goe          52 - Business Operations         Correspondence with Matt Borda re supply agreement.                            0.1 $ 495.00 $            49.50
 2/12/2020 Robert Goe          52 - Business Operations         Correspondence with client re responding to operational questions.             0.2 $ 495.00 $            99.00

 2/12/2020 Robert Goe          52 - Business Operations         Correspondence with P. Ni and others re agreement on supply terms.             0.2 $ 495.00 $             99.00
 2/12/2020 Robert Goe          52 - Business Operations         Review post trial orders.                                                      0.2 $ 495.00 $             99.00
                                                                Phone call with client and Dimple re operations and responding to
 2/12/2020 Robert Goe          52 - Business Operations         Committee.                                                                     0.5 $ 495.00 $           247.50
                                                                Emails with Victor exchange between M. Borden and M. Horoupian re
 2/13/2020 Charity Manee       52 - Business Operations         Ningbo supply stipulation.                                                     0.1 $ 355.00 $             35.50


                                                                              24
                             Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                          Main Document    Page 65 of 101

Date         User              Activity category                Description                                                                 Hours    Rate ($)     Billable ($)

 2/13/2020 Charity Manee       52 - Business Operations         Email from M. Borden re Peter Ni's changes to Ningbo supply stipulation.       0.1 $ 355.00 $             35.50
                                                                Emails with G. Clarkson re transfer of IP from Knobe Martins and Arent
 2/13/2020   Charity Manee     52 - Business Operations         Fox.                                                                           0.3   $   355.00   $     106.50
 2/13/2020   Robert Goe        52 - Business Operations         Correspondence with Leo and Ori re terms for Ningbo to ship.                   0.2   $   495.00   $      99.00
 2/13/2020   Robert Goe        52 - Business Operations         Review Committee/Orion memoranda re Ningbo Supply agreement.                   0.3   $   495.00   $     148.50
 2/14/2020   Charity Manee     52 - Business Operations         Email from Peter Ni re Orion's demands re Ningbo supply stipulation.           0.2   $   355.00   $      71.00
 2/14/2020   Robert Goe        52 - Business Operations         Review Borden email re supply agreement.                                       0.2   $   495.00   $      99.00

 2/14/2020 Robert Goe          52 - Business Operations         Review Peter Ni and other emails re Ningbo not agreeing to ship on terms.      0.2 $ 495.00 $             99.00
                                                                Correspondence with client; review memoranda and documents re
 2/20/2020 Robert Goe          52 - Business Operations         premier financial arrangement.                                                 0.4 $ 495.00 $           198.00

 2/22/2020 Robert Goe          52 - Business Operations         Review Borden and other memoranda re proposed supply agreement.                0.2 $ 495.00 $             99.00
 2/24/2020 Charity Manee       52 - Business Operations         Emails with L. Hernandez re renewing risk insurance policies.                  0.2 $ 355.00 $             71.00
                                                                Correspondence with client; review memoranda re motion to pay
 2/24/2020 Robert Goe          52 - Business Operations         insurance.                                                                     0.2 $ 495.00 $             99.00
                                                                Emails with L. Hernandez re need for insurance renewals and changes to
 2/25/2020   Charity Manee     52 - Business Operations         premium financing.                                                             0.2   $   355.00   $      71.00
 2/27/2020   Robert Goe        52 - Business Operations         Phone call with Victor re operations.                                          0.3   $   495.00   $     148.50
 2/27/2020   Robert Goe        52 - Business Operations         Review Orion filings in effort to force Ningbo to deliver products.            0.9   $   495.00   $     445.50
  3/2/2020   Robert Goe        52 - Business Operations         Review operating memoranda/documents.                                          0.2   $   495.00   $      99.00
                                                                Emails with V. Aniceto re Mexico real property lease and insurance
  3/3/2020   Charity Manee     52 - Business Operations         issues.                                                                        0.3   $   355.00   $     106.50
  3/3/2020   Charity Manee     52 - Business Operations         Draft motion to obtain renewed or replaced risk insurance policies.            2.2   $   355.00   $     781.00
  3/3/2020   Robert Goe        52 - Business Operations         Correspondence with client re employer expenses.                               0.1   $   495.00   $      49.50
  3/3/2020   Robert Goe        52 - Business Operations         Correspondence with Victor re supply terms.                                    0.1   $   495.00   $      49.50
  3/3/2020   Robert Goe        52 - Business Operations         Review memoranda re insurance removal and timing.                              0.2   $   495.00   $      99.00
  3/3/2020   Robert Goe        52 - Business Operations         Correspondence with client re Mexico lease issue.                              0.2   $   495.00   $      99.00
  3/3/2020   Robert Goe        52 - Business Operations         Correspondence with client re required insurance payments.                     0.2   $   495.00   $      99.00
  3/3/2020   Robert Goe        52 - Business Operations         Review memoranda re Mexico lease and respond.                                  0.3   $   495.00   $     148.50
  3/4/2020   Charity Manee     52 - Business Operations         email from L. Hernandez re insurance carriers.                                 0.1   $   355.00   $      35.50
  3/4/2020   Robert Goe        52 - Business Operations         Phone call with Victor re operational issues.                                  0.4   $   495.00   $     198.00
                                                                Review and revise insurance motion and application for order shortening
  3/4/2020 Robert Goe          52 - Business Operations         time.                                                                          1.3 $ 495.00 $           643.50


                                                                              25
                                Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                              Desc
                                                             Main Document    Page 66 of 101

Date          User                Activity category                Description                                                                     Hours     Rate ($)     Billable ($)
   3/5/2020   Robert Goe          52 - Business Operations         Phone call with Dimple re operations.                                               0.2   $ 495.00     $       99.00
   3/5/2020   Robert Goe          52 - Business Operations         Phone call with Keiko re Japanese distributors.                                     0.2   $ 495.00     $       99.00
   3/5/2020   Robert Goe          52 - Business Operations         Review Kenko Tokina memoranda and respond.                                          0.2   $ 495.00     $       99.00
   3/5/2020   Robert Goe          52 - Business Operations         Review proposed February operating report.                                          0.3   $ 495.00     $      148.50
   3/5/2020   Robert Goe          52 - Business Operations         Phone call with Victor re Mexico lease issues.                                      0.3   $ 495.00     $      148.50
   3/5/2020   Robert Goe          52 - Business Operations         Review Broker memoranda/responses re lease negotiations.                            0.3   $ 495.00     $      148.50
   3/5/2020   Robert Goe          52 - Business Operations         Review memoranda/documents re Mexico lease.                                         0.4   $ 495.00     $      198.00
   3/5/2020   Robert Goe          52 - Business Operations         Review Ningbo response re requirement to shop product.                              0.7   $ 495.00     $      346.50
   3/6/2020   Arthur Johnston     52 - Business Operations         Preparation of written notice of insurance hearing.                                 0.6   $ 195.00     $      117.00
                                                                   Preparation of telephonic of Motion and Notice of Hearing on Shortened
                                                                   Time on Motion for an Order pursuant to 11 U.S.C. Section 363(b)(1)
                                                                   authorizing the debtor to renew and/or replace its current insurance
                                                                   policies that will expire on April 1, 2020 and to enter into a financing
                                                                   agreement with its domestic liability insurance carrier to finance its annual
   3/6/2020 Arthur Johnston       52 - Business Operations         premiums.                                                                           1.6 $ 195.00 $           312.00
                                                                   Correspondence with client; review sales projections under differing
   3/6/2020   Robert Goe          52 - Business Operations         scenarios.                                                                          0.2   $   495.00   $      99.00
   3/6/2020   Robert Goe          52 - Business Operations         Correspondence with L. Caseria re producing documents to Orion.                     0.2   $   495.00   $      99.00
   3/6/2020   Robert Goe          52 - Business Operations         Review OST re insurance and instructions re same.                                   0.3   $   495.00   $     148.50
   3/6/2020   Robert Goe          52 - Business Operations         Review and execute notice of insurance hearing.                                     0.4   $   495.00   $     198.00
                                                                   Prepare Declaration of Service of Notice of Debtor's Motion for Order
                                                                   Pursuant to 11 U.S.C. Section 363(b)(1) Authorizing the Debtor to Renew
                                                                   and/or Replace its Current Insurance Policies That Will Expire on April 1,
                                                                   2020 and to Enter Into a Financing Agreement with its Domestic Liability
                                                                   Insurance Carrier to Finance Its Annual Premiums on Shortened Time by
   3/9/2020 Arthur Johnston       52 - Business Operations         Arthur E. Johnston by Telephone and Email.                                          1.1 $ 195.00 $           214.50
                                                                   Prepare proof of service and for electronic filing, Prepare Declaration of
                                                                   Service of Notice of Debtor's Motion for Order Pursuant to 11 U.S.C.
                                                                   Section 363(b)(1) Authorizing the Debtor to Renew and/or Replace its
                                                                   Current Insurance Policies That Will Expire on April 1, 2020 and to Enter
                                                                   Into a Financing Agreement with its Domestic Liability Insurance Carrier to
                                                                   Finance Its Annual Premiums on Shortened Time by Arthur E. Johnston
   3/9/2020 Arthur Johnston       52 - Business Operations         by Telephone and Email.                                                             1.2 $ 195.00 $           234.00
   3/9/2020 Charity Manee         52 - Business Operations         Emails with M. Horoupian re supply issues with Ninghbo Sunny.                       0.2 $ 355.00 $            71.00



                                                                                26
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                           Desc
                                                            Main Document    Page 67 of 101

Date         User                Activity category                Description                                                               Hours    Rate ($)     Billable ($)
                                                                  Review of order on Orion's motion for OSC re contempt against Ningbo
  3/9/2020 Charity Manee         52 - Business Operations         Sunny re supply and A/R issues.                                              0.3 $ 355.00 $           106.50
                                                                  Correspondence with client re supply terms with Ningbo; review
  3/9/2020   Robert Goe          52 - Business Operations         memoranda re same.                                                           0.2   $   495.00   $      99.00
 3/10/2020   Robert Goe          52 - Business Operations         Phone call with Victor re operating challenges.                              0.2   $   495.00   $      99.00
 3/11/2020   Charity Manee       52 - Business Operations         Draft order allowing debtor to pay for new risk insurance.                   0.4   $   355.00   $     142.00
 3/11/2020   Robert Goe          52 - Business Operations         Correspondence with client re insurance payment.                             0.2   $   495.00   $      99.00
 3/11/2020   Robert Goe          52 - Business Operations         Phone call with Victor re Sheppard Mullin documents.                         0.3   $   495.00   $     148.50
 3/12/2020   Charity Manee       52 - Business Operations         Email with V. Aniceto re need for employment counsel.                        0.2   $   355.00   $      71.00
 3/12/2020   Charity Manee       52 - Business Operations         Review February monthly operating report.                                    0.5   $   355.00   $     177.50
 3/12/2020   Robert Goe          52 - Business Operations         Phone call with client re Mexico negotiations.                               0.1   $   495.00   $      49.50
 3/12/2020   Robert Goe          52 - Business Operations         Correspondence with M. Horoupian re strategy with Mexico lease.              0.2   $   495.00   $      99.00
 3/12/2020   Robert Goe          52 - Business Operations         Phone call with Mark re Mexico lease.                                        0.2   $   495.00   $      99.00

 3/12/2020 Robert Goe            52 - Business Operations         Correspondence with Dimple; review memoranda re operating reports.           0.2 $ 495.00 $             99.00
                                                                  Instructions re executed monthly operating report and forward for
 3/12/2020 Robert Goe            52 - Business Operations         handling.                                                                    0.2 $ 495.00 $            99.00
 3/12/2020 Robert Goe            52 - Business Operations         Review Mexico memoranda documents on lease extension.                        0.3 $ 495.00 $           148.50
                                                                  Review revised monthly operating report and memoranda/comments re
 3/12/2020 Robert Goe            52 - Business Operations         same.                                                                        0.3 $ 495.00 $           148.50
                                                                  Review Orion injunction filings to require sale to Meade and forward to
 3/13/2020 Robert Goe            52 - Business Operations         Committee.                                                                   0.8 $ 495.00 $           396.00
                                                                  Telephone conference with L. Hernandez re. Immigration attorney and
 3/16/2020 Arthur Johnston       52 - Business Operations         employee reimbursement issues.                                               0.6 $ 195.00 $           117.00

 3/16/2020   Arthur Johnston     52 - Business Operations         Phone call with S. Roe regarding employee issues and other matters.          0.6   $   195.00   $     117.00
 3/16/2020   Charity Manee       52 - Business Operations         Email from L. Hernandez re need for employment policy guidance.              0.1   $   355.00   $      35.50
 3/16/2020   Robert Goe          52 - Business Operations         Review Status of opposition to lease extension.                              0.1   $   495.00   $      49.50
 3/16/2020   Robert Goe          52 - Business Operations         Review insurance memoranda and responses.                                    0.1   $   495.00   $      49.50
 3/16/2020   Robert Goe          52 - Business Operations         Correspondence with Victor and Committee re Mexico negotiations.             0.2   $   495.00   $      99.00
 3/17/2020   Charity Manee       52 - Business Operations         Emails with V. Aniceto re case status.                                       0.1   $   355.00   $      35.50
                                                                  Emails from L. Hernandez re need for visa renewal sponsored by debtor
 3/17/2020 Charity Manee         52 - Business Operations         for IT manager and US immigration issues re COVID-19.                        0.2 $ 355.00 $             71.00
 3/17/2020 Robert Goe            52 - Business Operations         Phone call with L. Hernandez re HR/operations issues.                        0.2 $ 495.00 $             99.00



                                                                              27
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                            Main Document    Page 68 of 101

Date         User                Activity category                Description                                                             Hours     Rate ($)     Billable ($)
                                                                  Research and review Center for Disease Control’s (CDC) “Interim
                                                                  Guidance for Businesses and Employers” regarding an afflicted employee.
 3/18/2020   Arthur Johnston     52 - Business Operations         Prepare email to R.Goe.                                                     0.4   $   195.00   $      78.00
 3/18/2020   Robert Goe          52 - Business Operations         Correspondence with client and review immigration issues.                   0.1   $   495.00   $      49.50
 3/18/2020   Robert Goe          52 - Business Operations         Phone call with Lenora re employee issues/quarantine issue.                 0.2   $   495.00   $      99.00
 3/18/2020   Robert Goe          52 - Business Operations         Phone call with Victor re operations.                                       0.4   $   495.00   $     198.00

 3/18/2020 Robert Goe            52 - Business Operations         Review Orion injunction filings to require supply agreement with debtor.    0.8 $ 495.00 $           396.00
 3/23/2020 Charity Manee         52 - Business Operations         Email with V. Aniceto re Committee's request for cost-cutting plan.         0.1 $ 355.00 $            35.50
                                                                  Email from V. Aniceto re possible termination of service by credit card
 3/23/2020 Charity Manee         52 - Business Operations         processing company.                                                         0.2 $ 355.00 $             71.00
                                                                  Review client memoranda and credit card letter cancelling merchant
 3/23/2020   Robert Goe          52 - Business Operations         agreement.                                                                  0.2   $   495.00   $       99.00
 3/24/2020   Charity Manee       52 - Business Operations         Emails with M. Horpoupian re supply agreement with Ningbo Sunny.            0.2   $   355.00   $       71.00
 3/24/2020   Robert Goe          52 - Business Operations         Review merchant account memoranda re need to replace.                       0.1   $   495.00   $       49.50
 3/24/2020   Robert Goe          52 - Business Operations         Review Mexico lease memoranda.                                              0.1   $   495.00   $       49.50
                                                                  Correspondence with M. Horoupian and others re potential supply
 3/24/2020 Robert Goe            52 - Business Operations         agreements.                                                                 0.2 $ 495.00 $            99.00
 3/24/2020 Robert Goe            52 - Business Operations         Phone call with Victor re potential supply agreement.                       0.3 $ 495.00 $           148.50
                                                                  Correspondence with Victor and others; review memoranda re resolving
 3/26/2020 Robert Goe            52 - Business Operations         Mexico lease extension.                                                     0.3 $ 495.00 $           148.50
                                                                  Review revised supply agreement and forward to client to send to Ningbo
 3/26/2020 Robert Goe            52 - Business Operations         Sunny.                                                                      0.4 $ 495.00 $           198.00
 3/27/2020 Charity Manee         52 - Business Operations         Emails with V. Aniceto re layoffs.                                          0.1 $ 355.00 $            35.50
 3/27/2020 Charity Manee         52 - Business Operations         Email from V. Aniceto re revised supply agreement.                          0.1 $ 355.00 $            35.50
                                                                  Review of revised supply agreement among Meade, Orion and Ningbo
 3/27/2020   Charity Manee       52 - Business Operations         Sunny.                                                                      0.2   $   355.00   $      71.00
 3/27/2020   Charity Manee       52 - Business Operations         Review expense cutting plan of V. Aniceto.                                  0.2   $   355.00   $      71.00
 3/27/2020   Robert Goe          52 - Business Operations         Phone call with Victor re cost reduction plan,                              0.2   $   495.00   $      99.00
 3/27/2020   Robert Goe          52 - Business Operations         Phone call with Mark re cost cutting.                                       0.2   $   495.00   $      99.00
 3/27/2020   Robert Goe          52 - Business Operations         Review memoranda re Mexico lease insurance.                                 0.2   $   495.00   $      99.00
 3/27/2020   Robert Goe          52 - Business Operations         Review costs reduction memoranda and calls with client.                     0.4   $   495.00   $     198.00
 3/30/2020   Charity Manee       52 - Business Operations         Emails with S. Roe re payment of Cobra.                                     0.1   $   355.00   $      35.50
                                                                  Revise Ningbo Sunny supply agreement per feedback from P. Ni and V.
 3/30/2020 Charity Manee         52 - Business Operations         Aniceto and emails with them re same.                                       0.6 $ 355.00 $           213.00


                                                                              28
                           Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                            Desc
                                                        Main Document    Page 69 of 101

Date         User            Activity category                Description                                                         Hours          Rate ($)   Billable ($)
 3/30/2020   Robert Goe      52 - Business Operations         Review insurance memoranda and respond.                                 0.2        $ 495.00   $       99.00
 3/30/2020   Robert Goe      52 - Business Operations         Review Mexico lease removal memoranda.                                  0.2        $ 495.00   $       99.00
 3/30/2020   Robert Goe      52 - Business Operations         Review and revise Ningbo supply agreement.                              0.5        $ 495.00   $      247.50
                                                              Emails with M. Horoupian, H. Rafatjoo re Ningbo Sunny supply
 3/31/2020 Charity Manee     52 - Business Operations         agreement.                                                              0.6        $ 355.00 $       213.00
                                                              Correspondence with client and others re insurance placement and
 3/31/2020 Robert Goe        52 - Business Operations         monthly operating report issues.                                        0.2        $ 495.00 $        99.00
                                                              Review P. Ni memoranda and respond; review and forward for supply
 3/31/2020 Robert Goe        52 - Business Operations         agreement.                                                              0.4        $ 495.00 $       198.00
                                                              Correspondence with Committee counsel and Rafatjoo; work on changes
 3/31/2020 Robert Goe        52 - Business Operations         to supply agreement.                                                    0.5        $ 495.00 $       247.50

  4/1/2020 Charity Manee     52 - Business Operations         Email with V. Aniceto and D. Mehra re need for new 90-day projections.         0.1 $ 355.00 $        35.50
                                                              Call with M. Horoupian, M. Borden and H. Rafatjoo re supply agreement
  4/1/2020 Charity Manee     52 - Business Operations         with Ningbo Sunny.                                                             0.2 $ 355.00 $        71.00
                                                              Revise re supply agreement with Ningbo Sunny and circulate to V.
  4/1/2020 Charity Manee     52 - Business Operations         Aniceto, M. Horoupian, M. Borden and H. Rafatjoo.                              0.8 $ 355.00 $       284.00
  4/1/2020 Robert Goe        52 - Business Operations         Review monthly operating report meemoranda.                                    0.1 $ 495.00 $        49.50
                                                              Correspondence with client and Orion counsel etc. re terms of supply
  4/1/2020 Robert Goe        52 - Business Operations         agreement.                                                                     0.2 $ 495.00 $        99.00
                                                              Correspondence with P. Ni and Victor; review Committee changes and
  4/1/2020 Robert Goe        52 - Business Operations         forward supply agreement for signature.                                        0.3 $ 495.00 $       148.50
                                                              Correspondence with Committee and Orion and finalize supply
  4/1/2020 Robert Goe        52 - Business Operations         agreement.                                                                     0.4 $ 495.00 $       198.00
                                                              Review committee motion for turnover of file materials; including privileged
  4/1/2020 Ron Hodges        52 - Business Operations         writings; draft recommended follow-up.                                         1.4 $ 495.00 $       693.00
  4/2/2020 Robert Goe        52 - Business Operations         Correspondence with Committee re Ningbo orders.                                0.1 $ 495.00 $        49.50
                                                              Correspondence with Matt and others re final supply agreement and
  4/2/2020 Robert Goe        52 - Business Operations         implementing.                                                                  0.2 $ 495.00 $        99.00
                                                              Correspondence with client and review and forward fully executed supply
  4/2/2020 Robert Goe        52 - Business Operations         agreement.                                                                     0.2 $ 495.00 $        99.00
  4/6/2020 Robert Goe        52 - Business Operations         Review bank statements for disbursements and receipts.                         0.4 $ 495.00 $       198.00

  4/6/2020 Robert Goe        52 - Business Operations         Review draft monthly operating report documents and emails re same.             0.4 $ 495.00 $    198.00
                                                                                                                                             169           $ 68,015.00


                                                                           29
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                           Desc
                                                            Main Document    Page 70 of 101

Date         User                Activity category                Description                                                               Hours    Rate ($)     Billable ($)

 12/5/2019 Arthur Johnston       53 - Case Administration         Emails with H. Grobstein re financial advisory services.                     0.4 $ 195.00 $            78.00
 12/5/2019 Arthur Johnston       53 - Case Administration         Preparation of amended BK filings.                                           0.9 $ 195.00 $           175.50
 12/5/2019 Arthur Johnston       53 - Case Administration         Preparation of US Trustee 7 day package.                                     2.9 $ 195.00 $           565.50

 12/5/2019 Charity Manee         53 - Case Administration         Prepare emails with V. Aniceto and S. Roe re U.S. Trustee compliance.        0.2 $ 355.00 $             71.00
                                                                  Review email from M. Sorensen re timing of filing schedules, first day
 12/5/2019   Charity Manee       53 - Case Administration         motions and setting initial debtor interview.                                0.1   $   355.00   $      35.50
 12/5/2019   Robert Goe          53 - Case Administration         Preparation of emergency first day motion.                                   4.2   $   495.00   $   2,079.00
 12/5/2019   Robert Goe          53 - Case Administration         Preparation of US Trustee compliance.                                        0.6   $   495.00   $     297.00
 12/5/2019   Robert Goe          53 - Case Administration         Correspondence with H. Grobstein and client re financial advisers.           0.2   $   495.00   $      99.00
 12/6/2019   Arthur Johnston     53 - Case Administration         Preparation of 20 Largest Unsecured Creditor Service list.                   0.8   $   195.00   $     156.00
 12/6/2019   Arthur Johnston     53 - Case Administration         Preparation of Proof of Service for creditors.                               0.4   $   195.00   $      78.00
 12/6/2019   Arthur Johnston     53 - Case Administration         Preparation of emergency filing documents.                                   0.2   $   195.00   $      39.00
 12/6/2019   Charity Manee       53 - Case Administration         Emails with S. Roe re US Trustee compliance.                                 0.2   $   355.00   $      71.00
 12/6/2019   Robert Goe          53 - Case Administration         Review entity chart.                                                         0.1   $   495.00   $      49.50
                                                                  Phone call with S. Roe regarding Bankruptcy Questionnaire for
 12/9/2019 Arthur Johnston       53 - Case Administration         Completion of Schedules.                                                     0.6 $ 195.00 $           117.00
                                                                  Research District Court Case for background facts on Declaration of V.
 12/9/2019   Arthur Johnston     53 - Case Administration         Aniceto.                                                                     2.5   $   195.00   $     487.50
 12/9/2019   Arthur Johnston     53 - Case Administration         Preparation of bankruptcy schedules.                                         1.8   $   195.00   $     351.00
 12/9/2019   Robert Goe          53 - Case Administration         Correspondence with US Trustee re compliance issues.                         0.2   $   495.00   $      99.00
 12/9/2019   Robert Goe          53 - Case Administration         Preparation of all evidence/projections to support first day motions.        0.4   $   495.00   $     198.00
12/10/2019   Arthur Johnston     53 - Case Administration         Preparation of schedules; review backup documents.                           1.1   $   195.00   $     214.50
12/10/2019   Robert Goe          53 - Case Administration         Review US Trustee compliance memoranda and respond.                          0.8   $   495.00   $     396.00

12/11/2019 Arthur Johnston       53 - Case Administration         Telephonic service re. Order Shortening Time on Hearing for Motions.         2.6 $ 195.00 $           507.00

12/11/2019 Arthur Johnston       53 - Case Administration         Phone call S. Roe regarding completion of Bankruptcy Questionnaire.          0.9 $ 195.00 $           175.50
12/11/2019 Arthur Johnston       53 - Case Administration         Travel to and from Bankruptcy Court re services.                               1 $ 195.00 $           195.00
                                                                  Numerous phone calls with creditors and utilities to give notice of
12/11/2019 Kerry Murphy          53 - Case Administration         emergency First Day Motions set for December 12, 2019.                       1.5 $ 195.00 $           292.50
                                                                  Preparation of Declaration of Telephonic and Notice of Hearing on First
12/11/2019 Kerry Murphy          53 - Case Administration         Day Motions; file same.                                                      0.9 $ 195.00 $           175.50



                                                                                30
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                        Desc
                                                            Main Document    Page 71 of 101

Date         User                Activity category                Description                                                              Hours     Rate ($)     Billable ($)
                                                                  Phone conference with S. Roe regarding 7-day package and balance of
12/12/2019 Arthur Johnston       53 - Case Administration         schedules.                                                                   0.5   $ 195.00 $           97.50
                                                                  Email with Victor re stipulation with US Trustee re payment of insider
12/13/2019   Charity Manee       53 - Case Administration         compensation.                                                                0.3   $   355.00   $     106.50
12/13/2019   Robert Goe          53 - Case Administration         Review and revise first day order.                                           0.5   $   495.00   $     247.50
12/13/2019   Robert Goe          53 - Case Administration         Preparation of schedules and statement of affairs.                           0.7   $   495.00   $     346.50
12/13/2019   Robert Goe          53 - Case Administration         Review asset documents for schedules.                                        0.8   $   495.00   $     396.00
12/14/2019   Charity Manee       53 - Case Administration         Emails from L. Hernandez re IP and acquisition of Meade by Optics.           0.6   $   355.00   $     213.00
12/16/2019   Arthur Johnston     53 - Case Administration         Respond to email from M. Sorensen re compliance.                             0.3   $   195.00   $      58.50
12/16/2019   Arthur Johnston     53 - Case Administration         Preparation of documents for 7 day package.                                  2.9   $   195.00   $     565.50
                                                                  Phone conference with S. Roe, C. Miller, D. Mehra, R. Goe, V. Aniceto
12/16/2019 Arthur Johnston       53 - Case Administration         regarding completion of schedules and IDI.                                   0.8   $ 195.00 $         156.00
12/16/2019 Arthur Johnston       53 - Case Administration         Prepare 7-day package for Meade.                                             3.1   $ 195.00 $         604.50
12/16/2019 Arthur Johnston       53 - Case Administration         Review and revise Schedules and Statement of Affairs.                        1.2   $ 195.00 $         234.00
                                                                  Call with Victor Aniceto, L. Hernandez, S. Roe, D. Mehra re preparing
12/16/2019 Charity Manee         53 - Case Administration         schedules/statements, I.D.I and operations.                                  0.7   $ 355.00 $         248.50
                                                                  Phone call with F. Cadigan (two calls) re insider compensation/joint
12/16/2019 Robert Goe            53 - Case Administration         administration.                                                              0.4   $ 495.00 $         198.00
12/16/2019 Robert Goe            53 - Case Administration         Preparation of amended orders on joint administration.                       0.3   $ 495.00 $         148.50
                                                                  Multiple phone calls with V. Aniceto, S. Roe & L. Hernandez regarding 7-
12/17/2019 Arthur Johnston       53 - Case Administration         day package items.                                                           0.7   $ 195.00 $         136.50
12/17/2019 Arthur Johnston       53 - Case Administration         Phone conference with L. Hernandez re. 7 day package changes.                0.6   $ 195.00 $         117.00
12/17/2019 Arthur Johnston       53 - Case Administration         Revise Debtor's Declaration for 7-day package.                               1.5   $ 195.00 $         292.50
                                                                  Multiple phone calls to S. Roe and L. Hernandez regarding 7-day package
12/17/2019 Arthur Johnston       53 - Case Administration         and request for documents.                                                   1.7   $ 195.00 $         331.50
12/17/2019 Arthur Johnston       53 - Case Administration         Attendance at Initial Debtor Interview and meet with client.                 4.3   $ 195.00 $         838.50
                                                                  Draft Separate Statement of Major Issues and Timetables (joint for Meade
12/17/2019 Charity Manee         53 - Case Administration         and Optics).                                                                 1.5   $ 355.00 $         532.50
12/17/2019 Charity Manee         53 - Case Administration         Emails with A. Johnson and office of UST re 7 Day Package.                   0.2   $ 355.00 $          71.00
12/17/2019 Charity Manee         53 - Case Administration         Emails with A. Johnson and D. Mehra re Debtor's sales tax returns.           0.1   $ 355.00 $          35.50
                                                                  Review multiple emails from S. Roe, R. Goe, V. Aniceto and B. Weiss
12/18/2019 Arthur Johnston       53 - Case Administration         regarding Intellectual property and P&L Statement.                           2.3   $ 195.00 $         448.50
12/18/2019 Robert Goe            53 - Case Administration         Review and revise major issue and time table report.                         0.5   $ 495.00 $         247.50
                                                                  Review list of current, expired, abandoned trademarks and patents to
12/20/2019 Arthur Johnston       53 - Case Administration         prepare balance of bankruptcy schedules.                                     0.9   $ 195.00 $         175.50


                                                                              31
                                Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                             Desc
                                                             Main Document    Page 72 of 101

Date          User                Activity category                Description                                                                   Hours     Rate ($)     Billable ($)
 12/20/2019   Arthur Johnston     53 - Case Administration         Prepare 7-day package.                                                            1.1   $ 195.00     $      214.50
 12/20/2019   Arthur Johnston     53 - Case Administration         Review F.R.B.P. 2015.3 regarding requirements for 341(a) Meeting.                 0.8   $ 195.00     $      156.00
 12/20/2019   Arthur Johnston     53 - Case Administration         Phone conference with S. Roe regarding 2015.3 requirements.                       0.4   $ 195.00     $       78.00
 12/20/2019   Arthur Johnston     53 - Case Administration         Phone call to Judge Bauer's courtroom deputy regarding orders.                    0.2   $ 195.00     $       39.00

12/23/2019 Arthur Johnston        53 - Case Administration         Review and respond to multiple emails regarding insider compensation.             0.3 $ 195.00 $            58.50
                                                                   Prepare email to L. Hernandez re. Insider Compensation of Theresa
12/23/2019    Arthur Johnston     53 - Case Administration         Aniceto.                                                                          0.3   $   195.00   $      58.50
12/23/2019    Arthur Johnston     53 - Case Administration         Review documents to prepare balance of Schedules & SOFA.                          2.1   $   195.00   $     409.50
12/23/2019    Arthur Johnston     53 - Case Administration         Continued preparation balance of Schedules & SOFA.                                2.8   $   195.00   $     546.00
12/23/2019    Arthur Johnston     53 - Case Administration         Prepare Insider compensation for Theresa Aniceto.                                 0.9   $   195.00   $     175.50

12/23/2019 Arthur Johnston        53 - Case Administration         Gather documents to prepare insider compensation for Theresa Aniceto.             0.8 $ 195.00 $           156.00
12/23/2019 Robert Goe             53 - Case Administration         Review creditor documents and instructions re same.                               0.2 $ 495.00 $            99.00
12/24/2019 Arthur Johnston        53 - Case Administration         Continue preparation of the balance of debtor's schedules.                        2.3 $ 195.00 $           448.50
                                                                   Prepare Change of address for creditor Productora de Cajas de Carton
12/24/2019 Arthur Johnston        53 - Case Administration         and Rymax Marketing.                                                              0.4 $ 195.00 $            78.00
12/24/2019 Arthur Johnston        53 - Case Administration         Prepare Form B-26 for Meade.                                                      1.6 $ 195.00 $           312.00
12/24/2019 Robert Goe             53 - Case Administration         Review Mexico documents re operations for reporting.                              0.5 $ 495.00 $           247.50
                                                                   Review and respond to email from V. Aniceto regarding 2015.3
12/26/2019 Arthur Johnston        53 - Case Administration         requirements.                                                                     0.3 $ 195.00 $            58.50
                                                                   Prepare 2015.3 Periodic Report Regarding Value, Operations, and
                                                                   Profitability of Entities in Which the Estate of Meade Instruments Corp
12/26/2019 Arthur Johnston        53 - Case Administration         holds a Substantial or Controlling Interest.                                       3 $ 195.00 $            585.00

12/26/2019 Charity Manee          53 - Case Administration         Emails with V. Aniceto, S. Roe and A. Johnson re Rule 2015.3 reports.             0.3 $ 355.00 $           106.50
                                                                   Review and respond to email from S. Roe Periodic Report regarding
                                                                   Value, Operations and Profitability of Entities in Which the Estate of
12/27/2019 Arthur Johnston        53 - Case Administration         Meade Instruments Corp., holds a Substantial or Controlling Interest.             0.8 $ 195.00 $           156.00
                                                                   Gather documents and prepare filing for Debtor's Periodic Report
                                                                   Regarding Value, Operations and Profitability of Entities In Which the
12/27/2019 Arthur Johnston        53 - Case Administration         Debtor's Estate Holds a substantial or Controlling Interest.                      1.3 $ 195.00 $           253.50
                                                                   Prepare for electronic filing Debtor's Periodic Report Regarding Value,
                                                                   Operations and Profitability of Entities In Which the Debtor's Estate Holds
12/27/2019 Arthur Johnston        53 - Case Administration         a substantial or Controlling Interest.                                            0.4 $ 195.00 $            78.00


                                                                                32
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                            Main Document    Page 73 of 101

Date         User                Activity category                Description                                                                   Hours Rate ($)   Billable ($)
                                                                  New form Debtor's Periodic Report Regarding Value, Operations and
                                                                  Profitability of Entities In Which the Debtor's Estate Holds a substantial or
12/27/2019 Arthur Johnston       53 - Case Administration         Controlling Interest.                                                             1.5 $ 195.00 $      292.50
                                                                  Gather documents to prepare balance of debtor's schedules and
12/27/2019 Arthur Johnston       53 - Case Administration         Statement of Financial Affairs.                                                   0.4 $ 195.00 $       78.00

12/27/2019 Arthur Johnston       53 - Case Administration         Prepare balance of debtor's schedules and Statement of Financial Affairs.    3.4 $ 195.00 $          663.00
12/30/2019 Arthur Johnston       53 - Case Administration         Continue preparation of balance of Schedules and SOFA.                       4.4 $ 195.00 $          858.00
12/30/2019 Robert Goe            53 - Case Administration         Review US Trustee/code compliance documents and responses.                   0.8 $ 495.00 $          396.00
                                                                  Revise Periodic Report Regarding Value, Operations and Profitability of
                                                                  Entities in Which the Estate of Meade Instruments Corp., Holds a
12/31/2019   Arthur Johnston     53 - Case Administration         Substantial or Controlling Interest.                                         1.2   $   195.00   $    234.00
12/31/2019   Arthur Johnston     53 - Case Administration         Revise list of 20 Largest Creditors.                                         0.4   $   195.00   $     78.00
12/31/2019   Arthur Johnston     53 - Case Administration         Electronically file and serve form 426. Fed. R. Bankr. Proc. 2015.3.         0.5   $   195.00   $     97.50
12/31/2019   Arthur Johnston     53 - Case Administration         Continue preparation of balance of Schedules and SOFA.                         3   $   195.00   $    585.00
12/31/2019   Arthur Johnston     53 - Case Administration         Phone conference with S. Roe regarding balance of schedules.                 1.5   $   195.00   $    292.50
12/31/2019   Robert Goe          53 - Case Administration         Revise and revise schedules and statement of affairs.                        0.9   $   495.00   $    445.50
12/31/2019   Robert Goe          53 - Case Administration         Review and revise 2015.3 statements.                                         0.3   $   495.00   $    148.50
  1/2/2020   Arthur Johnston     53 - Case Administration         Revise schedules for client review.                                          1.8   $   195.00   $    351.00
                                                                  Multiple phone calls from S. Roe regarding balance of schedules and
  1/2/2020   Arthur Johnston     53 - Case Administration         other administrative issues.                                                 0.3   $   195.00   $     58.50
  1/2/2020   Charity Manee       53 - Case Administration         Review draft schedules and revise and comment on same.                       2.5   $   355.00   $    887.50
  1/3/2020   Arthur Johnston     53 - Case Administration         Continue revision of schedules.                                              3.2   $   195.00   $    624.00
  1/3/2020   Arthur Johnston     53 - Case Administration         Review and Respond to multiple emails from S. Roe & V. Aniceto.              0.8   $   195.00   $    156.00
  1/3/2020   Arthur Johnston     53 - Case Administration         Review Merger Agreement to complete balance of schedules.                    0.9   $   195.00   $    175.50
                                                                  Review documents from debtor in response to request for documents to
  1/3/2020 Arthur Johnston       53 - Case Administration         complete balance of schedules.                                               0.6 $ 195.00 $          117.00
  1/3/2020 Charity Manee         53 - Case Administration         Emails with S. Roe and AJ re schedules completion.                           0.2 $ 355.00 $           71.00
                                                                  Emails with L. Hernandez and D. Lambilotte re Arent Fox handling IP
  1/3/2020   Charity Manee       53 - Case Administration         profile.                                                                     0.5   $   355.00   $    177.50
  1/3/2020   Robert Goe          53 - Case Administration         Review corporate entity information for schedules.                           0.4   $   495.00   $    198.00
  1/3/2020   Robert Goe          53 - Case Administration         Review DIP check/bank account information.                                   0.3   $   495.00   $    148.50
  1/3/2020   Robert Goe          53 - Case Administration         Review Mexico ownership interest and other merger documents.                 0.4   $   495.00   $    198.00
  1/5/2020   Robert Goe          53 - Case Administration         Review schedules as updated.                                                 0.6   $   495.00   $    297.00
  1/6/2020   Arthur Johnston     53 - Case Administration         Office conference regarding revisions to supplemental schedules.             0.4   $   195.00   $     78.00


                                                                              33
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                            Main Document    Page 74 of 101

Date         User                Activity category                Description                                                               Hours    Rate ($)     Billable ($)
                                                                  Gather spreadsheets, emails and other documentation to revise balance
  1/6/2020 Arthur Johnston       53 - Case Administration         of schedules.                                                                0.5 $ 195.00 $             97.50

  1/6/2020   Arthur Johnston     53 - Case Administration         Continue preparation of balance of bankruptcy petition and schedules.        7.6   $   195.00   $   1,482.00
  1/6/2020   Robert Goe          53 - Case Administration         Review, revise and finalize schedules and SOFA.                              2.8   $   495.00   $   1,386.00
  1/6/2020   Robert Goe          53 - Case Administration         Review client memoranda on schedules and comments thereto.                   0.4   $   495.00   $     198.00
  1/6/2020   Robert Goe          53 - Case Administration         Review Mehra memoranda re US Trustee compliance.                             0.2   $   495.00   $      99.00
                                                                  Review and respond to email from regarding letters to creditors and
  1/7/2020 Arthur Johnston       53 - Case Administration         employees..                                                                  0.3 $ 195.00 $            58.50
  1/7/2020 Robert Goe            53 - Case Administration         Phone call with counsel re case status.                                      0.3 $ 495.00 $           148.50
  1/8/2020 Arthur Johnston       53 - Case Administration         Review revised entity chart provided by L. Hernandez.                        0.3 $ 195.00 $            58.50

  1/8/2020   Arthur Johnston     53 - Case Administration         Review and respond to email from L. Hernadez re. Legal Entity Chart.         0.5   $   195.00   $      97.50
  1/8/2020   Arthur Johnston     53 - Case Administration         Phone call to S. Roe requesting EINs for legal entities.                     0.3   $   195.00   $      58.50
  1/8/2020   Charity Manee       53 - Case Administration         Emails with L. Hernandez re legal entity chart/ affiliate statuses.          0.3   $   355.00   $     106.50
  1/8/2020   Robert Goe          53 - Case Administration         Review corporate documents.                                                  0.4   $   495.00   $     198.00
  1/8/2020   Robert Goe          53 - Case Administration         Review updated organization chart.                                           0.1   $   495.00   $      49.50

                                                                  Phone call with L. Hernandez re corporate organization chart. Status of
  1/9/2020 Arthur Johnston       53 - Case Administration         Simmons Outdoor Corp., and Meade Instruments (Guangzhou) co. Ltd.            1.7 $ 195.00 $           331.50
                                                                  Gather 7-day package documents to send to M. Horoupian and prepare
  1/9/2020 Arthur Johnston       53 - Case Administration         emails with attachments.                                                     1.6 $ 195.00 $           312.00
                                                                  Review and respond to emails from S. Roe regarding DIP accounts and
  1/9/2020   Arthur Johnston     53 - Case Administration         other US Trustee compliance.                                                 0.6   $   195.00   $     117.00
  1/9/2020   Arthur Johnston     53 - Case Administration         Format 2017, 2018 & 2019 P&L for Committee production.                       0.8   $   195.00   $     156.00
 1/10/2020   Robert Goe          53 - Case Administration         Review Grobstein filings.                                                    0.3   $   495.00   $     148.50
 1/13/2020   Arthur Johnston     53 - Case Administration         Prepare Supplemental USTLA 3 Declaration re. USTO Guidelines.                0.6   $   195.00   $     117.00
 1/13/2020   Arthur Johnston     53 - Case Administration         Redact bank signature cards and new DIP Check.                               0.6   $   195.00   $     117.00
 1/13/2020   Arthur Johnston     53 - Case Administration         Prepare caption documents for joint administration.                          0.6   $   195.00   $     117.00
 1/13/2020   Robert Goe          53 - Case Administration         Review corporate merger documents.                                           0.6   $   495.00   $     297.00
                                                                  Gather P&L, Balance Sheets & Accounts receivable for
 1/14/2020 Arthur Johnston       53 - Case Administration         Committee/Broadway.                                                          0.8 $ 195.00 $           156.00
                                                                  Review 9 emails between R. Goe, M. Horoupian, and V. Aniceto
                                                                  regarding creditors committee, patents and trademarks and other matters
 1/14/2020 Arthur Johnston       53 - Case Administration         for investment banker.                                                       0.6 $ 195.00 $           117.00


                                                                              34
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                           Desc
                                                            Main Document    Page 75 of 101

Date         User                Activity category                Description                                                                 Hours     Rate ($)     Billable ($)
 1/17/2020   Arthur Johnston     53 - Case Administration         Email case law to R. Goe.                                                       0.3   $ 195.00     $       58.50
 1/17/2020   Robert Goe          53 - Case Administration         Review and respond re advertising donations.                                    0.1   $ 495.00     $       49.50
 1/23/2020   Robert Goe          53 - Case Administration         Correspondence with O. Katz and calls re case issues.                           0.3   $ 495.00     $      148.50
                                                                  Review and respond to email from S. Roe regarding outstanding checks
 1/28/2020 Arthur Johnston       53 - Case Administration         from pre-petition bank account.                                                 0.3 $ 195.00 $            58.50
 1/28/2020 Robert Goe            53 - Case Administration         Correspondence with client re accountants.                                      0.2 $ 495.00 $            99.00
                                                                  Correspondence with Victor and review memoranda re computerized
 1/31/2020   Robert Goe          53 - Case Administration         telescopes.                                                                     0.3   $   495.00   $     148.50
  2/4/2020   Robert Goe          53 - Case Administration         Review Grobstein order.                                                         0.1   $   495.00   $      49.50
  2/5/2020   Robert Goe          53 - Case Administration         Review consolidation order.                                                     0.1   $   495.00   $      49.50
 2/13/2020   Robert Goe          53 - Case Administration         Preparation of schedule G of executing contracts.                               0.6   $   495.00   $     297.00

 2/18/2020 Arthur Johnston       53 - Case Administration         Telephone call with S. Roe, regarding paying professional fees and costs.       0.3 $ 195.00 $            58.50
                                                                  Review and revise amended schedule G re international distribution
 2/21/2020 Robert Goe            53 - Case Administration         agreements.                                                                     0.4 $ 495.00 $           198.00

 2/24/2020 Robert Goe            53 - Case Administration         Review credit card memoranda and over payment and forward to client.            0.2 $ 495.00 $            99.00
                                                                  Correspondence with Victor and review memoranda re producing
 2/24/2020 Robert Goe            53 - Case Administration         Sheppard.                                                                       0.3 $ 495.00 $           148.50
 2/27/2020 Robert Goe            53 - Case Administration         Review Broadway filings.                                                        0.2 $ 495.00 $            99.00

  3/4/2020 Charity Manee         53 - Case Administration         Finalize motion to extend time to assume or reject real property lease.         0.6 $ 355.00 $           213.00
  3/4/2020 Charity Manee         53 - Case Administration         Finalize motion to obtain new risk insurance.                                   0.5 $ 355.00 $           177.50
  3/6/2020 Robert Goe            53 - Case Administration         Preparation with amended Schedule G.                                            0.4 $ 495.00 $           198.00
                                                                  Review February 2020 Monthly Operating Report for completeness and
 3/12/2020 Arthur Johnston       53 - Case Administration         redaction.                                                                      0.5 $ 195.00 $            97.50
 3/12/2020 Arthur Johnston       53 - Case Administration         Prepare Proof of Service for February Monthly Operating Report.                 0.4 $ 195.00 $            78.00
                                                                  Prepare United States Coversheet for transmittal of February 2020
 3/12/2020 Arthur Johnston       53 - Case Administration         Monthly Operating Report.                                                       0.4 $ 195.00 $            78.00
                                                                  Prepare email to United States Trustee Compliance with copy of February
 3/12/2020 Arthur Johnston       53 - Case Administration         2020 Monthly Operating Report.                                                  0.4 $ 195.00 $            78.00

 3/12/2020 Arthur Johnston       53 - Case Administration         Electronically file with court February 2020 Monthly Operating Report.          0.4 $ 195.00 $            78.00
 3/12/2020 Robert Goe            53 - Case Administration         Review Court rulings.                                                           0.1 $ 495.00 $            49.50
 3/13/2020 Arthur Johnston       53 - Case Administration         Review insurance documents.                                                     1.3 $ 195.00 $           253.50


                                                                              35
                               Case 8:19-bk-14714-MW        Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                            Main Document    Page 76 of 101

Date         User                Activity category                Description                                                                Hours     Rate ($)     Billable ($)
                                                                  Phone conference with R. Goe & C. Miller regarding response to Motion
 3/18/2020 Arthur Johnston       53 - Case Administration         for Relief From Stay                                                          0.3 $ 195.00 $             58.50
 3/18/2020 Robert Goe            53 - Case Administration         Phone call with Court and revise employment orders.                           0.5 $ 495.00 $            247.50

 3/20/2020 Arthur Johnston       53 - Case Administration         Prepare Opposition to Orion's Motion for Relief From the Automatic Stay.      3.1 $ 195.00 $            604.50
                                                                  Prepare Declaration of Victor Aniceto in Support of Opposition to Motion
 3/20/2020 Arthur Johnston       53 - Case Administration         for Relief From the Automatic Stay.                                           2.4 $ 195.00 $            468.00
                                                                  Review multiple emails from and to V. Aniceto, R. Goe, L. Hernandez, M.
 3/24/2020 Arthur Johnston       53 - Case Administration         Horoupian, and G. Clarkson.                                                   0.4 $ 195.00 $              78.00
 3/24/2020 Arthur Johnston       53 - Case Administration         Prepare Amended Schedule B.                                                   0.5 $ 195.00 $              97.50

 3/24/2020   Robert Goe          53 - Case Administration         Preparation of amended schedules re claims against Sheppard Mullin.           0.5    $   495.00   $     247.50
 3/25/2020   Arthur Johnston     53 - Case Administration         Review multiple emails to from R.Goe and V. Aniceto                           0.3    $   195.00   $      58.50
 3/26/2020   Robert Goe          53 - Case Administration         Legal research re amending petition to SBRA.                                  0.4    $   495.00   $     198.00
 3/26/2020   Robert Goe          53 - Case Administration         Correspondence with Victor re providing Court orders for objection.           0.1    $   495.00   $      49.50
                                                                  Review multiple emails to and from P. Ni and V. Aniceto re supply
 3/31/2020 Arthur Johnston       53 - Case Administration         agreement.                                                                    0.3 $ 195.00 $              58.50

  4/1/2020 Arthur Johnston       53 - Case Administration         Review email from V. Aniceto with multiple attachments re operations.         0.4 $ 195.00 $              78.00
                                                                  Review, sort and organize 25 emails from Debtor, R. Goe, M. Horoupian,
  4/2/2020   Arthur Johnston     53 - Case Administration         M.Borden, A. Malik.                                                           0.6    $   195.00   $     117.00
  4/2/2020   Robert Goe          53 - Case Administration         Correspondence with G. Clarkson re employment and other matters.              0.3    $   495.00   $     148.50
  4/3/2020   Arthur Johnston     53 - Case Administration         Prepare Amended Schedule B, H, and Summary Coverpage.                         1.7    $   195.00   $     331.50
  4/3/2020   Arthur Johnston     53 - Case Administration         Review revisions to Schedules re litigation claims.                           0.4    $   195.00   $      78.00
  4/3/2020   Charity Manee       53 - Case Administration         Emails with V. Aniceto re labor/wage reimbursement claims.                    0.5    $   355.00   $     177.50
  4/3/2020   Charity Manee       53 - Case Administration         Review and revise amended Schedules A/B and H.                                0.7    $   355.00   $     248.50
                                                                  Review schedules to revise Schedule A/B. Extract exhibits for Amended
  4/6/2020 Arthur Johnston       53 - Case Administration         Schedule A/B & H.                                                                  1 $ 195.00 $         195.00
                                                                  Format Fixed Asset Depreciation Spreadsheet for attachment to
  4/6/2020 Arthur Johnston       53 - Case Administration         Schedules.                                                                    1.1 $ 195.00 $            214.50
                                                                  Prepare email to S.Roe requesting information to respond to Form A/B
  4/6/2020 Arthur Johnston       53 - Case Administration         Question 25.                                                                  0.4 $ 195.00 $     78.00
  4/6/2020 Arthur Johnston       53 - Case Administration         Review litigation documents for schedules.                                    0.7 $ 195.00 $    136.50
  4/6/2020 Robert Goe            53 - Case Administration         Phone call with Dimple re fee application.                                    0.1 $ 495.00 $     49.50
                                                                                                                                              153.1          $ 38,774.50


                                                                              36
                               Case 8:19-bk-14714-MW             Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                                 Desc
                                                                 Main Document    Page 77 of 101

Date         User                Activity category                         Description                                                                 Hours    Rate ($)     Billable ($)

 12/5/2019 Charity Manee         54 - Claims Administration & Objections   Review entry of partial judgment against Ningbo Sunny.                         0.2 $ 355.00 $             71.00
 12/5/2019 Robert Goe            54 - Claims Administration & Objections   Phone call with R. Marshack re creditors claims.                               0.2 $ 495.00 $             99.00
 12/6/2019 Arthur Johnston       54 - Claims Administration & Objections   Preparation of creditor service list.                                          0.3 $ 195.00 $             58.50

 12/6/2019 Arthur Johnston       54 - Claims Administration & Objections   Legal research re UCC Search for Bibby International Trade Finance lien.       0.5 $ 195.00 $            97.50
 12/6/2019 Robert Goe            54 - Claims Administration & Objections   Correspondence with creditors re status.                                       0.3 $ 495.00 $           148.50
 12/9/2019 Arthur Johnston       54 - Claims Administration & Objections   Preparation of DIP Letter for multiple creditors.                              0.7 $ 195.00 $           136.50

 12/9/2019   Robert Goe          54 - Claims Administration & Objections   Phone call with client re operations and efforts to resolve Orion claims.      0.3   $   495.00   $     148.50
12/10/2019   Robert Goe          54 - Claims Administration & Objections   Phone call with R. Marshack re creditor claims.                                0.3   $   495.00   $     148.50
12/11/2019   Robert Goe          54 - Claims Administration & Objections   Review Orion filings.                                                          0.2   $   495.00   $      99.00
12/12/2019   Robert Goe          54 - Claims Administration & Objections   Correspondence with creditors re case status.                                  0.4   $   495.00   $     198.00
12/13/2019   Robert Goe          54 - Claims Administration & Objections   Review Orion filings.                                                          0.1   $   495.00   $      49.50
12/13/2019   Robert Goe          54 - Claims Administration & Objections   Phone call with creditors attorney re case status.                             0.7   $   495.00   $     346.50

12/16/2019   Robert Goe          54 - Claims Administration & Objections   Phone call with K. Owen's re creditor claims (returned call) (two calls).      0.2   $   495.00   $      99.00
12/16/2019   Robert Goe          54 - Claims Administration & Objections   Review ORCA claim memoranda.                                                   0.1   $   495.00   $      49.50
12/17/2019   Robert Goe          54 - Claims Administration & Objections   Phone call with Hamid re sale and other issues.                                0.3   $   495.00   $     148.50
12/18/2019   Robert Goe          54 - Claims Administration & Objections   Review order limiting notice.                                                  0.1   $   495.00   $      49.50
12/19/2019   Robert Goe          54 - Claims Administration & Objections   Correspondence with R. Marshack and review creditor documents.                 0.4   $   495.00   $     198.00
12/23/2019   Robert Goe          54 - Claims Administration & Objections   Correspondence with C. Crowell and client re creditor inquiries.               0.2   $   495.00   $      99.00
12/23/2019   Robert Goe          54 - Claims Administration & Objections   Phone call with C. Crowell re bank claim.                                      0.2   $   495.00   $      99.00
12/24/2019   Robert Goe          54 - Claims Administration & Objections   Review creditor documents.                                                     0.2   $   495.00   $      99.00
                                                                           Prepare changes of address for: Creditors Productora de Cajas de Carton
12/26/2019   Arthur Johnston     54 - Claims Administration & Objections   & Rymax.                                                                       0.4   $   195.00   $      78.00
12/30/2019   Arthur Johnston     54 - Claims Administration & Objections   Review case online to obtain current mailing list.                             0.6   $   195.00   $     117.00
12/31/2019   Robert Goe          54 - Claims Administration & Objections   Preparation of revised 20 largest list.                                        0.4   $   495.00   $     198.00
  1/2/2020   Arthur Johnston     54 - Claims Administration & Objections   Research statue of limitations for Delaware UCC Filings.                       1.3   $   195.00   $     253.50
  1/3/2020   Robert Goe          54 - Claims Administration & Objections   Review client creditor memoranda.                                              0.2   $   495.00   $      99.00
  1/6/2020   Arthur Johnston     54 - Claims Administration & Objections   Prepare Motion to Set Bar Date                                                 0.4   $   195.00   $      78.00
                                                                           Review filings of Sheppard Mullin on behalf of Ningbo Sunny in District
                                                                           Court to obtain credit from settlement between Orion and third parties
  1/6/2020 Charity Manee         54 - Claims Administration & Objections   toward judgment amount.                                                        0.3 $ 355.00 $           106.50
  1/6/2020 Robert Goe            54 - Claims Administration & Objections   Review utility claims filed.                                                   0.2 $ 495.00 $            99.00


                                                                                         37
                               Case 8:19-bk-14714-MW             Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                                 Desc
                                                                 Main Document    Page 78 of 101

Date         User                Activity category                         Description                                                               Hours     Rate ($)     Billable ($)
                                                                           Prepare Notice of Motion and Motion for Setting of Claims Bar Date; and
  1/7/2020 Arthur Johnston       54 - Claims Administration & Objections   Order thereon.                                                                1.2 $ 195.00 $           234.00
  1/7/2020 Robert Goe            54 - Claims Administration & Objections   Preparation of bar date for claims.                                           0.6 $ 495.00 $           297.00

  1/8/2020 Arthur Johnston       54 - Claims Administration & Objections   file and prepare Notice of Motion and Motion to Set Claims Bar Date.          0.6 $ 195.00 $           117.00
  1/8/2020 Arthur Johnston       54 - Claims Administration & Objections   Review and analysis of claims for objection.                                  0.7 $ 195.00 $           136.50
                                                                           Phone conference with Courtroom Deputy regarding delay of entry of
                                                                           Order Granting Motion to Set Bar Date at Attorney for Unsecured
  1/9/2020   Arthur Johnston     54 - Claims Administration & Objections   Creditors Committee's request.                                                0.2   $   195.00   $      39.00
  1/9/2020   Robert Goe          54 - Claims Administration & Objections   Review bar date documents/status.                                             0.2   $   495.00   $      99.00
  1/9/2020   Robert Goe          54 - Claims Administration & Objections   Phone call with O. Katz re Sheppard lien.                                     0.2   $   495.00   $      99.00
 1/10/2020   Robert Goe          54 - Claims Administration & Objections   Correspondence with O. Katz and calls re Sheppard Mullins claim.              0.4   $   495.00   $     198.00

 1/15/2020 Arthur Johnston       54 - Claims Administration & Objections   Review proof of claim form with debtor information for Meade vendors.         0.4 $ 195.00 $            78.00
 1/15/2020 Robert Goe            54 - Claims Administration & Objections   Correspondence with Victor and Dimple re administrative claim.                0.2 $ 495.00 $            99.00
 1/17/2020 Robert Goe            54 - Claims Administration & Objections   Phone call with Mark, Hamid and others re Orion claims.                       0.6 $ 495.00 $           297.00
                                                                           Correspondence with client and review Custom's Bond and insurance
 1/17/2020   Robert Goe          54 - Claims Administration & Objections   information.                                                                  0.4   $   495.00   $     198.00
 1/17/2020   Robert Goe          54 - Claims Administration & Objections   Legal research re subordinating portions of Orion judgment.                   0.7   $   495.00   $     346.50
 1/21/2020   Robert Goe          54 - Claims Administration & Objections   Review bonding issues and potential stay violation.                           0.9   $   495.00   $     445.50
 1/21/2020   Robert Goe          54 - Claims Administration & Objections   Correspondence with Committee re bonding issues.                              0.2   $   495.00   $      99.00
 1/21/2020   Robert Goe          54 - Claims Administration & Objections   Preparation of instructions re bar date/order.                                0.2   $   495.00   $      99.00
 1/21/2020   Robert Goe          54 - Claims Administration & Objections   Correspondence with F. Cadigan and revise bar date order.                     0.3   $   495.00   $     148.50
                                                                           Phone call with insurance company counsel re Customs Bond and review
 1/21/2020   Robert Goe          54 - Claims Administration & Objections   US Customs correspondence and forward to client.                              0.6   $   495.00   $     297.00
 1/27/2020   Robert Goe          54 - Claims Administration & Objections   Review Aerotek claim.                                                         0.1   $   495.00   $      49.50
 1/29/2020   Robert Goe          54 - Claims Administration & Objections   Review McMaster 503(b)(9) claim.                                              0.2   $   495.00   $      99.00
 1/29/2020   Robert Goe          54 - Claims Administration & Objections   Preparation of notice of claims bar date.                                     0.4   $   495.00   $     198.00
 1/30/2020   Arthur Johnston     54 - Claims Administration & Objections   Prepare Notice of Last Date to File Proofs of Claims.                         0.3   $   195.00   $      58.50
 1/31/2020   Arthur Johnston     54 - Claims Administration & Objections   Prepare and serve notice of Bar Date for Filing of Proofs of Claims.          3.3   $   195.00   $     643.50
  2/3/2020   Robert Goe          54 - Claims Administration & Objections   Review bar date issues.                                                       0.2   $   495.00   $      99.00
 2/12/2020   Robert Goe          54 - Claims Administration & Objections   Review Kuehne & Nagel claim and backup for objection.                         0.3   $   495.00   $     148.50
 2/13/2020   Robert Goe          54 - Claims Administration & Objections   Review PSC and other trade claims for objection.                              0.3   $   495.00   $     148.50
 2/14/2020   Robert Goe          54 - Claims Administration & Objections   Phone call with Pacific Rim re claim.                                         0.2   $   495.00   $      99.00
 2/16/2020   Robert Goe          54 - Claims Administration & Objections   Review Oren Elliott claim.                                                    0.1   $   495.00   $      49.50


                                                                                       38
                             Case 8:19-bk-14714-MW             Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                                 Desc
                                                               Main Document    Page 79 of 101

Date       User                Activity category                         Description                                                          Hours           Rate ($) Billable ($)
 2/22/2020 Robert Goe          54 - Claims Administration & Objections   Review trade creditor claims for objection.                              0.3         $ 495.00 $      148.50
                                                                         Review insurance memoranda/spreadsheet for motion and emails with
 2/25/2020   Robert Goe        54 - Claims Administration & Objections   client.                                                                  0.4         $   495.00   $   198.00
  3/1/2020   Robert Goe        54 - Claims Administration & Objections   Review Freight claims.                                                   0.2         $   495.00   $    99.00
  3/3/2020   Robert Goe        54 - Claims Administration & Objections   Correspondence with client re claims bar date.                           0.1         $   495.00   $    49.50
  3/3/2020   Robert Goe        54 - Claims Administration & Objections   Correspondence with client re creditor inquiries request bar date.       0.1         $   495.00   $    49.50
                                                                         Review and respond to multiple emails from S. Roe and Kuehne + Nagel
  3/4/2020 Arthur Johnston     54 - Claims Administration & Objections   regarding pre-petition debt.                                             0.4         $ 195.00 $        78.00

  3/4/2020   Charity Manee     54 - Claims Administration & Objections   Emails with A. Malik, V. Aniceto and S. Roe re Kheune & Nagle claims.          0.5   $   355.00   $   177.50
  3/4/2020   Robert Goe        54 - Claims Administration & Objections   Correspondence with Anne at K&N re claim.                                      0.2   $   495.00   $    99.00
  3/4/2020   Robert Goe        54 - Claims Administration & Objections   Correspondence with client re 503(b)(9) claims.                                0.3   $   495.00   $   148.50
  3/4/2020   Robert Goe        54 - Claims Administration & Objections   Review K&N invoice re administrative claim.                                    0.2   $   495.00   $    99.00
  3/5/2020   Robert Goe        54 - Claims Administration & Objections   Correspondence with Annie at K&N re paying administrative claim.               0.2   $   495.00   $    99.00
  3/6/2020   Robert Goe        54 - Claims Administration & Objections   Review AAS claim for objection.                                                0.2   $   495.00   $    99.00
  3/9/2020   Robert Goe        54 - Claims Administration & Objections   Correspondence with K&N and review backup for claim.                           0.3   $   495.00   $   148.50
 3/10/2020   Charity Manee     54 - Claims Administration & Objections   Call with Victor Aniceto re Sheppard Mullin lien.                              0.3   $   355.00   $   106.50

 3/10/2020 Charity Manee       54 - Claims Administration & Objections   Emails with Victor Aniceto and review documents re Sheppard Mullin lien.       1.5 $ 355.00 $         532.50
                                                                         Email from A. Malik re request for letter from Debtor re outstanding debt to
 3/12/2020 Charity Manee       54 - Claims Administration & Objections   Keuhne & Nagle.                                                                0.2 $ 355.00 $          71.00
                                                                         Correspondence with client and K&N; review documents to verify claim
 3/12/2020 Robert Goe          54 - Claims Administration & Objections   amount.                                                                        0.2 $ 495.00 $          99.00
 3/16/2020 Robert Goe          54 - Claims Administration & Objections   Review K&N invoices.                                                           0.2 $ 495.00 $          99.00

 3/16/2020 Robert Goe          54 - Claims Administration & Objections   Phone call with Lenora re immigration issues and employee claim issues.        0.3 $ 495.00 $         148.50
 3/16/2020 Robert Goe          54 - Claims Administration & Objections   Review memoranda re priority employee claims.                                  0.5 $ 495.00 $         247.50
                                                                         Review client HR memoranda re potential priority claim and Company
 3/16/2020 Robert Goe          54 - Claims Administration & Objections   documents.                                                                     0.6 $ 495.00 $         297.00
 3/18/2020 Robert Goe          54 - Claims Administration & Objections   Review XPO Claim and back up.                                                  0.2 $ 495.00 $          99.00
                                                                         Review and analysis of portion of writings relating to counsel's attempt to
 3/20/2020 Ron Hodges          54 - Claims Administration & Objections   withdraw and potential claims.                                                 0.8 $ 495.00 $         396.00
                                                                         Emails with M. Horoupian and G. Clarkson re possible security interest in
 3/23/2020 Charity Manee       54 - Claims Administration & Objections   favor of Sunny against Meade IP.                                               0.3 $ 355.00 $         106.50



                                                                                      39
                                Case 8:19-bk-14714-MW             Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                                 Desc
                                                                  Main Document    Page 80 of 101

Date         User                 Activity category                         Description                                                            Hours     Rate ($)     Billable ($)
                                                                            Emails with V. Aniceto and L. Hernandez re reimbursement of expenses/
 3/24/2020 Charity Manee          54 - Claims Administration & Objections   wage claims of employees.                                                  0.5   $ 355.00 $         177.50
 3/24/2020 Elizabeth LaRocque     54 - Claims Administration & Objections   Research and draft memorandum regarding CRPC 1.8.1 (3-300)                 1.7   $ 375.00 $         637.50
                                                                            Legal research re Rules of Professional Conduct 3-300 to void Sheppard
 3/24/2020 Robert Goe             54 - Claims Administration & Objections   Mullin lien.                                                               0.9   $ 495.00 $         445.50
 3/24/2020 Robert Goe             54 - Claims Administration & Objections   Review client memoranda and response re employee expenses.                 0.3   $ 495.00 $         148.50
                                                                            Correspondence with client and review documents re employee expenses
 3/24/2020 Robert Goe             54 - Claims Administration & Objections   claims to pay and priority status.                                         0.6   $ 495.00 $         297.00
 3/26/2020 Charity Manee          54 - Claims Administration & Objections   Emails with L. Hernandez re employee reimbursement.                        0.2   $ 355.00 $          71.00
 3/26/2020 Robert Goe             54 - Claims Administration & Objections   Correspondence with client and forward Sheppard Mullin order.              0.2   $ 495.00 $          99.00
                                                                            Correspondence with clients and review memoranda re lease guaranty
 3/29/2020 Robert Goe             54 - Claims Administration & Objections   issues re Mexico.                                                          0.2   $ 495.00 $           99.00
 3/30/2020 Charity Manee          54 - Claims Administration & Objections   Emails with L. Hernandez re payment of employee benefits.                  0.2   $ 355.00 $           71.00
 3/30/2020 Robert Goe             54 - Claims Administration & Objections   Phone call with client re administrative claims.                           0.1   $ 495.00 $           49.50
                                                                            Correspondence with client and review memoranda for paying priority
 3/30/2020 Robert Goe             54 - Claims Administration & Objections   employee claims.                                                           0.2   $ 495.00 $           99.00
                                                                            Review letter from L. Caseria re Sheppard Mullin response to Meade's
 3/31/2020 Charity Manee          54 - Claims Administration & Objections   request for documents re lien.                                             0.1   $ 355.00 $           35.50
                                                                            Correspondence with Victor; review Sheppard Mullin response on
 3/31/2020   Robert Goe           54 - Claims Administration & Objections   documents.                                                                 0.2   $   495.00   $      99.00
  4/1/2020   Charity Manee        54 - Claims Administration & Objections   Emails with S. Roe and A. Malik re Kuehne & Nagle debts.                   0.1   $   355.00   $      35.50
  4/1/2020   Robert Goe           54 - Claims Administration & Objections   Delta Marketing claim for objection as priority claim.                     0.3   $   495.00   $     148.50
  4/1/2020   Robert Goe           54 - Claims Administration & Objections   Correspondence with client and G. Clarkson re Sheppard lien of IP.         0.2   $   495.00   $      99.00
                                                                            Review Sheppard Mullin documents/emails for Committee production and
  4/1/2020 Robert Goe             54 - Claims Administration & Objections   to challenge liens.                                                        0.7   $ 495.00 $         346.50

  4/1/2020 Robert Goe             54 - Claims Administration & Objections   Correspondence with Victor re administrative and priority employee claim.     0.1 $ 495.00 $          49.50
  4/1/2020 Robert Goe             54 - Claims Administration & Objections   Review memoranda re K&N claim.                                                0.1 $ 495.00 $          49.50
  4/2/2020 Robert Goe             54 - Claims Administration & Objections   Review County claim.                                                          0.1 $ 495.00 $          49.50

  4/2/2020 Robert Goe             54 - Claims Administration & Objections   Phone call with Victor re Sheppard Mullin issue and supply agreement.         0.3 $ 495.00 $        148.50

  4/3/2020 Robert Goe             54 - Claims Administration & Objections   Review labor issues and calls and emails with Victor re priority claims.      0.4 $ 495.00 $        198.00
  4/3/2020 Robert Goe             54 - Claims Administration & Objections   Review Sheppard Mullin IP lien documents.                                     0.4 $ 495.00 $        198.00
  4/3/2020 Robert Goe             54 - Claims Administration & Objections   Phone call with Victor re Orion issues.                                       0.2 $ 495.00 $         99.00


                                                                                         40
                             Case 8:19-bk-14714-MW             Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                             Desc
                                                               Main Document    Page 81 of 101

Date       User                Activity category                         Description                                                            Hours Rate ($)   Billable ($)
                                                                         Correspondence with client re 503(b)(9) claims and review memoranda re
  4/6/2020 Robert Goe          54 - Claims Administration & Objections   same.                                                                      0.2 $ 495.00 $       99.00
                                                                                                                                                   40.7          $ 15,936.50

                                                                         Preparation of Application to Employ Goe Forsythe & Hodges as Attorney
 12/9/2019 Arthur Johnston     56 - Fee/Employment Applications          for Debtor.                                                                0.8 $ 195.00 $     156.00
 12/9/2019 Robert Goe          56 - Fee/Employment Applications          Review and revise employment application.                                  0.5 $ 495.00 $     247.50
                                                                         Preparation of Service list for Employment of Goe Forsythe & Hodges
12/10/2019 Arthur Johnston     56 - Fee/Employment Applications          LLP.                                                                       0.2 $ 195.00 $      39.00
                                                                         preparation of and serve Notice of Application and Application of Debtor
                                                                         and Debtor-in-Possession for Authority to Employ Goe Forsythe & Hodges
                                                                         LLP, as Chapter 11 General Bankruptcy Counsel; Declaration of Robert P.
12/10/2019 Arthur Johnston     56 - Fee/Employment Applications          Goe in Support Thereof.                                                    1.2 $ 195.00 $     234.00
                                                                         Prepare service list and serve Application for Employ Goe Forsythe and
12/12/2019 Arthur Johnston     56 - Fee/Employment Applications          Hodges.                                                                    2.7 $ 195.00 $     526.50
12/20/2019 Arthur Johnston     56 - Fee/Employment Applications          Prepare Notice of Insider Compensation for Theresa Aniceto.                0.3 $ 195.00 $      58.50
                                                                         Prepare Declaration that No Party Requested a Hearing on Motion to
  1/2/2020 Arthur Johnston     56 - Fee/Employment Applications          Employ Goe Forsythe & Hodges LLP.                                          0.4 $ 195.00 $      78.00

  1/2/2020 Arthur Johnston     56 - Fee/Employment Applications          Prepare Order Granting Employment of Goe Forsythe & Hodges LLP.            0.3 $ 195.00 $      58.50
  1/3/2020 Arthur Johnston     56 - Fee/Employment Applications          Prepare proof of service list for Declaration of No Opposition.            0.4 $ 195.00 $      78.00
                                                                         Check Pacer for opposition to Application to Employ GF&H as attorney for
  1/3/2020 Arthur Johnston     56 - Fee/Employment Applications          debtor.                                                                    0.2 $ 195.00 $      39.00
  1/3/2020 Robert Goe          56 - Fee/Employment Applications          Preparation of declaration/order on GF&H employment.                       0.5 $ 495.00 $     247.50
  1/6/2020 Arthur Johnston     56 - Fee/Employment Applications          Revise and upload Order Granting Employment of GF&H                        0.3 $ 195.00 $      58.50
                                                                         Prepare Order Granting Debtor's Application to Employ Goe Forsythe &
  1/9/2020 Arthur Johnston     56 - Fee/Employment Applications          Hodges LLP.                                                                0.3 $ 195.00 $      58.50
 1/13/2020 Robert Goe          56 - Fee/Employment Applications          Preparation of 1st professional fee statement.                             0.8 $ 495.00 $     396.00
                                                                         Telephone conference with Judge Bauer's Courtroom Deputy regarding
 1/30/2020 Arthur Johnston     56 - Fee/Employment Applications          Lodged Orders.                                                             0.3 $ 195.00 $      58.50
                                                                         Upload 3rd Time Order to employ Goe Forsythe & Hodges as Attorneys
 1/30/2020 Arthur Johnston     56 - Fee/Employment Applications          for Debtors Meade Instruments and Sunny Optics.                            0.3 $ 195.00 $      58.50
  2/4/2020 Robert Goe          56 - Fee/Employment Applications          Review GF&H employment order.                                              0.1 $ 495.00 $      49.50
 2/10/2020 Robert Goe          56 - Fee/Employment Applications          Preparation of fee application; revise time entries.                       0.5 $ 495.00 $     247.50



                                                                                     41
                               Case 8:19-bk-14714-MW              Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                                Desc
                                                                  Main Document    Page 82 of 101

Date         User                Activity category                      Description                                                                  Hours      Rate ($)     Billable ($)
                                                                        Preparation of Notice to Professionals to File Fee Applications, filed and
  3/4/2020 Kerry Murphy          56 - Fee/Employment Applications       served same.                                                                         1 $ 195.00 $          195.00
                                                                        Correspondence with Committee and execute 45 day notice to
  3/4/2020 Robert Goe            56 - Fee/Employment Applications       professionals.                                                                    0.3 $ 495.00 $           148.50
 3/17/2020 Robert Goe            56 - Fee/Employment Applications       Preparation of first interim fee application.                                     4.5 $ 495.00 $         2,227.50
 3/20/2020 Robert Goe            56 - Fee/Employment Applications       Preparation of fee application; review and revise time entries.                   0.5 $ 495.00 $           247.50

 3/31/2020   Arthur Johnston     56 - Fee/Employment Applications       Begin review of time entries to prepare application for fees and costs.             1   $   195.00   $     195.00
 3/31/2020   Arthur Johnston     56 - Fee/Employment Applications       Begin preparation of Interim Application for Fees & Costs.                        2.3   $   195.00   $     448.50
  4/1/2020   Arthur Johnston     56 - Fee/Employment Applications       Prepare First Interim application of Goe Forsythe & Hodges LLP.                   8.5   $   195.00   $   1,657.50
  4/2/2020   Arthur Johnston     56 - Fee/Employment Applications       Prepare First Interim Application of Goe Forsythe & Hodges LLP.                   7.7   $   195.00   $   1,501.50
  4/3/2020   Arthur Johnston     56 - Fee/Employment Applications       Prepare First Interim Application of Goe Forsythe & Hodges LLP.                   3.4   $   195.00   $     663.00
                                                                                                                                                         39.3                $   9,973.50

 1/23/2020 Robert Goe            57 - Fee/Employment Objections         Review Sulmeyer application for objection.                                        0.3 $ 495.00 $           148.50
                                                                                                                                                          0.3          $           148.50

                                                                        Emails with L. Caseria of Sheppard Mullin re consenting to use of cash
 12/6/2019 Charity Manee         58 - Financing                         collateral.                                                                       0.2 $ 355.00 $             71.00
                                                                        Emails with R. Brunette of Sheppard Mullin re consenting to use of cash
 12/6/2019 Charity Manee         58 - Financing                         collateral.                                                                       0.2 $ 355.00 $            71.00
 12/6/2019 Robert Goe            58 - Financing                         Preparation of cash collateral and other motions.                                 3.6 $ 495.00 $         1,782.00
                                                                        Review cash collateral issues and lien filings; emails with Sheppard
 12/6/2019 Robert Goe            58 - Financing                         Mullins re same.                                                                  0.6 $ 495.00 $           297.00
                                                                        Phone call with R. Brunette; review Sheppard Mullins security documents
 12/6/2019   Robert Goe          58 - Financing                         and emails re same.                                                               0.9   $   495.00   $     445.50
 12/6/2019   Robert Goe          58 - Financing                         Correspondence with Leo and Dick re cash collateral.                              0.3   $   495.00   $     148.50
 12/8/2019   Robert Goe          58 - Financing                         Correspondence with Leo and Dick re use of alleged cash collateral.               0.2   $   495.00   $      99.00
 12/9/2019   Robert Goe          58 - Financing                         Correspondence with client; revise projections.                                   0.4   $   495.00   $     198.00
                                                                        Draft supplemental declaration of RPG in support of debtor's motion for
12/10/2019 Charity Manee         58 - Financing                         usage of cash collateral of Sheppard Mullin.                                      0.6 $ 355.00 $           213.00
                                                                        Correspondence with O. Katz re cash collateral; review memoranda and
12/10/2019 Robert Goe            58 - Financing                         prepare supplement in support of cash collateral.                                 0.7 $ 495.00 $           346.50
                                                                        Phone call with O. Katz re cash collateral and review memoranda re
12/10/2019 Robert Goe            58 - Financing                         same.                                                                             0.5 $ 495.00 $           247.50


                                                                                     42
                                Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                            Desc
                                                        Main Document    Page 83 of 101

Date          User                Activity category           Description                                                                  Hours     Rate ($)     Billable ($)
 12/11/2019   Robert Goe          58 - Financing              Correspondence with Ori re cash collateral.                                      0.2   $ 495.00     $       99.00
 12/11/2019   Robert Goe          58 - Financing              Emails with O. Katz and calls re cash collateral.                                0.3   $ 495.00     $      148.50
 12/13/2019   Robert Goe          58 - Financing              Review cash collateral memoranda and responses.                                  0.3   $ 495.00     $      148.50
 12/13/2019   Robert Goe          58 - Financing              Phone call with Dimple re cash collateral issues.                                0.3   $ 495.00     $      148.50
 12/18/2019   Robert Goe          58 - Financing              Review cash collateral order.                                                    0.1   $ 495.00     $       49.50
                                                              Correspondence with Victor re projections and continued use of cash
   2/5/2020 Robert Goe            58 - Financing              collateral.                                                                      0.2 $ 495.00 $            99.00
   3/5/2020 Robert Goe            58 - Financing              Correspondence with Sheppard Mullin re pending motions.                          0.2 $ 495.00 $            99.00
                                                                                                                                               9.8          $         4,711.00

 12/5/2019    Arthur Johnston     59 - Litigation             Review U.S. District Court Docket for significant events.                        2.5   $   195.00   $     487.50
 12/5/2019    Robert Goe          59 - Litigation             Review District Court rulings on judgment.                                       0.3   $   495.00   $     148.50
 12/5/2019    Robert Goe          59 - Litigation             Preparation of insider compensation request.                                     0.5   $   495.00   $     247.50
 12/5/2019    Robert Goe          59 - Litigation             Review District Court rulings and filings impacting bankruptcy case.             2.1   $   495.00   $   1,039.50
                                                              Review documents and revise settlement correspondence to Orion
 12/6/2019 Robert Goe             59 - Litigation             counsel.                                                                         0.6 $ 495.00 $           297.00
 12/8/2019 Robert Goe             59 - Litigation             Review Orion settlement memoranda.                                               0.2 $ 495.00 $            99.00
                                                              Correspondence with client; review memoranda re Sheppard Mullin
 12/8/2019 Robert Goe             59 - Litigation             retention.                                                                       0.3 $ 495.00 $           148.50
 12/9/2019 Robert Goe             59 - Litigation             Phone call with Victor re potential settlement and other matters.                0.2 $ 495.00 $            99.00
 12/9/2019 Robert Goe             59 - Litigation             Review District Court orders and other filings.                                  0.9 $ 495.00 $           445.50
                                                              Review letter from R. Fisher re request of Orion for stay relief to allow
                                                              entry of judgment, for removal of the reference, and for appointment of an
12/10/2019    Charity Manee       59 - Litigation             examiner.                                                                        0.5   $   355.00   $     177.50
12/10/2019    Robert Goe          59 - Litigation             Correspondence with Orion counsel re proposal.                                   0.1   $   495.00   $      49.50
12/10/2019    Robert Goe          59 - Litigation             Correspondence with client and counsel re Orion request.                         0.2   $   495.00   $      99.00
12/10/2019    Robert Goe          59 - Litigation             Review Orion demands.                                                            0.3   $   495.00   $     148.50
12/10/2019    Robert Goe          59 - Litigation             Review District Court filings re Orion customer interference.                    0.3   $   495.00   $     148.50
12/11/2019    Arthur Johnston     59 - Litigation             Preparation of First Day Motions.                                                  4   $   195.00   $     780.00
12/11/2019    Robert Goe          59 - Litigation             Phone call with Victor re discussions with Orion and mediation.                  0.3   $   495.00   $     148.50
                                                              Phone conference regarding First Day Motions with Mr. Goodman of
12/12/2019 Arthur Johnston        59 - Litigation             Simulation Curriculum and emailed copies of 1st day motions.                     0.4 $ 195.00 $            78.00
                                                              Correspondence with client re Sheppard Mullin's representation and
12/12/2019 Robert Goe             59 - Litigation             mediation.                                                                       0.3 $ 495.00 $           148.50
12/12/2019 Robert Goe             59 - Litigation             Review Sheppard Mullin litigation memoranda re mediation strategy.               0.5 $ 495.00 $           247.50


                                                                          43
                             Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                               Desc
                                                     Main Document    Page 84 of 101

Date        User               Activity category           Description                                                                    Hours     Rate ($) Billable ($)
 12/12/2019 Robert Goe         59 - Litigation             Legal research re enforceability of Sheppard Mullin lien.                          2.6   $ 495.00 $ 1,287.00
                                                           Email from R. Fisher re request to lift stay to allow entry of judgment and
12/13/2019 Charity Manee       59 - Litigation             other relief.                                                                      0.1   $ 355.00 $        35.50
                                                           Emails with O. Katz and Victor re request of Orion to lift stay to allow entry
12/13/2019 Charity Manee       59 - Litigation             of judgment and other relief.                                                      0.5   $ 355.00 $       177.50
12/13/2019 Robert Goe          59 - Litigation             Review Court rulings.                                                              0.3   $ 495.00 $       148.50
12/13/2019 Robert Goe          59 - Litigation             Phone call with Victor re stay stipulation.                                        0.3   $ 495.00 $       148.50

12/13/2019 Robert Goe          59 - Litigation             Correspondence with Orion counsel and review proposed stay stipulation.           0.5 $ 495.00 $          247.50
                                                           Email from R. Fischer re Orion's request for relief from stay and
12/16/2019   Charity Manee     59 - Litigation             transmitting proposed stipulation/order.                                          0.3    $   355.00   $   106.50
12/16/2019   Robert Goe        59 - Litigation             Review District Court stipulation/order on briefing.                              0.3    $   495.00   $   148.50
12/16/2019   Robert Goe        59 - Litigation             Phone call with Victor re Orion issues/resolution.                                0.3    $   495.00   $   148.50
12/16/2019   Robert Goe        59 - Litigation             Review order denying TRO and others.                                              0.4    $   495.00   $   198.00
12/16/2019   Robert Goe        59 - Litigation             Review post trial stipulation and orders.                                         0.4    $   495.00   $   198.00
12/17/2019   Robert Goe        59 - Litigation             Review Court notices/rulings.                                                     0.2    $   495.00   $    99.00
12/17/2019   Robert Goe        59 - Litigation             Review District Court rulings.                                                    0.2    $   495.00   $    99.00
12/17/2019   Robert Goe        59 - Litigation             Phone call with Victor re potential settlement parameters.                        0.3    $   495.00   $   148.50
12/18/2019   Robert Goe        59 - Litigation             Review District Court rulings.                                                    0.2    $   495.00   $    99.00
                                                           Emails wtih L. Caseria re Orion's application for a writ of execution and
12/20/2019 Charity Manee       59 - Litigation             Meade's need for Ningbo to continue to ship product/materials.                    0.4 $ 355.00 $          142.00
12/20/2019 Robert Goe          59 - Litigation             Review and execute US Trustee stipulation and calls re same.                      0.2 $ 495.00 $           99.00
                                                           Correspondence with Leo; review and forward Orion enforcement
12/20/2019 Robert Goe          59 - Litigation             documents.                                                                        0.4 $ 495.00 $          198.00
12/23/2019 Robert Goe          59 - Litigation             Review motion to quash and other filings.                                         0.2 $ 495.00 $           99.00

12/23/2019   Robert Goe        59 - Litigation             Correspondence with Leo and client re Orion actions/potential resolution.         0.2    $   495.00   $    99.00
12/23/2019   Robert Goe        59 - Litigation             Phone call with Leo (later calls) re litigation resolution.                       0.3    $   495.00   $   148.50
12/23/2019   Robert Goe        59 - Litigation             Phone call with Leo re Orion issues.                                              0.4    $   495.00   $   198.00
12/23/2019   Robert Goe        59 - Litigation             Review litigation documents for efforts to resolve with Orion.                    0.6    $   495.00   $   297.00
                                                           Review memoranda re employer concerns re conversion and respond to
12/30/2019 Robert Goe          59 - Litigation             same.                                                                             0.3 $ 495.00 $          148.50
  1/2/2020 Robert Goe          59 - Litigation             Review motion to alter or amend District Court judgment.                          0.7 $ 495.00 $          346.50

   1/6/2020 Robert Goe         59 - Litigation             Review District Court litigation filings re assignment order and other filings.   0.8 $ 495.00 $          396.00


                                                                        44
                              Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                      Main Document    Page 85 of 101

Date          User              Activity category           Description                                                                  Hours     Rate ($)     Billable ($)
   1/7/2020   Robert Goe        59 - Litigation             Review District Court orders.                                                    0.2   $ 495.00     $       99.00
   1/7/2020   Robert Goe        59 - Litigation             Review writs of execution.                                                       0.3   $ 495.00     $      148.50
   1/7/2020   Robert Goe        59 - Litigation             Phone call with O. Katz re Sheppard lien.                                        0.3   $ 495.00     $      148.50
   1/7/2020   Robert Goe        59 - Litigation             Review District Court filings potentially impacting debtor.                      0.8   $ 495.00     $      396.00

  1/8/2020    Robert Goe        59 - Litigation             Phone call with Victor re Orion mediation and review memoranda re same.          0.4   $   495.00   $     198.00
  1/8/2020    Robert Goe        59 - Litigation             Review substantial Orion filings for efforts to globally resolve.                1.1   $   495.00   $     544.50
 1/10/2020    Robert Goe        59 - Litigation             Review Ningbo TRO opposition.                                                    0.5   $   495.00   $     247.50
 1/13/2020    Robert Goe        59 - Litigation             Review Ningbo opposition/declaration to assignment order.                        0.9   $   495.00   $     445.50
 1/14/2020    Robert Goe        59 - Litigation             Review District Court TRO ruling.                                                0.1   $   495.00   $      49.50
 1/14/2020    Robert Goe        59 - Litigation             Review OJD request of Orion.                                                     0.2   $   495.00   $      99.00
 1/14/2020    Robert Goe        59 - Litigation             Review Orion collection filings.                                                 0.6   $   495.00   $     297.00
 1/15/2020    Robert Goe        59 - Litigation             Review OJD documents.                                                            0.1   $   495.00   $      49.50
                                                            Emails with H. Rafatjoo re Orion's request for stay relief and review
 1/16/2020    Charity Manee     59 - Litigation             proposed stipulation re same.                                                    0.5   $   355.00   $     177.50
 1/16/2020    Robert Goe        59 - Litigation             Correspondence with Victor re Orion stipulation.                                 0.1   $   495.00   $      49.50
 1/16/2020    Robert Goe        59 - Litigation             Review Orion proposed stay stipulation and order.                                0.4   $   495.00   $     198.00
 1/16/2020    Robert Goe        59 - Litigation             Review motion to quash.                                                          0.4   $   495.00   $     198.00
                                                            Correspondence with Mark and Hamid; review proposed stay relief order
 1/16/2020 Robert Goe           59 - Litigation             and concerns re stipulating to stay relief.                                      0.5 $ 495.00 $           247.50
                                                            Review motion for judgment as a matter of law for potential application to
 1/16/2020    Robert Goe        59 - Litigation             debtor.                                                                          1.2   $   495.00   $     594.00
 1/17/2020    Robert Goe        59 - Litigation             Review District Court TRO.                                                       0.3   $   495.00   $     148.50
 1/17/2020    Robert Goe        59 - Litigation             Review TRO as impacting debtor operations.                                       0.3   $   495.00   $     148.50
 1/17/2020    Robert Goe        59 - Litigation             Review issues with Orion obtaining stay relief and impact on estate.             0.7   $   495.00   $     346.50
 1/17/2020    Robert Goe        59 - Litigation             Review litigation documents to assist with sale efforts.                         0.9   $   495.00   $     445.50
 1/22/2020    Robert Goe        59 - Litigation             Review judgment exam motions/opposition impacting estate.                        0.5   $   495.00   $     247.50
 1/22/2020    Robert Goe        59 - Litigation             Review judgment exam motions/opposition impacting estate.                        0.5   $   495.00   $     247.50
 1/23/2020    Robert Goe        59 - Litigation             Review Orion fee request.                                                        0.2   $   495.00   $      99.00
 1/24/2020    Robert Goe        59 - Litigation             Review Celestron filings and others; emails with client.                         0.7   $   495.00   $     346.50
                                                            Review Sheppard Mullin memoranda/forward client re not representing
 1/27/2020    Robert Goe        59 - Litigation             Meade.                                                                           0.2   $   495.00   $      99.00
 1/27/2020    Robert Goe        59 - Litigation             Review order on motion to quash.                                                 0.3   $   495.00   $     148.50
 1/28/2020    Charity Manee     59 - Litigation             Review of Orion's notice of levy re Ningbo's assets.                             0.1   $   355.00   $      35.50
 1/28/2020    Charity Manee     59 - Litigation             Emails with L. Caseria re expedited mediation with Orion.                        0.2   $   355.00   $      71.00


                                                                         45
                               Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                               Desc
                                                       Main Document    Page 86 of 101

Date       User                  Activity category           Description                                                                Hours     Rate ($) Billable ($)
 1/30/2020 Robert Goe            59 - Litigation             Review attorney fee application.                                               0.5   $ 495.00 $      247.50
 1/31/2020 Robert Goe            59 - Litigation             Review Ni and client memoranda re Ningbo providing inventory.                  0.2   $ 495.00 $       99.00
                                                             Electronically file Declaration re. Telephonic, Mail and Email Service re.
                                                             Notice of hearing on Shortened Time on Motion For Order Pursuant To 11
                                                             U.S.C. § 363(b)(1) Authorizing Debtor To Post Collateral For Increased
  2/3/2020 Arthur Johnston       59 - Litigation             Bond With Customs And Border Protection.                                       0.8   $ 195.00 $       156.00
                                                             Prepare Notice of hearing on Shortened Time on Motion For Order
                                                             Pursuant To 11 U.S.C. § 363(b)(1) Authorizing Debtor To Post Collateral
  2/3/2020 Arthur Johnston       59 - Litigation             For Increased Bond With Customs And Border Protection.                         1.1   $ 195.00 $       214.50
                                                             Preparation of notice of hearing on Shortened Time on Motion For Order
                                                             Pursuant To 11 U.S.C. § 363(b)(1) Authorizing Debtor To Post Collateral
  2/3/2020 Arthur Johnston       59 - Litigation             For Increased Bond With Customs And Border Protection.                         1.8   $ 195.00 $       351.00
                                                             Prepare Declaration re. Telephonic, Mail and Email Service re. Notice of
                                                             hearing on Shortened Time on Motion For Order Pursuant To 11 U.S.C. §
                                                             363(b)(1) Authorizing Debtor To Post Collateral For Increased Bond With
  2/3/2020   Arthur Johnston     59 - Litigation             Customs And Border Protection.                                                 1.9   $   195.00   $   370.50
  2/4/2020   Robert Goe          59 - Litigation             Review Celestron stipulation.                                                  0.1   $   495.00   $    49.50
  2/5/2020   Robert Goe          59 - Litigation             Review Celestron order.                                                        0.8   $   495.00   $   396.00
  2/7/2020   Robert Goe          59 - Litigation             Review Orion filings on judgment.                                              0.6   $   495.00   $   297.00
  2/7/2020   Robert Goe          59 - Litigation             Review Ningbo new trial filings.                                               0.7   $   495.00   $   346.50
 2/10/2020   Robert Goe          59 - Litigation             Review District Court filings.                                                 1.8   $   495.00   $   891.00
                                                             Emails with O. Katz and L. Caseria re effect of stipulating to relief from
 2/13/2020 Charity Manee         59 - Litigation             stay with Orion.                                                               0.2   $ 355.00 $        71.00
                                                             Correspondence with client and Sheppard Mullin re proposed stay
 2/13/2020 Robert Goe            59 - Litigation             stipulation.                                                                   0.2   $ 495.00 $        99.00
                                                             Review Caseria memoranda as to current status of litigation and issues
 2/13/2020 Robert Goe            59 - Litigation             with stay relief.                                                              0.2   $ 495.00 $        99.00

 2/13/2020 Robert Goe            59 - Litigation             Review proposed stay stipulation and Orion and Committee memoranda.              0.4 $ 495.00 $       198.00

 2/14/2020 Charity Manee         59 - Litigation             Email from L. Caseria re effect of stipulating to relief from stay with Orion.   0.2 $ 355.00 $        71.00

 2/14/2020 Charity Manee         59 - Litigation             Review Orion's motion for OSC against Ningbo re Celestron collections.           0.6 $ 355.00 $       213.00
 2/14/2020 Robert Goe            59 - Litigation             Review District Court order.                                                     0.1 $ 495.00 $        49.50



                                                                          46
                             Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                           Desc
                                                     Main Document    Page 87 of 101

Date         User              Activity category           Description                                                            Hours Rate ($)   Billable ($)
                                                           Review Committee memoranda/responses connecting supply agreement
 2/14/2020 Robert Goe          59 - Litigation             to stay stipulation.                                                       0.2 $ 495.00 $       99.00
                                                           Correspondence with L. Caseria and review memoranda re stay relief and
 2/14/2020 Robert Goe          59 - Litigation             Orion motions (multiple emails).                                           0.4 $ 495.00 $      198.00

 2/14/2020 Robert Goe          59 - Litigation             Review contempt motion potentially impacting debtor and forward to client.   0.9 $ 495.00 $         445.50
 2/19/2020 Robert Goe          59 - Litigation             Review District Court OSC and other filings.                                 0.2 $ 495.00 $          99.00
                                                           Emails with M. Horoupian re meeting with Orion and debtor re possible
 2/21/2020 Charity Manee       59 - Litigation             resolution.                                                                  0.2 $ 355.00 $          71.00
                                                           Phone call with M. Horoupian (returned call) re resolution of sale and
 2/21/2020 Robert Goe          59 - Litigation             supply issues.                                                               0.4 $ 495.00 $         198.00
                                                           Review Optronic's preliminary injunction request and forward to
 2/21/2020   Robert Goe        59 - Litigation             Committee.                                                                   1.3   $   495.00   $   643.50
 2/22/2020   Robert Goe        59 - Litigation             Review Ningbo opposition to OSC.                                             0.5   $   495.00   $   247.50
 2/24/2020   Robert Goe        59 - Litigation             Review District Court correspondence re Syntax and other matters.            0.2   $   495.00   $    99.00
 2/24/2020   Robert Goe        59 - Litigation             Review post trial discovery responses.                                       0.8   $   495.00   $   396.00
 2/25/2020   Charity Manee     59 - Litigation             Emails with M. Lane re discussing BK case.                                   0.2   $   355.00   $    71.00

 2/25/2020 Charity Manee       59 - Litigation             Emails with Victor re last settlement offer made to Orion and review same.   0.4 $ 355.00 $         142.00
 2/25/2020 Robert Goe          59 - Litigation             Correspondence with M. Lane re litigation.                                   0.2 $ 495.00 $          99.00
                                                           Preparation for and meet with Hamid and Mark, calls with Matt and Victor
 2/25/2020 Robert Goe          59 - Litigation             re efforts to globally resolve Orion Judgment.                               0.6 $ 495.00 $         297.00
                                                           Call with M. Lane, possible counsel for Ningbo, re Meade's BK and impact
 2/26/2020 Charity Manee       59 - Litigation             on district court case.                                                      0.2 $ 355.00 $          71.00
                                                           Email to M. Lane re automatic stay not-applicable to third parties and
 2/26/2020 Charity Manee       59 - Litigation             forward legal authorities.                                                   1.1 $ 355.00 $         390.50
 2/26/2020 Robert Goe          59 - Litigation             Correspondence with Hamid and Mark re previous settlement offer.             0.2 $ 495.00 $          99.00

 2/26/2020 Robert Goe          59 - Litigation             Correspondence with Victor; review documents for potential settlement.       0.3 $ 495.00 $         148.50

 2/26/2020 Robert Goe          59 - Litigation             Correspondence with Greenberg Traurig and review settlement/litigation.      0.4 $ 495.00 $         198.00
 2/27/2020 Robert Goe          59 - Litigation             Review Orion filing re Sheppard Mullin and other matters.                    0.8 $ 495.00 $         396.00
  3/5/2020 Robert Goe          59 - Litigation             Review District Court orders re document production.                         0.4 $ 495.00 $         198.00
                                                           review Orion's motion for entry of judgment on equitable claims filed in
  3/6/2020 Charity Manee       59 - Litigation             District Court.                                                              0.3 $ 355.00 $         106.50


                                                                       47
                                Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                        Main Document    Page 88 of 101

Date          User                Activity category           Description                                                                 Hours     Rate ($)     Billable ($)
   3/6/2020   Robert Goe          59 - Litigation             Review NS opposition to equitable relief.                                       0.4   $ 495.00     $      198.00
   3/9/2020   Charity Manee       59 - Litigation             Review status of Orion litigation.                                              0.6   $ 355.00     $      213.00
   3/9/2020   Robert Goe          59 - Litigation             Review OSC re sanctions against Ningbo Sunny.                                   0.3   $ 495.00     $      148.50

 3/11/2020 Charity Manee          59 - Litigation             Review issues with Ningbo Sunny being sanctioned for A/R collection.            0.1 $ 355.00 $            35.50
 3/11/2020 Robert Goe             59 - Litigation             Review Ningbo filing re inability.                                              0.2 $ 495.00 $            99.00
 3/12/2020 Robert Goe             59 - Litigation             Review discovery orders.                                                        0.2 $ 495.00 $            99.00
                                                              Review opposition of Orion to motion of Sheppard Mullin to withdraw as
 3/13/2020    Charity Manee       59 - Litigation             counsel to Ningbo Sunny.                                                        0.4   $   355.00   $     142.00
 3/16/2020    Robert Goe          59 - Litigation             Review District Court rulings.                                                  0.2   $   495.00   $      99.00
 3/16/2020    Robert Goe          59 - Litigation             Review Ningbo Sunny response to OSC and forward to Victor.                      0.4   $   495.00   $     198.00
 3/17/2020    Robert Goe          59 - Litigation             Review Discovery order.                                                         0.1   $   495.00   $      49.50
 3/17/2020    Robert Goe          59 - Litigation             Review minute orders.                                                           0.2   $   495.00   $      99.00
 3/17/2020    Robert Goe          59 - Litigation             Review Court's order on permanent injunction and other matters.                 0.2   $   495.00   $      99.00
 3/18/2020    Arthur Johnston     59 - Litigation             Preparation of opposition to Orion stay motion.                                 1.3   $   195.00   $     253.50
 3/18/2020    Charity Manee       59 - Litigation             Review motion for relief from stay filed by Orion.                              0.8   $   355.00   $     284.00
                                                              Review Optronics stay motion and outline deposition and emails with
 3/18/2020 Robert Goe             59 - Litigation             client.                                                                         0.8 $ 495.00 $           396.00
 3/18/2020 Robert Goe             59 - Litigation             Preparation of opposition to Orion stay motion.                                 2.8 $ 495.00 $         1,386.00

 3/19/2020 Arthur Johnston        59 - Litigation             Prepare opposition to Orion's Motion for Relief From the Automatic Stay.        6.1 $ 195.00 $         1,189.50

                                                              Review of Sheppard Mullin reply re motion to withdraw from
 3/19/2020    Charity Manee       59 - Litigation             representation of Ningbo Sunny and renewed motion to advance hearing.           0.7   $   355.00   $     248.50
 3/19/2020    Robert Goe          59 - Litigation             Review Olivion filings.                                                         0.2   $   495.00   $      99.00
 3/20/2020    Robert Goe          59 - Litigation             Preparation (continued) of opposition to Orion stay motion.                     0.8   $   495.00   $     396.00
 3/21/2020    Robert Goe          59 - Litigation             Review post judgment discovery response.                                        0.6   $   495.00   $     297.00
 3/23/2020    Charity Manee       59 - Litigation             Draft opposition to Orion's motion for relief from the automatic stay.          3.8   $   355.00   $   1,349.00
 3/23/2020    Robert Goe          59 - Litigation             Phone call with Victor re operations and opposing Orion stay motion.            0.4   $   495.00   $     198.00

 3/24/2020 Charity Manee          59 - Litigation             Finalize opposition to Orion's motion for relief from the automatic stay.       1.3 $ 355.00 $           461.50
 3/24/2020 Robert Goe             59 - Litigation             Review sanction request against Sheppard Mullin.                                0.8 $ 495.00 $           396.00
 3/24/2020 Robert Goe             59 - Litigation             Review, revise and finalize Orion stay opposition.                              1.3 $ 495.00 $           643.50
                                                              Preparation of memoranda of points and authorities in opposition to Orion
 3/24/2020 Robert Goe             59 - Litigation             stay motion.                                                                    1.7 $ 495.00 $           841.50


                                                                          48
                               Case 8:19-bk-14714-MW          Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                            Desc
                                                              Main Document    Page 89 of 101

Date       User                  Activity category                  Description                                                                   Hours     Rate ($) Billable ($)
 3/25/2020 Robert Goe            59 - Litigation                    Review District Court filings.                                                    0.1   $ 495.00 $       49.50
                                                                    Review of Committee's statement of position on Orion's motion for relief
 3/26/2020 Charity Manee         59 - Litigation                    from the automatic stay.                                                          0.5   $ 355.00 $       177.50
 3/26/2020 Robert Goe            59 - Litigation                    Review Committee opposition to stay motion.                                       0.4   $ 495.00 $       198.00
                                                                    Review of reply of Orion in support of its motion for relief of the automatic
  4/2/2020   Charity Manee       59 Litigation                      stay.                                                                             0.9   $   355.00   $   319.50
  4/2/2020   Robert Goe          59 - Litigation                    Review Orion reply in support of stay motion.                                     0.8   $   495.00   $   396.00
  4/3/2020   Arthur Johnston     59 - Litigation                    Review District Court Partial Judgment against Ningbo Sunny.                      0.4   $   195.00   $    78.00
  4/3/2020   Charity Manee       59 - Litigation                    Email to M. Horoupian re Sheppard Mullin lien.                                    0.1   $   355.00   $    35.50
  4/3/2020   Charity Manee       59 - Litigation                    Review revised judgment against Orion.                                            0.1   $   355.00   $    35.50
  4/3/2020   Charity Manee       59 - Litigation                    Emails with G. Clarkson re Sheppard Mullin lien.                                  0.2   $   355.00   $    71.00
  4/3/2020   Charity Manee       59 - Litigation                    Email from V. Aniceto re Sheppard Mullin lien.                                    0.2   $   355.00   $    71.00
                                                                    Review lengthy District Court order on motion to amend etc. impacting
  4/3/2020 Robert Goe            59 - Litigation                    Orion's claims against debtor.                                                    1.1   $ 495.00 $    544.50
  4/6/2020 Ron Hodges            59 - Litigation                    Review order denying motion for new trial, etc; discuss with RPG.                 0.9   $ 495.00 $    445.50
                                                                                                                                                     94.2            $ 38,341.00

 12/5/2019 Charity Manee         60 - Meetings of Creditors         Review order setting scheduling and case status conference.                      0.2 $ 355.00 $           71.00
 12/5/2019 Robert Goe            60 - Meetings of Creditors         Correspondence with US Trustee re IDI.                                           0.4 $ 495.00 $          198.00
                                                                    Research re District Court matter and obtain copies of documents for
 12/6/2019 Arthur Johnston       60 - Meetings of Creditors         status report.                                                                   2.6 $ 195.00 $          507.00
                                                                    Preparation of Notice of Order Setting Scheduling and Case Management
 12/6/2019 Arthur Johnston       60 - Meetings of Creditors         Conference.                                                                      0.5 $ 195.00 $           97.50
                                                                    Preparation of electronically file Notice of Scheduling and Case
 12/6/2019 Arthur Johnston       60 - Meetings of Creditors         Management Conference.                                                           0.6 $ 195.00 $          117.00
                                                                    Preparation of service of both Substitution of Attorney and Notice of Status
 12/6/2019   Arthur Johnston     60 - Meetings of Creditors         Conference.                                                                      0.9    $   195.00   $   175.50
 12/6/2019   Robert Goe          60 - Meetings of Creditors         Review Courts status conference order.                                           0.2    $   495.00   $    99.00
 12/6/2019   Robert Goe          60 - Meetings of Creditors         Review 341(a) notice and instructions.                                           0.2    $   495.00   $    99.00
 12/6/2019   Robert Goe          60 - Meetings of Creditors         Preparation of status report.                                                    0.8    $   495.00   $   396.00
 12/9/2019   Robert Goe          60 - Meetings of Creditors         Review and revise status conference reports.                                     0.5    $   495.00   $   247.50
12/10/2019   Arthur Johnston     60 - Meetings of Creditors         Review and revise Chapter 11 Status Conference Report.                           1.3    $   195.00   $   253.50

12/10/2019 Arthur Johnston       60 - Meetings of Creditors         Review and revise 2nd revision Chapter 11 Status Conference Report.              0.3 $ 195.00 $           58.50
12/10/2019 Arthur Johnston       60 - Meetings of Creditors         Preparation of and serve Status Report.                                          0.8 $ 195.00 $          156.00


                                                                                 49
                              Case 8:19-bk-14714-MW          Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                         Desc
                                                             Main Document    Page 90 of 101

Date          User              Activity category                  Description                                                              Hours     Rate ($)     Billable ($)
 12/10/2019   Robert Goe        60 - Meetings of Creditors         Correspondence with client re status conference.                             0.1   $ 495.00     $       49.50
 12/10/2019   Robert Goe        60 - Meetings of Creditors         Review and execute status report.                                            0.4   $ 495.00     $      198.00
 12/10/2019   Robert Goe        60 - Meetings of Creditors         Review status conference ruling.                                             0.1   $ 495.00     $       49.50
                                                                   Court appearance re status conference and prepare for same; meet with
12/11/2019    Robert Goe        60 - Meetings of Creditors         with Orion counsel re strategy.                                              2.6   $   495.00   $   1,287.00
12/11/2019    Robert Goe        60 - Meetings of Creditors         Phone call with client re status conference.                                 0.3   $   495.00   $     148.50
12/12/2019    Charity Manee     60 - Meetings of Creditors         Emails with Victor re creditor's committee.                                  0.2   $   355.00   $      71.00
12/12/2019    Robert Goe        60 - Meetings of Creditors         Review status conference notice.                                             0.1   $   495.00   $      49.50
12/12/2019    Robert Goe        60 - Meetings of Creditors         Phone call with R. Marshack re Committee.                                    0.2   $   495.00   $      99.00
12/16/2019    Robert Goe        60 - Meetings of Creditors         Correspondence with US Trustee re status conference.                         0.1   $   495.00   $      49.50
12/17/2019    Robert Goe        60 - Meetings of Creditors         Phone call with M. Sweet re creditor formation and others.                   0.3   $   495.00   $     148.50
12/17/2019    Robert Goe        60 - Meetings of Creditors         Attendance at IDI and meet with client.                                      3.9   $   495.00   $   1,930.50
12/18/2019    Robert Goe        60 - Meetings of Creditors         Phone call with R. Marshack re sale and creditor positions.                  0.4   $   495.00   $     198.00
12/19/2019    Robert Goe        60 - Meetings of Creditors         Phone call with R. Marshack re sale process.                                 0.3   $   495.00   $     148.50
12/20/2019    Robert Goe        60 - Meetings of Creditors         Correspondence with client re 341(a).                                        0.1   $   495.00   $      49.50
                                                                   Review appointment of creditor's committee and emails with V. Aniceto re
12/31/2019 Charity Manee        60 - Meetings of Creditors         same.                                                                        0.2   $ 355.00 $          71.00
                                                                   Emails with V. Aniceto re appointment and composition of creditors'
12/31/2019 Charity Manee        60 - Meetings of Creditors         committee.                                                                   0.3   $ 355.00 $         106.50
                                                                   Review Committee formation and calls with counsel and emails with client
12/31/2019 Robert Goe           60 - Meetings of Creditors         re strategy.                                                                 0.6   $ 495.00 $         297.00

   1/2/2020 Robert Goe          60 - Meetings of Creditors         Phone call with R. Marshack (three calls) re Committee representation.      0.4 $ 495.00 $            198.00
   1/3/2020 Robert Goe          60 - Meetings of Creditors         Review 341(a) memoranda and responses.                                      0.2 $ 495.00 $             99.00
                                                                   Correspondence with M. Sweet and calls re Committee issues and case
   1/3/2020 Robert Goe          60 - Meetings of Creditors         status.                                                                     0.3 $ 495.00 $            148.50
   1/3/2020 Robert Goe          60 - Meetings of Creditors         Review Committee formation documents.                                       0.1 $ 495.00 $             49.50
   1/7/2020 Robert Goe          60 - Meetings of Creditors         Phone call with creditors re sale process.                                  0.3 $ 495.00 $            148.50

   1/8/2020 Robert Goe          60 - Meetings of Creditors         Phone call with M. Horupian re case strategy and review sale documents.     0.8 $ 495.00 $            396.00
   1/8/2020 Robert Goe          60 - Meetings of Creditors         Phone call with M. Horoupian (later call) re Broadway.                      0.2 $ 495.00 $             99.00
   1/9/2020 Arthur Johnston     60 - Meetings of Creditors         preparation for Meeting of Creditors.                                       1.6 $ 195.00 $            312.00
                                                                   Emails with M. Horoupian re motion for bar date and locating/hiring
   1/9/2020 Charity Manee       60 - Meetings of Creditors         investment banker.                                                          0.5 $ 355.00 $            177.50
   1/9/2020 Robert Goe          60 - Meetings of Creditors         Correspondence with Horoupian re sale proposals.                            0.3 $ 495.00 $            148.50


                                                                               50
                               Case 8:19-bk-14714-MW          Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                              Main Document    Page 91 of 101

Date         User                Activity category                  Description                                                              Hours     Rate ($)     Billable ($)
                                                                    Correspondence with Committee and others re bar date and other
  1/9/2020 Robert Goe            60 - Meetings of Creditors         matters.                                                                     0.6   $ 495.00 $         297.00
                                                                    Correspondence with Committee and review and forward various financial
  1/9/2020   Robert Goe          60 - Meetings of Creditors         documents.                                                                   0.8   $   495.00   $     396.00
  1/9/2020   Robert Goe          60 - Meetings of Creditors         Review documents and prepare for 341(a).                                     1.1   $   495.00   $     544.50
 1/10/2020   Arthur Johnston     60 - Meetings of Creditors         Gather documents for 341(a) Meeting.                                         0.5   $   195.00   $      97.50
 1/10/2020   Arthur Johnston     60 - Meetings of Creditors         Travel to and attend 341(a).                                                 1.4   $   195.00   $     273.00
                                                                    Prepare email to V. Aniceto with a list of document requests by Attorney
 1/10/2020 Arthur Johnston       60 - Meetings of Creditors         for Unsecured Creditors Committee at the 341(a) Meeting.                     0.3   $ 195.00 $          58.50
 1/10/2020 Robert Goe            60 - Meetings of Creditors         Attendance at 341(a) and prepare for same; meet with client.                 2.8   $ 495.00 $       1,386.00
 1/13/2020 Robert Goe            60 - Meetings of Creditors         Review Committee filings.                                                    0.2   $ 495.00 $          99.00

                                                                    Phone conference with M. Horoupian, R. Goe, and C. Miller regarding sale
                                                                    of Meade Instruments Corp., and Unsecured Creditors Committee; review
 1/14/2020 Arthur Johnston       60 - Meetings of Creditors         and forward substantial financial information.                              2.5 $ 195.00 $            487.50

 1/14/2020 Robert Goe            60 - Meetings of Creditors         Correspondence with client re providing Committee financials information.   0.2 $ 495.00 $              99.00
                                                                    Emails with M. Horoupian re need to retain new intellectual property
 1/15/2020 Charity Manee         60 - Meetings of Creditors         counsel.                                                                    0.2 $ 355.00 $              71.00
 1/16/2020 Robert Goe            60 - Meetings of Creditors         Correspondence with Hamid and Mark re Orion cooperation.                    0.2 $ 495.00 $              99.00
                                                                    Correspondence with Mark and Hamid; review changes to Broadway joint
 1/17/2020 Robert Goe            60 - Meetings of Creditors         employment application.                                                     0.4 $ 495.00 $            198.00
 1/21/2020 Robert Goe            60 - Meetings of Creditors         Preparation of updated status reports.                                      0.8 $ 495.00 $            396.00
                                                                    Correspondence with Committee counsel, client and financial adviser;
 1/22/2020 Robert Goe            60 - Meetings of Creditors         work on finalizing Broadway application.                                    0.5 $ 495.00 $            247.50
                                                                    Correspondence with Mark; review and forward bond insurance
 1/22/2020 Robert Goe            60 - Meetings of Creditors         memoranda.                                                                  0.3 $ 495.00 $            148.50
                                                                    Correspondence with Committee; prepare Broadway application and
 1/24/2020   Robert Goe          60 - Meetings of Creditors         notice of final.                                                            0.9    $   495.00   $     445.50
 1/28/2020   Robert Goe          60 - Meetings of Creditors         Review Committee NDA memoranda.                                             0.2    $   495.00   $      99.00
 1/29/2020   Robert Goe          60 - Meetings of Creditors         Correspondence with M. Horoupian re emergency bond hearing.                 0.2    $   495.00   $      99.00
 1/29/2020   Robert Goe          60 - Meetings of Creditors         Correspondence with client re Moreo/Committee comunications.                0.1    $   495.00   $      49.50
                                                                    Court appearance re status conference and prepare for same; brief
 1/29/2020 Robert Goe            60 - Meetings of Creditors         meeting with Mark.                                                          2.1 $ 495.00 $          1,039.50
 1/29/2020 Robert Goe            60 - Meetings of Creditors         Preparation of status conference/bar date order.                            0.4 $ 495.00 $            198.00


                                                                                51
                             Case 8:19-bk-14714-MW          Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                           Desc
                                                            Main Document    Page 92 of 101

Date         User              Activity category                  Description                                                               Hours     Rate ($)     Billable ($)
                                                                  At Judge's Clerk's request, prepare new order regarding status conference
 1/31/2020 Arthur Johnston     60 - Meetings of Creditors         of 01-29-2020.                                                                0.9   $ 195.00 $         175.50
                                                                  Emails with M. Horoupian re Committee's position on customs bond
  2/3/2020   Charity Manee     60 - Meetings of Creditors         motion.                                                                       0.2   $   355.00   $      71.00
  2/3/2020   Robert Goe        60 - Meetings of Creditors         Review NDA memoranda/fully executed Orion agreement.                          0.2   $   495.00   $      99.00
  2/4/2020   Robert Goe        60 - Meetings of Creditors         Phone call with M. Horoupian re case strategy.                                0.4   $   495.00   $     198.00
 2/11/2020   Robert Goe        60 - Meetings of Creditors         Review Committee filings.                                                     0.2   $   495.00   $      99.00
                                                                  Review Committee operations requests and forward to Victor for
 2/11/2020 Robert Goe          60 - Meetings of Creditors         response.                                                                     0.3   $ 495.00 $         148.50
                                                                  Call with D. Mehra, Victor and Sara re questions from Committee re
 2/12/2020 Charity Manee       60 - Meetings of Creditors         operations.                                                                   0.5   $ 355.00 $         177.50

 2/12/2020   Charity Manee     60 - Meetings of Creditors         Email with M. Horoupian re questions from Committee re operations.           0.2    $   355.00   $       71.00
 2/12/2020   Charity Manee     60 - Meetings of Creditors         Email from D. Mehra re questions from Committee re operations.               0.2    $   355.00   $       71.00
 2/12/2020   Robert Goe        60 - Meetings of Creditors         Review Committee information request.                                        0.2    $   495.00   $       99.00
 2/12/2020   Robert Goe        60 - Meetings of Creditors         Correspondence with Committee re valuation issues.                           0.2    $   495.00   $       99.00
                                                                  Emails with Victor re due diligence response to Broadway and executory
 2/13/2020 Charity Manee       60 - Meetings of Creditors         contracts.                                                                   0.2 $ 355.00 $              71.00
                                                                  Email from M. Horoupian re Committee questions arising out of
 2/20/2020 Charity Manee       60 - Meetings of Creditors         schedules/341(a) exam.                                                       0.3 $ 355.00 $            106.50

 2/20/2020 Robert Goe          60 - Meetings of Creditors         Phone call with Victor (two calls) re responding on sale/Committee issues.   0.4 $ 495.00 $            198.00
 2/20/2020 Robert Goe          60 - Meetings of Creditors         Review Committee request for information and respond.                        0.3 $ 495.00 $            148.50
                                                                  Review email from V. Aniceto and create DropBox location for deposit of
 2/21/2020 Arthur Johnston     60 - Meetings of Creditors         files requested by M. Horoupian.                                             0.3 $ 195.00 $              58.50
                                                                  Review items placed into DropBox to fulfill M. Horoupian's document
 2/21/2020 Arthur Johnston     60 - Meetings of Creditors         request.                                                                     0.8 $ 195.00 $            156.00
                                                                  Correspondence with client and review memoranda re Committee
 2/21/2020   Robert Goe        60 - Meetings of Creditors         meeting.                                                                     0.2    $   495.00   $      99.00
 2/21/2020   Robert Goe        60 - Meetings of Creditors         Phone call with Victor re Committee requests.                                0.2    $   495.00   $      99.00
 2/22/2020   Robert Goe        60 - Meetings of Creditors         Review Committee strategy meeting memoranda and respond.                     0.2    $   495.00   $      99.00
 2/23/2020   Robert Goe        60 - Meetings of Creditors         Review debtor responses to Committee inquiries.                              0.4    $   495.00   $     198.00
 2/24/2020   Robert Goe        60 - Meetings of Creditors         Correspondence with client re responding to Committee requests.              0.2    $   495.00   $      99.00
 2/26/2020   Robert Goe        60 - Meetings of Creditors         Review Committee orders.                                                     0.1    $   495.00   $      49.50
 2/26/2020   Robert Goe        60 - Meetings of Creditors         Phone call with Victor re Committee meeting.                                 0.4    $   495.00   $     198.00


                                                                              52
                              Case 8:19-bk-14714-MW          Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                         Desc
                                                             Main Document    Page 93 of 101

Date          User              Activity category                  Description                                                           Hours     Rate ($)   Billable ($)
 2/26/2020    Robert Goe        60 - Meetings of Creditors         Review Committee sale memoranda/responses.                                0.2   $ 495.00   $       99.00
 2/27/2020    Robert Goe        60 - Meetings of Creditors         Review insurance issues for expediting hearing.                           0.4   $ 495.00   $      198.00
 2/27/2020    Robert Goe        60 - Meetings of Creditors         Review Committee document request and responses.                          0.5   $ 495.00   $      247.50
   3/2/2020   Charity Manee     60 - Meetings of Creditors         Email from M. Horoupian re Committee's request for documents.             0.1   $ 355.00   $       35.50
                                                                   Review Committee sale memoranda and respond re request for
   3/2/2020 Robert Goe          60 - Meetings of Creditors         documents.                                                                0.2   $ 495.00 $        99.00
                                                                   Correspondence with client; review and forward Committee memoranda re
   3/2/2020 Robert Goe          60 - Meetings of Creditors         employment of Broadway.                                                   0.2   $ 495.00 $        99.00

   3/4/2020 Charity Manee       60 - Meetings of Creditors         email from M. Horoupian re request for documentation re Sheppard Mullin.   0.1 $ 355.00 $         35.50
   3/4/2020 Robert Goe          60 - Meetings of Creditors         Phone call with Mark re Committee challenging liens.                       0.3 $ 495.00 $        148.50
                                                                   Correspondence with client; review and forward Committee memoranda re
   3/4/2020 Robert Goe          60 - Meetings of Creditors         demand for Sheppard Mullin documents.                                      0.4 $ 495.00 $        198.00
                                                                   Correspondence with L. Caseria re production of documents to
   3/9/2020 Robert Goe          60 - Meetings of Creditors         Orion/Committee and review memoranda re same.                              0.2 $ 495.00 $         99.00

   3/9/2020 Robert Goe          60 - Meetings of Creditors         Phone call with Mark re sale process and review inventory memoranda.       0.4 $ 495.00 $        198.00
                                                                   Phone call with Victor; review and respond to Committee memoranda on
  3/9/2020 Robert Goe           60 - Meetings of Creditors         sale.                                                                      0.3 $ 495.00 $        148.50
 3/11/2020 Charity Manee        60 - Meetings of Creditors         Draft updated chapter 11 status report.                                    0.9 $ 355.00 $        319.50
 3/11/2020 Robert Goe           60 - Meetings of Creditors         Preparation of update case status report.                                  0.6 $ 495.00 $        297.00
                                                                   Correspondence with Mark re District Court filing potentially affecting
 3/13/2020 Robert Goe           60 - Meetings of Creditors         case.                                                                      0.2 $ 495.00 $         99.00
 3/17/2020 Robert Goe           60 - Meetings of Creditors         Phone call with Mark and Al re Committee position on sale process.         0.9 $ 495.00 $        445.50
 3/17/2020 Robert Goe           60 - Meetings of Creditors         Correspondence with client re Broadway sale issues.                        0.2 $ 495.00 $         99.00
                                                                   Email from M. Horoupian re request for debtor to amend schedules re
 3/19/2020 Charity Manee        60 - Meetings of Creditors         Sheppard Mullin claims and rule 2004 exam of Sheppard Mullin.              0.2 $ 355.00 $         71.00
                                                                   Review Horoupian memoranda re claims against Sheppard Mullin;
 3/19/2020 Robert Goe           60 - Meetings of Creditors         respond and forward to client.                                             0.3 $ 495.00 $        148.50

 3/20/2020 Robert Goe           60 - Meetings of Creditors         Phone call with Committee and Broadway re sale and operational issues.     1.4 $ 495.00 $        693.00
 3/21/2020 Robert Goe           60 - Meetings of Creditors         Correspondence with Committee counsel re transfer of goodwill.             0.2 $ 495.00 $         99.00
 3/23/2020 Robert Goe           60 - Meetings of Creditors         Correspondence with client re Committee meeting.                           0.1 $ 495.00 $         49.50
                                                                   Review Committee requests for documents from Sheppard, forward to
 3/24/2020 Robert Goe           60 - Meetings of Creditors         client and review responses.                                               0.3 $ 495.00 $        148.50


                                                                               53
                             Case 8:19-bk-14714-MW                Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                         Desc
                                                                  Main Document    Page 94 of 101

Date         User              Activity category                        Description                                                               Hours    Rate ($)     Billable ($)
                                                                        Court appearance re status conference, lease extension and plan
 3/25/2020 Robert Goe          60 - Meetings of Creditors               exclusivity motions.                                                         0.8 $ 495.00 $           396.00
                                                                        Review Committee/Broadway landlord memoranda and responses re
 3/25/2020 Robert Goe          60 - Meetings of Creditors               Mexico lease.                                                                0.2 $ 495.00 $             99.00

 3/27/2020 Arthur Johnston     60 - Meetings of Creditors               Review and provide Mexico Lease for Committee of Unsecured Creditors.        0.9 $ 195.00 $           175.50
 3/27/2020 Robert Goe          60 - Meetings of Creditors               Review Sheppard/Committee memoranda re document production.                  0.2 $ 495.00 $            99.00

 3/27/2020   Robert Goe        60 - Meetings of Creditors               Phone call with Committee and Broadway re cost cutting and sale issues.      0.6   $   495.00   $     297.00
 3/29/2020   Robert Goe        60 - Meetings of Creditors               Review ruling on status conference.                                          0.1   $   495.00   $      49.50
 3/30/2020   Robert Goe        60 - Meetings of Creditors               Correspondence with Mark re supply agreement.                                0.1   $   495.00   $      49.50
 3/31/2020   Robert Goe        60 - Meetings of Creditors               Review Committee document production request.                                0.2   $   495.00   $      99.00
  4/1/2020   Charity Manee     60 - Meetings of Creditors               Review motion of Creditor's Committee to take Rule 2004 exam.                0.2   $   355.00   $      71.00
  4/1/2020   Robert Goe        60 - Meetings of Creditors               Review Committee 2004 application on debtor for objection.                   0.4   $   495.00   $     198.00
                                                                        Correspondence with client and Committee and review sale memoranda
  4/1/2020 Robert Goe          60 - Meetings of Creditors               and request for cash flow projections.                                       0.2 $ 495.00 $     99.00
                                                                                                                                                    60.9          $ 24,627.50

                                                                        Correspondence with client and Howard; review memoranda re
12/12/2019 Robert Goe          61 - Plan & Disclosure Statement         reorganization strategy.                                                     0.3 $ 495.00 $           148.50
12/12/2019 Robert Goe          61 - Plan & Disclosure Statement         Phone call with Victor re plan/efforts to resolve Orion claim.               0.6 $ 495.00 $           297.00
                                                                        Correspondence with client re global strategy and review memoranda re
12/13/2019 Robert Goe          61 - Plan & Disclosure Statement         same.                                                                        0.6 $ 495.00 $           297.00
12/13/2019 Robert Goe          61 - Plan & Disclosure Statement         Phone call with client, Howard and others re global case strategy.           1.4 $ 495.00 $           693.00
12/16/2019 Robert Goe          61 - Plan & Disclosure Statement         Phone call with client and Dimple re case strategy.                          0.8 $ 495.00 $           396.00

  1/2/2020   Robert Goe        61 - Plan & Disclosure Statement         Correspondednce with client; review and respond to strategy memoranda.       0.4   $   495.00   $     198.00
  1/6/2020   Robert Goe        61 - Plan & Disclosure Statement         Review client global strategy memoranda and responses.                       0.4   $   495.00   $     198.00
 1/17/2020   Robert Goe        61 - Plan & Disclosure Statement         Phone call with Mark and Hamid re sale/plan negotiations.                    0.3   $   495.00   $     148.50
 2/18/2020   Robert Goe        61 - Plan & Disclosure Statement         Preparation of exclusivity motion.                                           1.2   $   495.00   $     594.00
 2/20/2020   Robert Goe        61 - Plan & Disclosure Statement         Review exclusivity issues and timing of motion.                              0.3   $   495.00   $     148.50
 2/26/2020   Robert Goe        61 - Plan & Disclosure Statement         Correspondence with client and review reorganization memoranda.              0.3   $   495.00   $     148.50
  3/3/2020   Charity Manee     61 - Plan & Disclosure Statement         Draft motion to extend exclusivity periods.                                  1.8   $   355.00   $     639.00
  3/4/2020   Charity Manee     61 - Plan & Disclosure Statement         Finalize motion to extend exclusivity periods.                               0.5   $   355.00   $     177.50
  3/4/2020   Robert Goe        61 - Plan & Disclosure Statement         Review and revise exclusivity motion and declaration.                        1.1   $   495.00   $     544.50


                                                                                    54
                            Case 8:19-bk-14714-MW                Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                          Desc
                                                                 Main Document    Page 95 of 101

Date        User              Activity category                        Description                                                            Hours Rate ($)   Billable ($)
   3/6/2020 Charity Manee     61 - Plan & Disclosure Statement         Email from M. Horoupian re lease exclusivity motion.                       0.1 $ 355.00 $       35.50
   3/6/2020 Robert Goe        61 - Plan & Disclosure Statement         Correspondence with Committee re 365 and exclusivity motion.               0.2 $ 495.00 $       99.00
                                                                       Correspondence with Committee; review and execute exclusivity
  3/9/2020   Robert Goe       61 - Plan & Disclosure Statement         stipulation with Committee.                                                0.2   $   495.00   $    99.00
 3/12/2020   Robert Goe       61 - Plan & Disclosure Statement         Review Committee exclusivity stipulation.                                  0.1   $   495.00   $    49.50
 3/16/2020   Robert Goe       61 - Plan & Disclosure Statement         Review status of opposition to exclusivity.                                0.1   $   495.00   $    49.50
 3/18/2020   Robert Goe       61 - Plan & Disclosure Statement         Phone call with Court and advise counsel of hearings.                      0.1   $   495.00   $    49.50
 3/25/2020   Robert Goe       61 - Plan & Disclosure Statement         Review and revise exclusivity order and forward for Committee.             0.3   $   495.00   $   148.50
                                                                       Review and revise lease extension order and forward for Committee
 3/25/2020 Robert Goe         61 - Plan & Disclosure Statement         approval.                                                                  0.3 $ 495.00 $     148.50
 3/29/2020 Robert Goe         61 - Plan & Disclosure Statement         Review Court ruling on exclusivity.                                        0.1 $ 495.00 $      49.50
  4/6/2020 Robert Goe         61 - Plan & Disclosure Statement         Review exclusivity order and instructions re same.                         0.2 $ 495.00 $      99.00
                                                                                                                                                 11.7          $ 5,455.50
                                                                                                                                              Total            $ 267,565.50

  1/3/2020   Robert Goe       Conference                               Conference call                                                             1    $    31.36   $    31.36
 1/16/2020   Robert Goe       Conference                               Conference call                                                             1    $    24.63   $    24.63
 2/26/2020   Robert Goe       Conference                               Conference call                                                             1    $    18.78   $    18.78
 2/27/2020   Robert Goe       Conference                               Conference call                                                             1    $     3.83   $     3.83
                                                                                                                                                                     $    78.60

 12/6/2019   Kerry Murphy     Delivery                                 Delivery from Irvine to Santa Ana US BK Court.                              1    $    12.75   $    12.75
12/10/2019   Kerry Murphy     Delivery                                 Delivery from Irvine to Santa Ana US BK Court.                              1    $    12.75   $    12.75
12/13/2019   Kerry Murphy     Delivery                                 Delivery from Irvine to Santa Ana US BK Court.                              1    $    12.75   $    12.75
12/17/2019   Kerry Murphy     Delivery                                 Delivery from Irvine to Santa Ana US BK Court.                              1    $    12.75   $    12.75
12/24/2019   Kerry Murphy     Delivery                                 Delivery Cost - From Irvine to USDC Santa Ana.                              1    $    12.75   $    12.75
12/31/2019   Kerry Murphy     Delivery                                 Delivery Cost - From Irvine to USDC Santa Ana.                              1    $    12.75   $    12.75
  1/6/2020   Kerry Murphy     Delivery                                 Delivery from Irvine to Santa Ana US BK Court.                              1    $    12.75   $    12.75
  1/9/2020   Kerry Murphy     Delivery                                 Delivery from Irvine to Santa Ana US BK Court.                              1    $    12.75   $    12.75
 1/21/2020   Kerry Murphy     Delivery                                 Delivery from Irvine to Santa Ana US BK Court.                              1    $    12.75   $    12.75
 1/22/2020   Kerry Murphy     Delivery                                 Delivery from Irvine to Santa Ana US BK Court.                              1    $    12.75   $    12.75
 1/27/2020   Kerry Murphy     Delivery                                 Delivery from Irvine to Santa Ana US BK Court.                              1    $    12.75   $    12.75
 1/30/2020   Kerry Murphy     Delivery                                 Delivery Cost - From Irvine to US District Court Santa Ana.                 1    $    12.75   $    12.75
 1/31/2020   Kerry Murphy     Delivery                                 Delivery from Irvine to Santa Ana US BK Court.                              1    $    12.75   $    12.75
  2/3/2020   Kerry Murphy     Delivery                                 Delivery from Irvine to Santa Ana US BK Court.                              1    $    12.75   $    12.75


                                                                                   55
                                Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58         Desc
                                                        Main Document    Page 96 of 101

Date          User                Activity category           Description                                           Hours       Rate ($)    Billable ($)
   2/5/2020   Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Court.                1   $ 12.75     $       12.75
   2/6/2020   Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Court.                1   $ 12.75     $       12.75
 2/10/2020    Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Court.                1   $ 12.75     $       12.75
 2/13/2020    Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Court.                1   $ 12.75     $       12.75
 2/20/2020    Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Court.                1   $ 12.75     $       12.75
 2/24/2020    Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Court.                1   $ 12.75     $       12.75
 2/26/2020    Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Court.                1   $ 12.75     $       12.75
 2/26/2020    Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Court.                1   $ 12.75     $       12.75
   3/5/2020   Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Court.                1   $ 12.75     $       12.75
   3/9/2020   Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Court.                1   $ 12.75     $       12.75
   3/9/2020   Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Trustee.              1   $ 12.75     $       12.75
 3/12/2020    Kerry Murphy        Delivery                    Delivery from Irvine to Santa Ana US BK Trustee.              1   $ 12.75     $       12.75
                                                                                                                                            $      331.50

12/18/2019 Kerry Murphy           Filing Fee                  OC Clerk Recorder                                             1 $ 148.00 $          148.00
12/16/2019 Kerry Murphy           Filing Fee                  Copying & certification of Petition                           1 $ 21.00 $            21.00
 2/25/2020 Kerry Murphy           Filing Fee                  AMEX payment re Amended List of Creditors                     1 $ 31.00 $            31.00
                                                                                                                                       $          200.00

 12/6/2019    Arthur Johnston     Legal                       Legal research                                                1   $    4.66   $       4.66
12/10/2019    Arthur Johnston     Legal                       Legal research                                                1   $    2.73   $       2.73
12/11/2019    Arthur Johnston     Legal                       Legal research                                                1   $    8.62   $       8.62
12/12/2019    Arthur Johnston     Legal                       Legal research                                                1   $    0.91   $       0.91
12/20/2019    Arthur Johnston     Legal                       Legal research                                                1   $    5.00   $       5.00
12/26/2019    Arthur Johnston     Legal                       Legal research                                                1   $   14.38   $      14.38
 12/5/2019    Arthur Johnston     Legal                       Legal research                                                1   $   23.69   $      23.69
                                                                                                                                            $      59.99

   2/3/2020 Arthur Johnston       Overnight                   Overnight package                                             1 $     18.99 $        18.99
                                                                                                                                          $        18.99

 1/14/2020 Kerry Murphy           PACER                       PACER docket retrieval 10/01/2019 to 12/31/2019.          1085 $       0.10 $       108.50
                                                                                                                                          $       108.50

   2/5/2020 Robert Goe            Parking                     Parking for hearing.                                          1 $      4.00 $         4.00


                                                                          56
                               Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                              Desc
                                                       Main Document    Page 97 of 101

Date         User                Activity category           Description                                                                   Hours    Rate ($)    Billable ($)
                                                                                                                                                                $         4.00

 12/5/2019   Kerry Murphy        Photocopies                 Photocopies of notice of BK.                                                       7   $    0.20   $       1.40
 12/6/2019   Kerry Murphy        Photocopies                 Photocopies of substitution of attorney.                                          44   $    0.20   $       8.80
 12/9/2019   Kerry Murphy        Photocopies                 Photocopies of notice of setting insider compensation.                           147   $    0.20   $      29.40
 12/9/2019   Kerry Murphy        Photocopies                 Photocopies of emergency motions.                                                168   $    0.20   $      33.60
12/10/2019   Kerry Murphy        Photocopies                 Photocopies of supplemental declaration.                                           6   $    0.20   $       1.20
12/11/2019   Kerry Murphy        Photocopies                 Photocopies of proof of service telephonic notiver of shortened time.            141   $    0.20   $      28.20
12/12/2019   Kerry Murphy        Photocopies                 Photocopies of declaration of telephonic notice.                                  48   $    0.20   $       9.60
12/12/2019   Kerry Murphy        Photocopies                 Photocopies of employment of GF&H LLP and (2) orders.                           1775   $    0.20   $     355.00
12/13/2019   Kerry Murphy        Photocopies                 Photocopies of (5) orders.                                                         8   $    0.20   $       1.60
12/23/2019   Kerry Murphy        Photocopies                 Photocopies of notice of setting insider compensation.                           138   $    0.20   $      27.60
12/23/2019   Kerry Murphy        Photocopies                 Photocopies of notice of setting insider compensation.                           138   $    0.20   $      27.60
12/26/2019   Kerry Murphy        Photocopies                 Photocopies of 2015.3 report/change of address.                                   20   $    0.20   $       4.00
12/27/2019   Kerry Murphy        Photocopies                 Photocopies of 2015.3 from.                                                       10   $    0.20   $       2.00
12/30/2019   Kerry Murphy        Photocopies                 Photocopies of balance of schedules.                                              46   $    0.20   $       9.20
12/30/2019   Kerry Murphy        Photocopies                 Photocopies of SOFA.                                                              19   $    0.20   $       3.80
12/31/2019   Kerry Murphy        Photocopies                 Photocopies of periodic report.                                                  998   $    0.20   $     199.60
  1/2/2020   Kerry Murphy        Photocopies                 Photocopies of schedules.                                                         59   $    0.20   $      11.80
  1/3/2020   Kerry Murphy        Photocopies                 Photocopies of declaration no party requested hearing.                            22   $    0.20   $       4.40
  1/8/2020   Kerry Murphy        Photocopies                 Photocopies of notice of motion to set bar date.                                 270   $    0.20   $      54.00
  1/9/2020   Kerry Murphy        Photocopies                 Photocopies of petition and schedule.                                             95   $    0.20   $      19.00
 1/13/2020   Kerry Murphy        Photocopies                 Photocopies of declaration re compliance for US Trustee office.                   18   $    0.20   $       3.60
 1/21/2020   Kerry Murphy        Photocopies                 Photocopies of monthly operating report and report.                               77   $    0.20   $      15.40
 1/21/2020   Kerry Murphy        Photocopies                 Photocopies of order.                                                              3   $    0.20   $       0.60
 1/22/2020   Kerry Murphy        Photocopies                 Photocopies of joint status report.                                               10   $    0.20   $       2.00
 1/24/2020   Kerry Murphy        Photocopies                 Photocopies of employment application: Broadway.                                  69   $    0.20   $      13.80
 1/24/2020   Kerry Murphy        Photocopies                 Photocopies of notice employment application: Broadway and order.                 72   $    0.20   $      14.40
 1/29/2020   Kerry Murphy        Photocopies                 Photocopies of order.                                                              3   $    0.20   $       0.60

 1/30/2020   Arthur Johnston     Photocopies                 Photocopies of application to employ special intellectual property counsel.      105   $    0.20   $       21.00
 1/30/2020   Arthur Johnston     Photocopies                 Photocopies of notice of bardate.                                                  7   $    0.20   $        1.40
 1/31/2020   Arthur Johnston     Photocopies                 Photocopies of service list.                                                      20   $    0.20   $        4.00
 1/31/2020   Arthur Johnston     Photocopies                 Photocopies of proof of service for bar date.                                     12   $    0.20   $        2.40
 1/31/2020   Arthur Johnston     Photocopies                 Photocopies of proof of service for bar date.                                     30   $    0.20   $        6.00


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                                Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                         Desc
                                                        Main Document    Page 98 of 101

Date          User                Activity category           Description                                                               Hours    Rate ($)     Billable ($)
 1/31/2020    Arthur Johnston     Photocopies                 Photocopies of notice of bar date.                                           545   $     0.20   $      109.00
 1/30/2020    Kerry Murphy        Photocopies                 Photocopies of litigation documents.                                         126   $     0.20   $       25.20
 1/31/2020    Arthur Johnston     Photocopies                 Photocopies of notice of bar date.                                            44   $     0.20   $         8.80
   2/2/2020   Arthur Johnston     Photocopies                 Photocopies of motion to increase customs bond.                               24   $     0.20   $         4.80

   2/3/2020 Arthur Johnston       Photocopies                 Photocopies of notice of motion and motion choices post petition bond.        39 $      0.20 $           7.80
   2/3/2020 Arthur Johnston       Photocopies                 Photocopies of proof of service post petition bond.                           27 $      0.20 $           5.40
   2/5/2020 Kerry Murphy          Photocopies                 Photocopies of order.                                                          3 $      0.20 $           0.60
                                                              Photocopies of monthly operating report and amended monthly operating
 2/12/2020    Arthur Johnston     Photocopies                 report.                                                                      134   $    0.20    $       26.80
 2/19/2020    Kerry Murphy        Photocopies                 Photocopies of declaration no hearing and order.                              88   $    0.20    $       17.60
 2/20/2020    Kerry Murphy        Photocopies                 Photocopies of revised order.                                                  3   $    0.20    $        0.60
 2/21/2020    Kerry Murphy        Photocopies                 Photocopies of amended G.                                                     48   $    0.20    $        9.60
 2/21/2020    Kerry Murphy        Photocopies                 Photocopies of verification re list.                                           6   $    0.20    $        1.20
 2/25/2020    Kerry Murphy        Photocopies                 Photocopies of amended list of creditors.                                     55   $    0.20    $       11.00
 2/26/2020    Kerry Murphy        Photocopies                 Photocopies of notice of hearing on Broadway application..                     7   $    0.20    $        1.40
                                                              Photocopies of motion to assume or refuse lease; motion to extend
   3/4/2020 Kerry Murphy          Photocopies                 exclusivity; amended motion re Premium financing.                            391 $      0.20 $          78.20
                                                              Photocopies of amended Schedule G and notice of motion shortening
   3/6/2020 Arthur Johnston       Photocopies                 time.                                                                         29 $      0.20 $           5.80
                                                              Photocopies of notice of motion shortening time; notice of hearing and
   3/9/2020 Arthur Johnston       Photocopies                 service on both.                                                              48 $      0.20 $           9.60
                                                              Photocopies of updated status conference reports; notice of lodgment re
                                                              Broadway app employee; declaration non opposition and order and
 3/11/2020 Kerry Murphy           Photocopies                 amended declaration.                                                         140 $      0.20 $         28.00
 3/25/2020 Robert Goe             Photocopies                 Photocopies of stay opposition.                                              196 $      0.20 $         39.20
                                                                                                                                                           $      1,307.60

 12/5/2019    Kerry Murphy        Postage                     Postage.                                                                       1   $    0.73    $        0.73
 12/6/2019    Kerry Murphy        Postage                     Postage                                                                       22   $    0.50    $       11.00
 12/9/2019    Kerry Murphy        Postage                     Postage                                                                       19   $    0.50    $        9.50
 12/9/2019    Kerry Murphy        Postage                     Postage                                                                        1   $    1.72    $        1.72
 12/9/2019    Kerry Murphy        Postage                     Postage                                                                        1   $    2.13    $        2.13
12/11/2019    Kerry Murphy        Postage                     Postage                                                                        1   $    1.15    $        1.15
12/12/2019    Kerry Murphy        Postage                     Postage                                                                       83   $    0.50    $       41.50


                                                                          58
                                Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58        Desc
                                                        Main Document    Page 99 of 101

Date          User                Activity category           Description                                          Hours        Rate ($)     Billable ($)
 12/31/2019   Kerry Murphy        Postage                     Postage                                                       2   $     1.45   $         2.90
 12/31/2019   Kerry Murphy        Postage                     Postage                                                       3   $     5.10   $       15.30
 12/31/2019   Kerry Murphy        Postage                     Postage                                                       1   $     4.32   $         4.32
 12/23/2019   Kerry Murphy        Postage                     Postage                                                      21   $     0.50   $       10.50
 12/23/2019   Kerry Murphy        Postage                     Postage                                                       1   $     1.72   $         1.72
 12/23/2019   Kerry Murphy        Postage                     Postage                                                       1   $     2.13   $         2.13
 12/24/2019   Kerry Murphy        Postage                     Postage                                                       1   $     0.65   $         0.65
   1/8/2020   Kerry Murphy        Postage                     Postage.                                                     23   $     0.65   $       14.95
  1/22/2020   Kerry Murphy        Postage                     Postage                                                       1   $     0.50   $         0.50
  1/24/2020   Kerry Murphy        Postage                     Postage                                                       2   $     1.15   $         2.30
  1/24/2020   Kerry Murphy        Postage                     Postage                                                       1   $     1.60   $         1.60
  1/24/2020   Kerry Murphy        Postage                     Postage                                                      23   $     0.50   $       11.50
  1/30/2020   Arthur Johnston     Postage                     Postage                                                       5   $     1.40   $         7.00
  1/31/2020   Arthur Johnston     Postage                     Postage                                                      12   $     0.50   $         6.00
  1/31/2020   Arthur Johnston     Postage                     Postage                                                       1   $     1.80   $         1.80
  1/31/2020   Arthur Johnston     Postage                     Postage                                                       9   $     1.20   $       10.80
  1/31/2020   Arthur Johnston     Postage                     Postage                                                      82   $     0.65   $       53.30
  1/31/2020   Arthur Johnston     Postage                     Postage                                                       8   $     0.61   $         4.88
  2/21/2020   Kerry Murphy        Postage                     Postage                                                       1   $     0.65   $         0.65
  2/21/2020   Kerry Murphy        Postage                     Postage                                                      11   $     1.20   $       13.20
  2/26/2020   Kerry Murphy        Postage                     Postage                                                       5   $     0.50   $         2.50
  3/26/2020   Kerry Murphy        Postage                     Postage                                                       1   $     8.25   $         8.25
   3/4/2020   Kerry Murphy        Postage                     Postage                                                       5   $     1.80   $         9.00
   3/4/2020   Arthur Johnston     Postage                     Postage                                                       3   $     0.50   $         1.50
   3/6/2020   Kerry Murphy        Postage                     Postage                                                       3   $     0.50   $         1.50
  3/11/2020   Kerry Murphy        Postage                     Postage                                                       7   $     0.50   $         3.50
  3/11/2020   Kerry Murphy        Postage                     Postage                                                       2   $     1.80   $         3.60
  3/12/2020   Arthur Johnston     Postage                     Postage                                                       1   $     2.00   $         2.00
  3/26/2020   Kerry Murphy        Postage                     Postage                                                       1   $     8.25   $         8.25
                                                                                                                                             $      273.83

 12/5/2019 Kerry Murphy           Wire                        Wire fee taken from trust account for retainer.              1 $      10.00 $          10.00
                                                                                                                                          $          10.00

                                                                                                                   Total        Expenses $       2,393.01


                                                                            59
              Case 8:19-bk-14714-MW   Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58   Desc
                                      Main Document   Page 100 of 101

Date   User     Activity category           Description                                     Hours   Rate ($)   Billable ($)
                                                                                                    Fees       $ 267,565.50

                                                                                            Grand   Total      $ 269,958.51




                                                          60
Case 8:19-bk-14714-MW         Doc 187 Filed 04/08/20 Entered 04/08/20 17:25:58                        Desc
                              Main Document   Page 101 of 101


   1                             PROOF OF SERVICE OF DOCUMENT
   2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
       address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612
   3
       A true and correct copy of the foregoing document entitled (specify): FIRST INTERIM APPLICATION FOR
   4   COMPENSATION AND REIMBURSEMENT OF EXPENSES OF GOE FORSYTHE & HODGES LLP,
       COUNSEL FOR DEBTOR AND DEBTOR IN POSSESSION; MEMORANDUM OF POINTS AND
   5   AUTHORITIES AND DECLARATIONS OF ROBERT P. GOE AND VICTOR ANICETO IN SUPPORT
       THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by
   6   LBR 5005-2(d); and (b) in the manner stated below:

   7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
       controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
   8   hyperlink to the document. On April 8, 2020, I checked the CM/ECF docket for this bankruptcy case or
       adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
       receive NEF transmission at the email addresses stated below:
   9
           •   Matthew Borden borden@braunhagey.com,
  10           rosario@braunhagey.com;kushnir@braunhagey.com;verga@braunhagey.com;hagey@braunhage
               y.com;fisher@braunhagey.com;theodore@braunhagey.com;hasegawa@braunhagey.com;szoke@
  11           braunhagey.com;baker@braunhagey.com
           •   Frank Cadigan frank.cadigan@usdoj.gov
  12       •   Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
           •   Mark S Horoupian mhoroupian@sulmeyerlaw.com,
  13           dwalker@sulmeyerlaw.com;mhoroupian@ecf.inforuptcy.com
           •   Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com
  14       •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
           •   Claire K Wu ckwu@sulmeyerlaw.com,
  15           mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
  16
       2. SERVED BY UNITED STATES MAIL:
  17   On (date) April 8, 2020, I served the following persons and/or entities at the last known addresses in this
       bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
  18   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
       constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
  19   document is filed.

  20
       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
  21   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
       April 8, 2020, I served the following persons and/or entities by personal delivery, overnight mail service, or
  22   (for those who consented in writing to such service method), by facsimile transmission and/or email as
       follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
  23   judge will be completed no later than 24 hours after the document is filed.

  24       •   The Honorable Catherine Bauer, USBC, 411 West Fourth Street, Santa Ana, CA 92701

  25   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

        April 8, 2020            Kerry A. Murphy                              /s/Kerry A. Murphy
  26
        Date                     Printed Name                                 Signature
  27

  28



                                                             40
